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                  IN THE UNITED STATES DISTRICT COURT FOR
                     THE NORTHERN DISTRICT OF GEORGIA
                              ATLANTA DIVISION


                                                   )
DONNA CURLING, et al.                              )
                                                   )
Plaintiff,                                         )
                                                   )   CIVIL ACTION FILE NO.: 1:17-cv-
vs.                                                )   2989-AT
                                                   )
BRIAN P. KEMP, et al.                              )
                                                   )
Defendant.                                         )
                                                   )
                                                   )



             THIRD SUPPLEMENTAL DECLARATION OF PHILIP B. STARK

        PHILIP B. STARK hereby declares as follows:

  1. This statement supplements my declarations of September 9, 2018, September 30, 2018,

      and October 22, 2019. I stand by everything in the previous declarations.

  2. I have read portions of the State Defendants’ Combined Response in Opposition to

      Curling Plaintiffs’ and Coalition Plaintiffs’ Motions for Preliminary Injunction, dated

      November 13, 2019 (“Combined Response”). This declaration responds primarily to

      assertions made in the Combined Response, including the declaration of Juan E. Gilbert,

      Ph.D., contained therein (“the Gilbert declaration”).



      AUDITS

  3. The most compelling reason for post-election audits is to provide public evidence that the

      reported outcomes are correct, so that the electorate and the losers’ supporters have

      reason to trust the results. Audits that cannot provide evidence that outcomes are correct
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   are little comfort. A transparent, full hand count of a demonstrably trustworthy paper

   record of votes can provide such evidence. So can a risk-limiting audit of a demonstrably

   trustworthy paper record of votes. The advantage of risk-limiting audits is that they are

   often more economical and efficient than a full hand count; the disadvantage is that they

   can fail to correct a wrong outcome. What makes an audit “risk limiting” is that the

   chance it fails to correct a wrong outcome is guaranteed not to exceed a pre-specified

   limit, the “risk limit.”

4. Indeed, by definition, a risk-limiting audit must have a known minimum chance of

   correcting the reported outcome if the reported outcome is incorrect. A risk-limiting audit

   corrects the reported outcome by conducting a full manual tabulation of the votes in the

   paper trail: just like a recount, it requires a trustworthy paper trail. If there is no

   trustworthy paper trail, a true risk-limiting audit is not possible, because an accurate full

   manual recount would not necessarily reveal who won. Because BMD printout is not

   trustworthy, applying risk-limiting audit procedures to BMD printout does not yield a

   true risk-limiting audit.

5. Defendants assert that a post-election audit can demonstrate that BMDs function

   correctly during elections. As I wrote in my October 22, 2019, supplemental declaration,

   audits of BMD-marked ballots (printouts) cannot reliably detect whether malfunctioning

   BMDs printed the wrong votes or omitted votes or printed extra votes. (Here, as before, I

   use the term malfunction generically to include problems due to bugs, configuration

   errors, and hacking.) As I wrote then, that is true even if the malfunctions were severe

   enough to make losing candidates appear to win.




                                                                                                   2
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    6. Applying risk-limiting audit (RLA) procedures to securely curated BMD printouts can

       check the accuracy of the tabulation of the printouts. It can provide confidence that if

       errors in scanning and tabulation were large enough to change the reported winner(s), that

       fact would be detected and corrected.

    7. But such an audit does nothing to check whether the BMDs printed incorrect votes,

       omitted votes, or printed extra votes. Risk-limiting audit procedures check the tabulation

       of BMD printouts; they do not check the functioning of the BMDs. They cannot confirm

       the outcome of elections conducted using BMDs.

    8. Indeed, there is no known pre-election or post-election procedure that can tell reliably

       whether BMDs will malfunction or did malfunction during an election. Nor is there any

       practical procedure that can reliably detect outcome-altering BMD malfunctions during

       an election.1

    9. Therefore, there is no way to establish that BMD printout is a trustworthy record of what

       the BMD displayed to the voter or what the voter expressed to the BMD.

    10. While it is crucial to maintain secure custody of the election paper trail—whether the

       paper trail consists of hand-marked ballots or BMD printouts—even if BMD printouts

       have been maintained verifiably securely, they are not a trustworthy record of what voters

       did, what they saw on the BMD screen, or what they heard through the BMD audio

       interface, because there is vulnerable software between the voter and the printout. In

       contrast, computer hacking, configuration errors, and bugs cannot cause pens to put the

       wrong marks on hand-marked paper ballots.




1
 Stark, P.B., 2019. There is no reliable way to detect hacked ballot-marking devices. ArXiV,
https://arxiv.org/pdf/1908.08144.pdf (last visited 20 October 2019).


                                                                                                  3
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11. Voters can err in hand-marking ballots and in using a BMD. But BMD printouts are also

   vulnerable to bugs, misconfiguration, and hacking; hand-marked paper ballots are not.

12. The tabulation of both kinds of paper record is subject to bugs, misconfiguration, and

   hacking. Rigorous audits can ensure (statistically) that tabulation errors did not alter the

   reported outcomes. But they cannot ensure that errors in BMD printouts did not alter the

   reported outcomes.

13. Some voters check their BMD printouts, and, if they notice errors, will request a fresh

   opportunity to vote. But unless virtually every voter diligently checks the printout before

   casting it, there is no reason to believe that an accurate tabulation of BMD printouts will

   show who really won.

14. The evidence suggests that less than ten percent of voters check their printouts, and that

   voters who do check often overlook errors. See paragraph 30(d), infra. As a result, errors

   in universal-use BMD printouts could alter margins by very large amounts: virtually

   every contest is decided by fewer votes than undetected, uncorrected errors in BMD

   printouts could produce.

15. But even if ninety percent of voters check their printouts and correct any errors they find,

   misprinted votes on the remaining ten percent of printouts could alter a reported margin

   by twenty percent (or even more than twenty percent, for contests that are not on every

   ballot). Many contests are decided by margins of less than twenty percent.

16. In an actual election, there is no way to know how many voters checked their BMD

   printouts for accuracy.




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       THE NOVEMBER 2019 PILOT RISK-LIMITING AUDIT IN GEORGIA

    17. I invented risk-limiting audits in 2007 and published the first peer-reviewed papers about

       them in 2008.2 I collaborated with election officials in California and Colorado to

       conduct the first dozen or so pilot RLAs, starting in 2008.3 In 2011, I invented and

       published the particular RLA method4 used in the 2019 pilot audit of two contests in

       Cartersville, Georgia, conducted with the assistance of Verified Voting and

       VotingWorks.5 (I was not involved in the Cartersville pilot audit.) The method, “ballot

       polling,” was published more formally in 2012 in two peer-reviewed papers I co-

       authored.6 I provided open-source software implementing ballot-polling RLAs,7 which

       became the basis of the State of Colorado RLA regulations, the software the State of

       Colorado currently uses for its audits, and the Arlo software used for the Georgia pilot

       audit. Indeed, I understand that VotingWorks, the company that built the Arlo audit




2
  Stark, P.B., 2008. Conservative statistical post-election audits, The Annals of Applied Statistics,
2, 550–581. Reprint: http://arxiv.org/abs/0807.4005
Stark, P.B., 2008. A Sharper Discrepancy Measure for Post-Election Audits, The Annals of
Applied Statistics, 2, 2008, 982–985. Reprint: http://arxiv.org/abs/0811.1697
3
  Hall, J.L., L.W. Miratrix, P.B. Stark, M. Briones, E. Ginnold, F. Oakley, M. Peaden, G.
Pellerin, T. Stanionis and T. Webber, 2009. Implementing Risk-Limiting Audits in California,
2009 Electronic Voting Technology Workshop/Workshop on Trustworthy Elections (EVT/WOTE
’09)
4
  https://www.verifiedvoting.org/philip-stark-report-on-second-risk-limiting-audit-under-ab-
2023-in-monterey-county-california/ (last visited 9 December 2019).
5
  Mark Lindeman, Verified Voting, personal communication, 9 December 2019.
6
  Lindeman, M., P.B. Stark, and V.S. Yates, 2012. BRAVO: Ballot-polling Risk-Limiting Audits
to Verify Outcomes. 2012 Electronic Voting Technology Workshop/Workshop on Trustworthy
Elections (EVT/WOTE ’12)
Lindeman, M., and P.B. Stark, 2012. A Gentle Introduction to Risk-Limiting Audits. IEEE
Security and Privacy, 10, 42–49.
7
  https://www.stat.berkeley.edu/~stark/Vote/ballotPollTools.htm (last visited 12 December
2019).


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         software, used my software as a touchstone to ensure that they had implemented the

         method correctly.8

      18. Ballot-polling audits are a bit like exit polls, but instead of asking randomly selected

         voters how they voted, they manually inspect randomly selected cast ballots to see the

         votes they contain. If a large enough random sample of ballots shows a large enough

         majority for the reported winner(s), that is strong statistical evidence that the reported

         winner(s) really won. It would be very unlikely to get a large majority for the reported

         winner(s) in a large random sample of ballots if the true outcome were a tie, or if some

         other candidate(s) had won. There is deep mathematics behind proving out how large is

         “large enough” to control the risk to a pre-specified level, such as five percent. However,

         the calculations that determine when the audit can stop examining more ballots are

         relatively simple.

      19. No auditing method can check whether BMD printout correctly recorded voters’

         expressed intent.

      20. Ballot polling, the audit method used in Cartersville, does not check whether any BMD

         printout was tabulated correctly. Ballot-polling audits only check whether a full hand

         count of the BMD printout would find the same winners. In particular, the vote tabulation

         system in Cartersville could have mistabulated every single BMD printout and still

         passed the audit.

      21. The Cartersville pilot audit did not—and in principle could not—confirm that the

         reported outcomes were correct, because it did not and could not show that the BMDs

         functioned correctly. All the audit did was provide statistical evidence that a full manual



8
    Ben Adida, VotingWorks, personal communication, 8 November 2019.


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   tabulation of the BMD printouts would find the same winners that were reported in the

   two audited contests. If the BMD printouts contained outcome-changing errors, the audit

   would have had no chance of detecting that, nor of correcting the reported outcomes.

22. In contrast, if the election had been conducted with hand-marked paper ballots and those

   ballots had been properly secured, the same audit procedure could have provided strong

   evidence that the reported winners really won.

23. I resigned from the Board of Directors of Verified Voting Foundation over their

   president’s refusal to clarify publicly that the Cartersville pilot audit did not “confirm

   outcomes” or show that the voting system worked correctly.



   THE NATIONAL ACADEMIES REPORT

24. Defendants claim that the 2018 National Academies of Science, Engineering, and

   Medicine report Securing the Vote: Protecting American Democracy (“NASEM Report”)

   recommends BMDs. In fact, the NASEM Report draws important distinctions between

   BMDs and hand-marked paper ballots, and points out that additional research on BMDs

   should be conducted before BMDs are deployed widely:

       a. “The U.S. Election Assistance Commission, National Institute of Standards and

           Technology, U.S. Department of Homeland Security, National Science

           Foundation, and U.S. Department of Defense should sponsor research to: []

           determine voter practices regarding the verification of ballot marking device–

           generated ballots and the likelihood that voters, both with and without disabilities,

           will recognize errors or omissions[.]” NASEM Report, at 11–12.




                                                                                                7
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           b.   “Research suggests that DRE VVPATs9 tend not to be voter verified. This

                suggests that VVPATs may be of little value as a check on the accuracy of DREs.

                See, e.g., Everett, S. P., “The Usability of Electronic Voting Machines and How

                Votes Can Be Changed Without Detection,” doctoral dissertation, Rice

                University, Houston, Texas and Campbell, Bryan A. and Michael D. Byrne,

                “Now Do Voters Notice Review Screen Anomalies? A Look at Voting System

                Usability,” Proceedings of EVT/WOTE, 2009. Research on the rate of voter

                verification of BMD ballots relative to the rate of verification of VVPATs or

                voter-marked paper ballots has been limited.” NASEM Report, at 44.

           c. “Unless a voter takes notes while voting, BMDs that print only selections with

                abbreviated names/descriptions of the contests are virtually unusable for verifying

                voter intent.”10 NASEM report, at 79.

           d. “By hand marking a paper ballot, a voter is, in essence, attending to the marks

                made on his or her ballot. A BMD-produced ballot need not be reviewed at all by

                the voter. Furthermore, it may be difficult to review a long or complex BMD-

                produced ballot. This has prompted calls for hand-marked (as opposed to BMD-

                produced) paper ballots whenever possible.” NASEM Report, at 79.

    25. Recent congressional testimony of Dr. Matt Blaze of Georgetown University11 echoes

       these concerns:



9
  VVPAT stands for “voter-verified paper audit trail,” a printout similar to a cash register receipt
that some DREs provide. As explained by NASEM, such receipts are rarely “verified” by voters:
the acronym is a misnomer.
10
   I understand that the BMDs Georgia is using are of this type.
11
   Blaze, Matt. Testimony Before the US House of Representatives Committee on Homeland
Security, Subcommittee on Cybersecurity, Infrastructure Protection, and Innovation. Hearing on
Defending Against Election Interference, November 19, 2019.


                                                                                                   8
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              “BMD-based voting systems are controversial, since, by virtue of their design, the

              correctness of their behavior cannot be effectively audited except by every

              individual voter carefully verifying his or her printed ballot before it is cast. A

              maliciously compromised BMD could subtly mismark candidate selections on

              ballots in a way that might not be noticed by most voters. If BMDs fail or must be

              rebooted at a polling place, there may be no way for voters to create marked

              ballots, making BMDs a potential bottleneck or single point of failure on election

              day.

              As a relatively new technology, BMD-based systems have not yet been widely

              examined by independent researchers and have been largely absent from practical

              election security research studies. However, even with relatively little scrutiny,

              exploitable weaknesses and usability flaws have been found in these systems.

              This underscores the need for more comprehensive studies and for caution before

              these systems are purchased by local jurisdictions or widely deployed.” Blaze

              testimony, at 8.

   26. Defendants claim that “Plaintiffs cannot point to any real security risk or hacking

      potential the use of BMDs poses.” There are countless studies showing that BMDs and

      other electronic voting equipment have serious security vulnerabilities and can be hacked.

      The 2018 Def Con Voting Village Report found easily exploited vulnerabilities in the




https://www.congress.gov/116/meeting/house/110238/witnesses/HHRG-116-HM08-Wstate-
BlazeM-20191119.pdf (last visited 12 December 2019).


                                                                                                    9
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        Dominion ImageCast Precinct BMD,12 which I understand is of the same make that

        Georgia has deployed, but possibly not the identical model.



        DR. GILBERT’S DECLARATION

     27. Dr. Gilbert questions my credentials regarding election security, dismissing me as a

        statistician. I am on the cybersecurity subcommittee of the Board of Advisors of the U.S.

        Election Assistance Commission. I have authored or co-authored more than 15 peer-

        reviewed articles in journals and conference proceedings on cybersecurity, information

        forensics, and the security of electronic voting technology; my co-authors are an

        international who’s-who of cybersecurity experts and cryptographers. I have been a

        keynote speaker at numerous international conferences on cybersecurity and elections. I

        have given two distinguished lectures at the Center for Security, Reliability, and Trust at

        the University of Luxembourg. I am the co-author of a report on election forensics for the

        Venice Commission of the Council of Europe. I have testified to the California legislature

        on election security several times, and to the California Little Hoover Commission. I

        have advised the California Secretary of State and the Colorado Secretary of State on

        mitigating electronic threats to elections. I have advised the governments of Denmark,

        Nigeria, and Mongolia on election security. I have been a Visiting Professor of

        Theoretical Computer Science at the IT University of Copenhagen, sponsored by a

        Velux/Villum Foundation fellowship to work on election cybersecurity. I am regularly on

        the program committee of two international election security conferences. And, as




12
  https://media.defcon.org/DEF%20CON%2027/voting-village-report-defcon27.pdf at 18–19.
(last visited 12 December 2019).


                                                                                                 10
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        mentioned above, I invented risk-limiting audits, widely regarded to be the best tool for

        verifying election outcomes even in the face of hacking and computer malfunctions

        (provided there is a trustworthy paper trail of votes).

     28. Dr. Gilbert’s expertise related to elections is in usability. He does not represent himself to

        be an expert in computer security, statistics, or auditing. I have read his CV dated 24

        November 2019.13 His research focuses on usability, accessibility, inclusion, and the use

        of technology in teaching and mentoring, for instance, making self-driving cars more

        accessible, inclusive university admission policies, using “chatbots” to mentor graduate

        students, “designing a humorous workplace,” cyberbullying, and similar subjects. He has

        two refereed paper related to electronic voting in 2012 and 2013. Both are usability

        studies, not security studies. His only publication in a security-related journal was in

        2008, with eight co-authors, introducing a BMD system he helped design. That paper

        describes the system and some measures they took to secure it but does not include a

        formal security analysis of the system. He published a paper on risk analysis of software

        design (not implementation) with three co-authors, in what appears to be an Alabama-

        based industrial trade show in 2012.14 I was unable to find a copy of that paper. His

        credentials in cybersecurity are limited and inapposite.

     29. Many of Dr. Gilbert’s pronouncements on security and auditability of BMD systems are

        erroneous. I shall not rebut them all, but I shall point out a few particularly serious errors.




13
  https://www.cise.ufl.edu/~juan/cv.pdf (last visited 14 December 2019)
14
  AlaSim: https://10times.com/alasim (last visited 14 December 2019) “The annual AlaSim
International Conference & Exposition showcases the vibrant, multi-domain, modeling and
simulation (M&S) industry in Alabama.”




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     30. Defendants claim, partly on the basis of Dr. Gilbert’s declaration, that “BMDs are far

        more like hand-marked paper ballots than they are like DREs.” Combined response, at 2;

        Gilbert declaration, at 11ff. That is not true from the perspective of technology, security,

        auditability, or evidence. The only thing BMDs have in common with hand-marked paper

        ballots is that both involve paper tabulated by scanners, while DREs tabulate directly

        from an electronic record. Aside from that, BMDs (and their attendant risks) are exactly

        like DREs with VVPAT:

            a. Vulnerable electronic technology is between the voter and the vote record: the

                paper trail itself is hackable. There is no trustworthy record of the voter's

                expressed vote with either technology. Both BMDs and DREs can be hacked—

                from afar, undetectably. Pens have no software to hack.

            b. In contrast to Defendants’ claim that for BMDs (and, by implication, DREs)

                “there are no questions of voter intent” (Combined Response, at 2), BMDs

                obscure all direct evidence voter intent. This is an example of “the ostrich

                principle”: because BMDs make the problems impossible to detect, Dr. Gilbert

                concludes that the problems do not exist. It is impossible to know from BMD

                printout what the voter expressed to the machine or what the BMD presented to

                the voter on the screen or audio interface. In contrast, voter intent can generally be

                inferred manually from voters’ marks on hand-marked paper ballots.15

            c. There is no way a voter can prove that a BMD or DRE printed his or her vote

                incorrectly, so the underlying “security loop” for both technologies is broken in



15
   See the discussion of the Minnesota recounts in Appel, A., R. DeMillo, and P.B. Stark, 2019.
Ballot-marking devices (BMDs) cannot assure the will of the people, SSRN
https://papers.ssrn.com/sol3/papers.cfm?abstract_id=3375755 (last visited 20 October 2019).


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                the same way. Neither system generates any evidence a voter can take to an

                authority or third party to demonstrate that there was a problem.

            d. All extant research of which I am aware suggests that voters rarely check BMD

                printout or DRE printout, and that voters are not good at catching errors in the

                printout when they do check.16

            e. Neither DREs nor BMDs are auditable in practice. Pre-election logic and

                accuracy testing cannot assure that the devices will perform properly on election

                day. No practical amount of parallel or “live” testing on election day can provide

                reasonable assurance that the devices record votes accurately.17 No post-election

                procedure can determine whether the devices correctly recorded votes during the

                election.

            f. A DRE can be converted into a BMD by adding a printer and making changes to

                the software. And a BMD can be converted into a DRE by means of changes to

                the software alone. The same is not true for hand-marked paper ballots.

     31. Dr. Gilbert opines that various properties of BMDs make them preferable, on balance, to

        hand-marked paper ballots. Gilbert declaration, at 11. His declaration generally does not

        address the security aspects of BMDs, which are at the heart of the issue. Many of his

        opinions are contradicted by the available data and by his own research.

     32. Most of the advantages he claims universal-use BMDs have over hand-marked paper

        ballots fall into four categories:




16
   In addition to the studies cited by Appel et al. (2019), I am aware of another study of whether
and how well voters check BMD printout that is currently in peer review.
17
   Stark, P.B., 2019.


                                                                                                   13
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          a. They are not actually advantages. Issues of ballot layout and design are in this

              category: bad layout can greatly increase voter errors for both BMDs and hand-

              marked paper ballots. Indeed, his own work points out examples where bad screen

              layout and bad user interfaces in touchscreen voting equipment evidently caused a

              high undervote rate.18 Undervote protection also falls partly in this category: both

              BMDs and precinct-count optical scan hand-marked paper ballots can offer

              protection against undervotes and overvotes (depending on system configuration);

              however, BMDs offer an “attack surface” that would allow malware to insert

              votes in contests the voter deliberately chose not to vote in. That cannot occur

              with hand-marked paper ballots.

          b. They ride on a misuse of terminology. For instance, he conflates “ambiguous

              mark” with “a mark a scanner cannot read.” Similarly, his conclusion that hand-

              marked paper ballots are not strongly software independent ignores part of the

              definition of strong software independence. And he conflates auditing the

              tabulation of votes with auditing electoral outcomes—which requires a

              trustworthy paper record of the votes.

          c. The claimed advantages occur only if the BMDs function correctly. Usability and

              overvote and undervote protection also fall partly in this category. The primary

              problem with BMDs is that there is no way to ensure that they function correctly.

              They are vulnerable to bugs, misconfiguration, and malicious hacking. This was

              brought home in the recent election in Northampton, PA, where BMDs were




18
  Gilbert, J.E., J. Dunbar, A. Ottley and J.M. Smotherman, 2013. Anomaly detection in
electronic voting systems, Information Design Journal, 20(3), 194–206, at 195–196.


                                                                                                 14
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                miscalibrated and misconfigured. The configuration errors—which were not

                discovered by pre-election logic and accuracy tests—were so severe that voter

                instructions (rather than candidates) received thousands of votes!19

            d. The advantages might occur for some BMD systems but not others. Usability

                advantages fall in this category: he makes blanket statements that BMDs are

                usable by voters with disabilities. Gilbert declaration, at 19. A number of BMDs

                have failed usability testing in other states.20 (Moreover, increases in usability in

                recording selections electronically are largely undermined, because the equipment

                cannot be relied upon to print those selections accurately.) Gilbert makes blanket

                statements about the usability of By his own admission, he has not inspected the

                BMD system Georgia is deploying. Gilbert declaration, at 16, 20.

     33. I now give more specific examples of incorrect security assessments he made.

     34. Dr. Gilbert overlooks the fact that BMD printouts have every security vulnerability that

        hand-marked paper ballots do, plus cyber risks that cannot feasibly be mitigated. In



19
   “An instructional message regarding cross-filed candidates created an error in the machines’
database. As a result, thousands of electronic votes were mistakenly cast for the instructional
message instead of the correct candidate.” T. Shortell and Christina Tatu, The Morning Call, 12
December 2019. https://www.mcall.com/news/elections/mc-nws-northampton-county-election-
voting-machine-problems-reason-20191212-6icnnb2fqjfw5dencuy73n66wm-story.html, last
visited 13 December 2019. According to this report, the manufacturer admits that 30% of the
machines were misconfigured—and that the misconfiguration was not detected by pre-election
logic and accuracy testing.
20
   For instance, the Dominion Democracy 5.5 system, including the ImageCast Precinct and the
ICX Prime BMD, failed testing in Texas for reasons of security and accessibility.
https://www.sos.state.tx.us/elections/laws/jan2019_dominion.shtml (last visited 14 December
2019). The ES&S ExpressVote and ExpressVote XL BMDs failed usability testing in
Pennsylvania with several “show stopper” flaws; moreover, the review found that it was
“possible but challenging” to verify the BMD printout:
https://www.dos.pa.gov/VotingElections/Documents/Voting%20Systems/ESS%20EVS%206021
/EVS%206021%20Secretary%27s%20Report%20Signed%20-
%20Including%20Attachments.pdf (last visited 14 December 2019)


                                                                                                    15
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        particular, he makes much of risks involving the physical security of hand-marked paper

        ballots but ignores the fact that BMD printouts face the same physical security risks (and

        additional cyber risks).

     35. Dr. Gilbert ignores the fragility and unreliability of BMDs and the fact that BMDs

        produce a bottleneck in the voting process.21 There are many instances where voting

        machines did not boot up or misbehaved on election day, preventing voting or

        undermining voter confidence.22 Providing an inadequate number of BMDs in polling

        places will also discourage or prevent voting by creating long lines.

     36. He treats risks that require a large conspiracy, insider malfeasance, and physical access to

        ballots as if they were equivalent to cyber risks, where nation states—or individual

        hackers—can undetectably alter election results without physical access to any part of the

        voting system. The primary threats to hand-marked paper ballots are of the first kind.

        BMDs face exactly the same threats of the first kind, but also face threats of the second



21
   See paragraph 25, supra.
22
   There are many examples of election equipment failures and malfunctions on election day.
Here are a few, including some failures of relatively new or brand new equipment:
https://www.mcclatchydc.com/news/politics-
government/election/midterms/article221196655.html (last visited 16 December 2019)
https://www.postandcourier.com/free-times/news/local_and_state_news/richland-county-failed-
to-count-hundreds-of-november-election-ballots/article_849a1c98-c21a-5728-afc5-
c58aae39e126.html (last visited 16 December 2019)
https://www.commoncause.org/media/south-carolina-voting-machine-failure-underscores-need-
for-swift-federal-action-for-voting-security/ (last visited 15 December 2019)
https://www.pennlive.com/news/2019/11/gop-officials-file-legal-action-in-pa-after-massive-
voting-machine-malfunctions-ballots-placed-in-suitcase.html (last visited 15 December 2019)
https://www.kansascity.com/news/politics-government/election/article221198575.html (last
visited 16 December 2019) https://www.pbs.org/newshour/politics/which-states-were-hit-by-
voting-problems-on-election-day (last visited 16 December 2019)
https://www.montgomeryadvertiser.com/story/news/2017/12/12/new-voting-machines-cause-
senate-election-problem-montgomery-polling-place/944247001/ (last visited 16 December 2019)
https://www.upi.com/Top_News/US/2018/10/26/Texas-voters-report-error-with-electronic-
voting-machines/9211540569616/?ilink=1 (last visited 16 December 2019)


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        kind that cannot be controlled by auditing. His discussion of “undervote hacks” and

        “overvote hacks” on hand-marked paper ballots commits this error.

     37. He implies—contrary to the evidence and contradicting his own publications—that voters

        will catch and correct errors in BMD printout. Every extant study I know of finds that

        voters rarely check BMD printout, and that when they check, they often fail to notice

        errors that are present. This is consistent with research on DRE printouts also.23 His own

        publications cite research that “no more than half of study participants notice [voting

        machine] review screen anomalies.”24,25

     38. He claims that BMDs and hand-marked paper ballots are equally auditable. The

        tabulation of both kinds of paper record can be audited, but no practical amount of

        auditing can offer any assurance that BMDs themselves did not malfunction and were not

        hacked to produce erroneous paper records.26

     39. The advantages Dr. Gilbert claims BMDs have (undervote and overvote protection,

        accessibility, etc.) are predicated on the BMDs functioning correctly. But that is precisely

        the problem: BMDs cannot be relied upon to function correctly, nor is there a reliable

        way to detect malfunctioning BMDs. Moreover, if BMD malfunctions are detected, there

        is no way to determine which printouts were affected and what the correct electoral

        outcome is. The only remedy is to hold a new election.

     40. Dr. Gilbert’s analysis of overvote and undervote protection assumes that what BMDs

        print is identical to what the BMD shows voters on the screen or presents voters through



23
   See paragraph 24(b), supra, and note 16, supra.
24
   Gilbert et al., 2013.
25
   Of course, noticing an anomaly on a review screen and noticing an anomaly on BMD printout
are not the same task, and a BMD can print something other what the review screen shows.
26
   Stark, P.B., 2019.


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   audio. That ignores the possibility of BMD malfunctions and hacking. A BMD can print

   selections that differ from what the voter was presented on the screen or the audio

   interface. It can omit contests or votes, add contests and votes, and alter votes. BMDs

   provide no protection against overvotes and undervotes created by BMD malfunctions.

   Dr. Gilbert assumes away the essential problem: BMD technology is not trustworthy.

41. Dr. Gilbert alleges that there is no effective protection against overvotes or undervotes in

   hand-marked paper ballot systems. In fact, many, if not all, precinct-count optical scan

   systems for tabulating hand-marked paper ballots can warn voters of undervotes and

   overvotes, and can return the ballot to the voter if the voter wishes to re-mark the ballot in

   response, or allow the voter to override the warning and cast the ballot.

42. BMDs are vulnerable to “presentation attacks,” where bugs, misconfiguration, or hacking

   causes the device not to display a contest the voter has a right to vote in (denying the

   voter the opportunity to vote in that contest). This can create undervotes that the BMD

   would not help the voter “detect.” While contests might be omitted from pre-printed

   paper ballots, standard pre-election procedures can detect that. In contrast, there is no

   practical procedure—before, during, or after the election—that can provide a reasonable

   level of assurance that a BMD presented voters the correct opportunities to vote.

43. Dr. Gilbert’s concern about “undervote hacks” identifies an important problem with all

   paper-based systems, including BMDs: the paper trail must be kept demonstrably secure

   from additions, subtractions, substitutions, and alterations. That is just as true for BMD

   printouts as it is for hand-marked paper ballots. A crucial difference he omits, however, is

   that altering hand-marked paper ballots is intrinsically a “retail” fraud problem: it takes

   many people, a lot of time, and physical access to the ballots to alter a large number of




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        ballots. In contrast, BMD printouts are subject to “wholesale” fraud and error as a result

        of bugs, hacking, or misconfiguration. It does not require many accomplices or physical

        access to the voting system or the printouts to alter outcomes of elections conducted on

        BMDs.

     44. He expresses concern that systems that lack undervote protection (meaning hand-marked

        paper ballots) will have disparate impact on minority voters, citing experience in 2000.

        Gilbert declaration, at 27. More recent data belie this claim. I understand that the DREs in

        use in Georgia in the 2018 election had undervote protection. But the rate of undervotes

        in the 2018 Lt. Governor’s contest was much higher for voters who used DREs than it

        was for voters who used hand-marked paper ballots, including ballots cast by mail, which

        do not have undervote protection. That differential undervote rate was generally higher in

        precincts with higher percentages of Black voters, by an amount that was large and

        statistically significant.27

     45. Dr. Gilbert says that BMDs avoid the problem of ambiguous marks. Gilbert declaration,

        at 18, 29. That is true, but misleading. First, while BMD marks might be unambiguous,

        they are not trustworthy. Voter intent on BMD printouts is entirely ambiguous. No BMD

        mark can be trusted to represent what the voter expressed to the BMD or what was

        presented to the voter on the review screen or audio interface. Second, he confuses

        “ambiguous” with “not machine readable.” Some handmade marks are not machine

        readable, but marks that are ambiguous to human readers are evidently rare. For instance,




27
  Ottoboni, K. and P.B. Stark, 2019. Election Integrity and Electronic Voting Machines in 2018
Georgia, Proceedings of E-Vote ID 2019. Lecture Notes in Computer Science, 11759, R.
Krimmer, M. Volkamer, V. Cortier, B. Beckert, R. Küsters, U. Serdült and D. Duenas-Cid (Eds.)
Springer Nature, Switzerland.


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          there was a manual recount of 2.9 million hand-marked paper ballots cast in the 2008

          Minnesota gubernatorial election. Of those 2.9 million ballots, between 99.95% and

          99.99% were unambiguously marked.28 A risk-limiting audit can rigorously account for

          hand-made marks that are not machine readable and/or are genuinely ambiguous, but

          there is no way to protect against the possibility that machine-made marks are incorrect,

          because they obscure all evidence of voter intent. Trading the trustworthiness of the

          entire paper trail to save the labor of manually adjudicating some marks that are not

          machine-readable—but are clear to human readers—is a Faustian bargain.

      46. Dr. Gilbert claims that hand-marked paper ballots are not strongly software independent,

          because they can be tampered with. Gilbert declaration, at 30. Physically tampering with

          ballots is not a change to the voting system software: it has nothing to do with software

          independence or strong software independence. Securely curated hand-marked paper

          ballots are, in fact, the canonical example of a strongly software independent voting

          system. Software independence and strong software independence were invented to

          capture key security properties of properly curated hand-marked paper ballots.

      47. He claims that the 2018 de Millo et al. study of whether voters check BMD printout is

          flawed because it did not study whether voters check hand-marked paper ballots. Gilbert

          declaration, at 31. He missed the point: there is no way that hacking, misconfiguration, or

          bugs can cause hand-marked paper ballots to be mismarked. Whether voters check their

          own work us up to them, but essentially every voter must accurately check BMD output

          or hacking, misconfiguration, or bugs can alter election outcomes. See paragraphs 14–16,

          supra.



28
     Appel et al., 2019.


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      48. Dr. Gilbert makes blanket statements about the accessibility of BMDs, including systems

          he has not inspected. Gilbert declaration, at 19ff. I understand that the accessibility of

          BMDs varies widely, and that a number of current BMD systems have failed multiple

          states’ certification for lack of accessibility. See note 20, supra.

      49. Dr. Gilbert writes, “If individuals with disabilities vote one way and everyone else

          votes a different way, this provides fertile ground for an attack. When an attacker knows

          the specific limitation of the population using a certain system, it is easier for that

          attacker to tailor an attack without being detected.” Gilbert declaration, at 21. In fact,

          attacks on vulnerable populations are facilitated by universal-use BMDs: BMDs know

          how long the voter takes to vote, whether the voter increases the font size, whether the

          voter uses the audio interface, whether the voter uses a sip-and-puff device, whether the

          voter uses a foreign-language ballot, whether the voter reviews and revises selections,

          whether the voter skips contests, etc., so all those variables can be used by a hacker to

          target attacks against older voters, voters with cognitive disabilities, voters with physical

          disabilities, voters with visual disabilities, voters who are not native English speakers, et

          al.29 Reducing the number of voters who use BMDs decreases the “attack surface” (there

          are fewer machines), reduces the number of votes that can be altered, and makes

          attacking BMDs less attractive, because fewer votes are vulnerable.

      50. Dr. Gilbert implies that ballot design problems only occur with paper ballots. Gilbert

          declaration, at 30, 31. But BMD screens (and BMD printout) have the same issues.




29
     Stark, P.B., 2019.


                                                                                                       21
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        Design always matters, whether the options are displayed on a screen, by audio, or on

        paper. Indeed, Gilbert’s own research supports this.30

     51. He claims that “[touchscreen miscalibrations] are exceedingly rare in modern touchscreen

        BMDs unlike older DRE touchscreen machines.” Gilbert declaration, at 32. This assumes

        that the equipment will function as intended, while the threat model must include the

        possibility of malicious hacking, misconfiguration, negligence, and interference.

     52. For instance, a brand-new ES&S ExpressVote XL BMD system in Northampton, PA,

        was grossly miscalibrated in an election last month—to the point that voter instructions

        “received thousands of votes.” See note 19, supra.

     53. Deliberately miscalibrating a touchscreen to cause a BMD to record votes incorrectly is

        simple: I personally performed exactly that hack at Def Con this summer. In about 30

        seconds, I was able to re-calibrate a touchscreen voting device so that it registered votes

        for the wrong candidate.31

     54. Dr. Gilbert asserts “In essence, a BMD is nothing more than an ink pen—but one that can

        avoid ambiguous marks that belie voter intent.” Gilbert declaration, at 30. In fact, a BMD

        is a hackable pen that leaves no reliable evidence of voter intent. See paragraphs 24, 25,

        40, 45, supra.




30
   Gilbert et al., 2013.
31
   For an example of voting machine screen miscalibration altering votes “in the wild,” see
https://www.jconline.com/story/news/2019/11/05/faulty-machines-again-blamed-switching-
votes-greater-lafayette-races/4163625002/ (last visited 16 December 2019)


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       MISCELLANY

   55. Plaintiffs mention my service on the EAC Board of Advisors in conjunction with the fact

       that no systems have been certified to VVSG 1.1 or VVSG 2.0. I do not understand the

       point they are trying to make. The EAC has been very slow to adopt new standards,

       despite more than a decade of evidence of problems and gaps in the current standard.

       Many systems have been certified under VVSG 1.0, but not all the systems are equally

       good, as measured by trustworthiness, reliability, usability, auditability, cost, and other

       factors. Auditability and software independence were not even recognized as important

       criteria until VVSG 2.0. As a member of the EAC Advisory board and its Cybersecurity

       Subcommittee, I have proposed resolutions regarding a several aspects of voting systems

       that are crucial to provide evidence that reported outcomes are correct, to ensure that the

       paper trail is trustworthy, and to enable efficient, effective audits. There are a number of

       commercial systems certified under VVSG 1.0 that accomplish those goals. The

       universal-use BMD system Georgia chose to deploy does not.



I declare under penalty of perjury, in accordance with 28 U.S.C. § 1746, that the foregoing is true

and correct.



       Executed on this date, December 16, 2019.



                                              _______________________________

                                                      Philip B. Stark




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             IN THE UNITED STATES DISTRICT COURT FOR
                THE NORTHERN DISTRICT OF GEORGIA
                         ATLANTA DIVISION


                                         )
DONNA CURLING, et al.                    )
                                         )
Plaintiff,                               )
                                         )   CIVIL ACTION FILE NO.: 1:17-
vs.                                      )   cv-2989-AT
                                         )
BRAD RAFFENSPERGER, et al.               )
                                         )
Defendant.                               )
                                         )
                                         )


      SUPPLEMENTAL DECLARATION OF KEVIN SKOGLUND

      KEVIN SKOGLUND declares, under penalty of perjury, pursuant to

28 U.S.C. § 1746, that the following is true and correct:


1. I have personal knowledge of all facts stated in this declaration, and if

   called to testify, I could and would testify competently thereto.

2. This a supplemental declaration to my declaration dated October 22,

   2019. I stand by all of the statements I made therein.

3. I have reviewed Dr. Juan Gilbert’s Declaration, dated November 13,

   2019. All paragraph references herein refer to that document.

4. Dr. Gilbert’s statement in § 37-A, that scanners for hand-marked paper

   ballots do not allow intentional undervotes, shows a lack of familiarity

   with current technology. All of the EAC-certified scanners currently
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   being sold—including the Dominion ImageCast Precinct scanner—can

   be configured not only to detect undervotes, but also to show a

   notification which asks the voter if they want to change the undervote or

   cast it as-is. This notification is similar to the one Dr. Gilbert describes in

   § 37-B as being unique to BMD systems. Both systems can detect

   undervotes and will permit intentional undervotes.

5. In § 37-C, Dr. Gilbert describes an “Undervote Hack” and, in § 37-D,

   uses it to make an alarmist, non sequitur about Disparate Impact on

   Minority Voters. In § 38-C, Dr. Gilbert describes an “Overvote Hack”

   which uses a similar technique of adding marks to a ballot to change the

   evidence of a voter’s intent. However, Dr. Gilbert omits any discussion of

   how such hacks might be practically performed.

6. Dr. Gilbert’s “Undervote Hack” and “Overvote Hack” would require an

   election insider with enough access to ballots to be able to go through

   them one by one, completely unobserved, looking for targets of

   opportunity. An insider with unfettered access to impounded ballots

   would have the opportunity to do far worse damage to the election than

   to steal a handful of undervotes. The type of ballot (hand-marked or

   machine-marked) and the manner of altering the ballots would not be

   significant. The insider would be able to add, remove, exchange, or

   deface as many ballots as they liked.
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7. Dr. Gilbert’s statement in § 38-A, that scanners for hand-marked paper

   ballots provide no limitation to prevent overvoting and “in theory…

   could be programmed to reject an overvoted ballot,” shows a surprising

   lack of knowledge about voting systems. A significant requirement in the

   Help America Vote Act (HAVA) passed in 2003 was that all voting

   machines must alert voters to overvotes. They all do.

8. Dr. Gilbert goes on to speculate that overvote detection “could result in

   long lines” and “could lead to voter frustration and voters choosing not to

   vote.” Since HAVA passed, there is no evidence to give credence to these

   speculative fears. My personal experience as a Judge of Election has been

   that voters appreciate when an overvote is detected. I have never

   observed overvote detection resulting in lines, voter frustration, or voters

   opting not to vote at all.

9. Dr. Gilbert’s asserts, in § 40-C and §40-D, that Plaintiffs are asking

   voters with disabilities to use the same BMDs which Plaintiffs warn are

   insecure. This misunderstands how cybersecurity evaluates

   vulnerabilities and risks. Experts weigh risks by examining the likelihood

   and the impact of exploiting a vulnerability. Moving most voters off of

   insecure BMDs reduces risks in two different ways: by reducing the

   overall systemic risk (less voters affected), and by making the insecure

   BMDs a less attractive target because the impact of any manipulation will
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   be small and ineffective on the election results. When the effort and risk

   of attracting attention greatly outweigh the rewards, attackers seek targets

   with more impact. All voters benefit from fewer risks.

10. For this reason, I could not disagree more strongly with Dr. Gilbert’s

   claim in § 40-F that “from a security perspective, it is better to have a

   diversity of voters using the same equipment rather than isolating a

   certain demographic of voters by type of equipment or voting process.”

   He makes a logical leap that makes no sense and contradicts basic

   security principles. Exposing parts of a system—in this case, voters—to

   fewer risks will always be more secure.

11.In § 65, Dr. Gilbert mischaracterizes my testimony about long lines by

   conflating it with the speed of voting. While it may be true that a single

   voter can cast a ballot faster on a BMD than by hand-marking (Dr.

   Gilbert does not provide his evidence), it is irrelevant. Systems where

   voters hand-mark paper ballots have shorter lines due to the rate at which

   a series of voters can move through the polling place. Dr. Gilbert does

   not address or dispute that these systems have higher voter throughput

   due to significantly increased parallelization of voting.

12.In fact, allowing each voter to vote more slowly is a benefit of hand-

   marked paper ballot systems. Voters who have cognitive or language

   challenges can take their time marking a ballot at one of many vote
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   marking stations. Faster voters do not need to wait for them because there

   can be many stations. With BMDs, these voters may feel pressure that a

   long line is forming behind them while they monopolize one of onJy a

   few voting booths.

13.In § 66, Dr. Gilbert dismisses touchscreen miscalibration errors as

  "exceedingly rare." Yet there were widely reported problems in Texas in

  November 2018, when touchscreens switched votes in a high-profile

   Senate contest from Beto O'Rourke to Ted Cruz, and vice versa. In

    ovember 2019 touchscreen miscalibration was rampant in Philadelphia

   and Northampton County, enough that two candidates feared for their

  election and sought the court's help on election day.



 Executed on this date, December 16, 2019.
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             IN THE UNITED STATES DISTRICT COURT FOR
                THE NORTHERN DISTRICT OF GEORGIA
                         ATLANTA DIVISION


                                         )
DONNA CURLING, et al.                    )
                                         )
Plaintiff,                               )
                                         )   CIVIL ACTION FILE NO.: 1:17-
vs.                                      )   cv-2989-AT
                                         )
BRAD RAFFENSPERGER, et al.               )
                                         )
Defendant.                               )
                                         )
                                         )


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28 U.S.C. § 1746, that the following is true and correct:


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  Case 1:17-cv-02989-AT Document 680-1 Filed 12/16/19 Page 33 of 205




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  Case 1:17-cv-02989-AT Document 680-1 Filed 12/16/19 Page 34 of 205




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  Case 1:17-cv-02989-AT Document 680-1 Filed 12/16/19 Page 35 of 205




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  Case 1:17-cv-02989-AT Document 680-1 Filed 12/16/19 Page 36 of 205



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  election and sought the court's help on election day.



 Executed on this date, December 16, 2019.
      Case 1:17-cv-02989-AT Document 680-1 Filed 12/16/19 Page 37 of 205




             IN THE UNITED STATES DISTRICT COURT FOR
                THE NORTHERN DISTRICT OF GEORGIA
                         ATLANTA DIVISION

                                             )
DONNA CURLING, et al.                        )
                                             )
Plaintiff,                                   )
                                             ) CIVIL ACTION FILE NO.:
vs.                                          ) 1:17-cv-2989-AT
                                             )
BRAD RAFFENSPERGER, et al.                   )
                                             )
Defendant.                                   )
                                             )
                                             )



                   DECLARATION OF HARRI H. HURSTI


HARRI H. HURSTI declares, under penalty of perjury, pursuant to 28 U.S.C.

§1746, that the following is true and correct:


   1. My name is Harri H. Hursti.

   2. I have personal knowledge of all facts stated in this declaration, and if called

      to testify, I could and would testify competently thereto.


   3. I am a technologist who has worked in security-oriented IT technology for

   over 30 years and participated in building the first pan-European Internet

   Service Provider, EUnet. I have extensive knowledge observing, witnessing and

   preventing malicious activities in networked environments. My background as a

   cybersecurity expert started in the mid-1980s with technologies to protect
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national security level systems, information, and developing secure

communication protocols.


4. I have briefed law and policy makers around the world concerning various

election security issues, including the Presidential Advisory Commission on

Election Integrity on September 12th, 2017.


5. I have briefed state and local governments on election cyber security.


6. I have been researching US election infrastructure security since 2005. The

HBO d c me.. a        film Hacki g Dem c ac       fea    e m successful proof-of-

concept mock election hack to alter reported results in an election machine used

in US elections.


7. I pa ici a ed a a e ea che      he Ohi       Sec e a      f S a e c mmi i   ed

he E al a i        a d Valida i   f Elec i    -Related Equipment, Standards and

Te i g , al    k        a EVEREST. The             e f he     d    a      alida e

all previous research available about voting systems used in Ohio before

conducting further research. The report exposed the significant and varied

 ec i      l e abili ie i    he a e     ima        i g      em . While this study

was published over 10 years ago, it is still relevant, because many system and

software versions evaluated then are still widely in use, and the vulnerabilities

have not been adequately addressed.
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8. I am a co-founder and co-organizer of the DEF CON Voting Machine

Hacking Village. The host event, DEF CON, one of the world's largest and

most notable global security research and hacker community conventions, is

held annually in Las Vegas, Nevada. DEF CON is a 3-day event which attracts

about 30,000 attendees.


9. The Voting Machine Hacking Village is an educational event at DEF CON

which allows interested parties to research, learn, and study security properties

of the voting machines used in the USA and overseas. It is not security testing

or evaluation, it is an event where interested parties come to learn and all

discoveries are incidental to the main mission, yet new discoveries happen in

volumes every year. In 2018, the Voting Machine Hacking Village was

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he Ball      i i ia i e, aiming to pair local election officials with volunteer

hackers to help the officials gain access to security expertise, and better

understand the expanse of very real current h ea          he a i      elec i

equipment.


10.       Every voting machine presented for security research in DEF CON

Voting Machine Hacking Village has been hacked during the event. In security

research, the participants are only discovering vulnerabilities and reporting
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those. Security research does not include the process of weaponization which

would include distribution mechanics and deployment. Security research does

not aim to produce demonstrable attacks.


11. DEF CON serves as an important looking glass to understand the state of

the art in attack development and the emerging new techniques to discover

vulnerabilities around the world. An up-to-date understanding of the newest

offensive technologies is important for realistic threat analysis and the

development of successful defensive and mitigation strategies. The underlying

fundamentals of most threats, attack surfaces, and attack vectors are seldom

industry-specific. It is very common that the same root causes repeat

themselves across a multitude of industries, enabling attackers to target many

systems by easy adoption across the board where similar hardware or software

designs and architectures are utilized. Voting technology is utilizing a lot of

general-purpose hardware and general-purpose operating systems in many parts

of the architecture, and therefore it shares a wide range of commonalities in the

threat landscape with other seemingly unrelated industries. These

commonalities are used by threat actors to move from one target industry to

another with greatly lowered barriers.
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12. In August 2019, DEF CON introduced two different models of Ballot-

Marking Devices for the first time. One of the devices was stand-alone and the

other was an integrated ballot marking device with a paper ballot scanner . this

ki d f machi e i      me ime efe ed        a a h b id de ice. Both devices

were hacked for the first time within 8 hours of the beginning of the event. The

general characteristics of the discoveries underlined the lack of security in both

the architecture and the implementation of these systems.


13. I de e de      ec i       die like Calif    ia T    -to-Bottom Review or

EVEREST has not included Ballot-Marking Devices as target systems.

Furthermore, many sub-technologies introduced into the voting process with

Ballot-Marking Devices, like 2D barcodes, have not been part of the systems

tested.


14. These technologies introduce new known and exposed attack surfaces, for

example barcodes implementations have been found to introduce new

vulnerabilities in studies which are not election system studies, but share

relevant similarities in characteristics and architectural elements with election

systems. These vulnerabilities spread over multiple source categories of severe

vulnerabilities and attack vectors.
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15. Academic research and independent studies such as EVEREST and TTBR

have not been conducted on barcode generating BMDs as a general class of

devices and specifically, Dominion ImageCastX has not been part of the

systems studied. However, without studies, just an inspection of publicly

available materials like User Manuals reveal many areas of vulnerabilities.

Screenshots in the manuals show that the devices have Internet software

installed. Furthermore, the sample ballots in the training materials show

consistently that the barcode on the ballot does not contain a human-verifiable

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lowest error correction setting available in the standard.


16. Based on my background, the current trends in the hacker and security

research landscape and the fundamentals shared between the voting

infrastructure and elements which have already been compromised and proven

to be a source of vulnerabilities, I find it probable that a system like Georgia

Dominion Voting System can and will be targeted by adversarial parties.


17. Furthermore, considering the available information paired with the threat

catalogs at the disposal of the adversaries, it is my professional opinion, a well-

funded and motivated adversary can plan and execute a hard-to-detect attack, if

not impossible-to-detect the attack against the system. The security community
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in general, and election security community specifically considers such attacks

as almost inevitable and accepted as such.


18. While the hand marked paper ballot remains the gold standard, Ballot-

Marking Devices as computerized systems are subject to cyber-attacks which

can compromise the integrity of the paper trail. Without a reliable paper trail,

meaningful auditing of the results becomes impossible.


19. A system like Ge gia D mi i          V.. i g S    em has properties which are

a target-rich environment for multiple classes of potential threat actors. Based

on the documentation available, there are a multitude of exposed attack surfaces

for remote and wholesale attacks. Without a thorough security evaluation and

analysis of both the system and the deployment plan, the insider attack vectors

are harder to enumerate.


   Executed on this date, December 16, 2019.


                                    ___________________---
                                    Harri H. Hursti
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             IN THE UNITED STATES DISTRICT COURT FOR
                THE NORTHERN DISTRICT OF GEORGIA
                         ATLANTA DIVISION

                                             )
DONNA CURLING, et al.                        )
                                             )
Plaintiff,                                   )
                                             ) CIVIL ACTION FILE NO.: 1:17-cv-
                                               2989-AT
vs.                                          )
                                             )
                                             )
BRAD RAFFENSPERGER,, et al.                  )
                                             )
                                             )
Defendant.                                   )




       SUPPLEMENTAL DECLARATION OF RICHARD DEMILLO


      RICHARD DEMILLO declares, under penalty of perjury, pursuant to 28

U.S.C. § 1746, that the following is true and correct:


1. I have personal knowledge of all facts stated in this declaration, and if called to

   testify, I could and would testify competently thereto.

2. This declaration supplements my declaration of November 21, 2018, and I stand

   by all statements in my previous declarations.
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3. My name is Richard DeMillo, I am the Charlotte B. and Roger C. Warren

  Professor of Computer Science and Executive Director of the Center for 21st

  Century Universities at Georgia Tech. I was Dean of the College of Computing

  from 2002-2009 and before that was Chief Technology Officer for Hewlett-

  Packard, Vice President and General Manager of Research at BellCore, Director

  of the Computer and Computation Research Division of the National Science

  Foundation, and Director of the Software Test and Evaluation Project for the US

  Department of Defense. My complete CV is attached to this declaration as

  Exhibit 1.

4. I am not a retained expert for any party to this lawsuit.

5. I receive no compensation from my work on election security beyond the

   salary I, like every tenured full professor, draw from Georgia Tech to enable

   the independent pursuit of research.

6. My research specialties include cybersecurity and software engineering, fields

   in which I have worked for over 40 years, resulting in published articles,

   reports, and patents related to the security of computer-controlled systems. I

   have taught graduate and undergraduate courses, supervised PhD students and

   served on advisory boards and panels, including most recently the Commission

   on Election Security for the Michigan Secretary of State.
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7. I have also served on boards of directors for both public and private companies

   in the computer security industry. I currently have no memberships, business

   agreements or financial ties that would affect my independent judgement in

   matters related to this declaration.

8. My statements in this declaration are offered as a result of reading and

   analyzing the State Defendant’s Combined Response in Opposition to Curling

   Plaintiffs’ and Coalition Plaintiffs’ Motions for Preliminary Injunction, dated

   November 13, 2019 (“Combined Response”).

9. This declaration responds primarily to assertions made in the Combined

   Response and is based on publicly available documents published by

   Dominion and the State as well as the written literature on cybersecurity as

   applied to voting systems

10.Defendants’ statement that the Dominion BMDs are “far more like hand-

   marked paper ballots than they are like DREs,” is objectively false.

   Dominion’s own description of the BMD known as ImageCast X deployed in

   Georgia (State of Georgia Request for Information (RFI): New Voting System

   Event number 47800-SOS0000035” prepared by Dominion by Waldeep Singh,

   Executive Vice President of Sales August 24, 2018) states that this BMD, “can

   also be configured as a DRE configuration.”
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11.What differences exist between Dominion’s DREs and BMDs increase

   vulnerabilities and risks (from “State of Georgia Request for Information

   (RFI): New Voting System Event number 47800-SOS0000035” prepared by

   Dominion by Waldeep Singh, Executive Vice President of Sales August 24,

   2018):

            a. Unlike existing DREs, the ImageCast X “is comprised entirely of

               COTS (commercial off-the-shelf) hardware.” COTS hardware is

               not hardened for secure applications like voting and is therefore

               vulnerable to the same attacks that would be mounted on

               consumer-grade electronics.

            b. Unlike existing DREs, the ImageCast X transfers electronic

               records of cast ballots using exposed cables, enabling non-

               destructive man-in-the-middle attacks.

            c. Unlike existing DREs, the ImageCast X is capable of a “mobile

               printing” function that would enable completed ballots to be

               printed at remote facilities, compromising both ballot secrecy and

               enabling a network-based man-in-the-middle attack.

12.For these reasons and others noted below, the ImageCast X has all of the DRE

   system vulnerabilities noted by the Court in its August ruling. If an APT attack
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   were to be mounted on Georgia’s election system, it is my opinion that design

   weaknesses in the ImageCast X would enable such an attack to succeed.

13. Therefore, detecting such attacks by conducting risk-limiting audits (“RLAs”)

   of the election outcome is a high priority. However, there is a substantial

   literature, consolidating fifty years of research across many disciplines,

   indicating that an essential security flaw in ballot-marking devices like the

   Dominion ImageCast X renders such audits meaningless when attempted on

   the election results output of such devices. This literature is summarized below

   and in a report entitled “Ballot Marking Devices (BMDs) cannot assure the

   will of the voter,” which has been posted on the open access journal SSRN

   (https://dx.doi.org/10.2139/ssrn.3375755). This report has been viewed more

   than 14,000 times and downloaded 850 times since its publication, and its

   conclusions have not been rebutted.

14.One particularly vulnerable aspect of the Dominion Democracy Suite™

   solution sold to Georgia (“Georgia’s Dominion Voting System” referenced in

   the Coalition Plaintiff’s documents) is the incorporation of over 30,000

   consumer grade laser printers (the HP LaserJet Pro M402dne printer) as part of

   the voter-facing voting system. Printing the ballot to be scanned is one of the

   most critical functions of the BMD. An attack on the printer enables vote

   switching that reduces the risk to the attacker by bypassing the ImageCast X
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Ballot Marking Device completely. These printers are unprotected by security

subsystems and subject to man-in-the-middle attacks as mentioned above. The

web-based management panel which controls critical printer functions is

disabled during system setup by a password-based administrative function. As

was disclosed recently (Exhibit 2 attached and tweeted as shown below)

Georgia election officials are prone to choosing and universally applying

passwords like “1234” that are easy for attackers to guess. (Democracy Suite

ImageCast X User Guide, version 5.11-CO::9 June 5, 2019)

   Eric Geller            O @ericg:el e f
   Here are the mentions of the default password in the docs we obtained, which include the Poll Pad
   training guide and emails between Knowlnk and Georgia election officials.
   pie lwitter.com/6cGDSIKjV=


               Eric Geller 0
               @ericgeller I 79,456 followers
   R oepfying to @ericgelfer

   A Knowlnk employee mentions the "1234" password in one of the emails. Someone
   (presumably in Carroll County, which released the docs to American Oversight under FOIA)
   tried to redact the password, but they didn't do a very good job.

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15.Without effective, near-universal voter verification, results tabulation audits of

   machine marked paper ballots are meaningless exercises since, unless voters

   accurately check printed ballots, the records being examined in the audit of a

   potentially compromised machine must be presumed to be fraudulent. In that

   event, all the audit can confirm is that fraudulent ballots might have been

   correctly counted, limiting the findings to the accuracy of the arithmetic.

16.Defendants’ filing paints a false picture of scientific status of voter

   verification, calling studies “deeply flawed” and giving the impression that

   there are equally compelling arguments showing just the opposite conclusion.

   It is significant that neither the Defendants nor their retained experts say what

   those flaws are and how they affect the conclusions.

17.Even if Defendants were in good faith to refuse to accept the results of

   proffered studies, it does not automatically follow that voters can verify

   machine marked ballots in sufficient numbers and with sufficient accuracy to

   rescue RLAs as a way of detecting error due to hacking, misprogramming or

   misconfiguration. Defendants and their experts present no evidence

   whatsoever on that matter.

18.Defendants’ experts do speculate on capabilities that might be discovered in

   the future and incorporated into future Ballot Marking products. None of those
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   capabilities exist today, however, and there are significant scientific barriers to

   any such capabilities that would facilitate meaningful post-election audits.

19.There is a rich line of literature on the impossibility of voter verification and

   cognitively similar tasks that confirms and reinforces Plaintiff’s experts’

   opinions and offers virtually no support for Defendants’ contention that voters

   are capable of verifying their ballots. This literature spans and consolidates

   fifty years of research findings as reported in hundreds of scientific articles and

   reports, industry and government standards, and safety-based regulatory rule-

   making. Furthermore, there is video evidence (see paragraph 21 below) that

   BMD vendors themselves do not believe voters verify ballots in large numbers

   and have in fact used this fact to market their devices to election officials

   around the world.

20.The remainder of this declaration corrects the impression in the Combined

   Response that there is substantial scientific disagreement among independent

   experts about the unauditability of Ballot Marking Devices like Dominion’s

   ImageCast X or that such findings are premature and outlines the scientific

   evidence suggesting it is prudent to reject machine marked ballots as a viable

   option for auditable elections.

21.BMD vendors seem to know that voter verification is a myth. See for example
■
   this ES&S sales video making light of the possibility of voter verification and
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   telling potential customers how the lack of incentives for effective voter

   verification keeps wait times to a minimum because voters do not naturally

   queue up to check their ballots (https://youtu.be/066x9GMGME8 at minute

   40:40).

22.Most voters do not examine their ballots:

             a. (2018) DeMillo, Kadel and Marks

                (https://dx.doi.org/10.2139/ssrn.3292208); although Defendants

                refer to this paper as “flawed” they present no rebuttal whatsoever

                to the principle conclusion that less than half of all voters check

                their ballots.

             b. (2020) Soon-to-be published work conducted at the University of

                Michigan also finds that half or more of all highly motivated voters

                fail to check their ballots.

             c. (2019) My own subsequent in person observations in the three

                BMD pilot voting locations in the November 5, 2019 Georgia

                municipal elections also confirm that far fewer than half of all

                voters do more than glance at ballot cards prior to casting the

                ballot.

             d. (2007) Field studies in Nevada and other jurisdictions report that

                fewer than 40% of voters check their paper ballot summary:
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               https://arstechnica.com/information-technology/2007/04/congress-

               finally-considers-aggressive-e-voting-overhaul/.

23.Even voters who choose to view their ballot card contents cannot do it

   accurately and effectively:

           a. (2007) Sarah Everett of Rice University found that two-thirds of

               test voters did not notice when 8 races disappeared entirely from

               their review screens: Everett, S. P. (2007). Doctoral dissertation,

               Rice University, Houston, TX. See especially, discussions on page

               77 and 103:

               http://www.wheresthepaper.org/SarahPEverettDissertation.pdf.

           b. (2006)Ted Selker of the CalTech/MIT Voting Project listed these

               problems that make it difficult for voters to verify: paper looks

               different, different format than what appeared on the screen,

               separate thing to look at, extra time and step for voting, poor

               lighting and poor readability:

               https://www.nist.gov/system/files/documents/itl/vote/7-Selker.pdf.

           c. (2005) Selker also testified to Congress that in a study where test

               voters cast votes in 108 test elections in which the printed ballot

               contained errors, test voters found no errors:

               http://vote.caltech.edu/documents/112/vtp_wp31.pdf.
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            d. (2020)The University of Michigan study cited above will report

               the most negative results for voter verification to date: voters left

               to their own devices detect only 6% of the errors introduced in

               sample ballots. Various polling place interventions can raise that

               error detection rate to nearly 15%, but that rate is not sufficient to

               support RLAs. The authors report one highly intrusive

               intervention that raised error detection to 85%, but offered no

               suggestion for how such an expensive intervention with voters

               could be deployed and monitored or enforced.

            e. (2018) The National Academy of Sciences report “Securing the

               Vote”(http://nap.edu/25120) found that, absent a complete record

               of votes expressed, voters would be unable to recall all of their

               prior choices and compared the verification of hand marked paper

               ballots to machine marked ballots as follows: “Problems arise

               when a voter does not actually verify his or her ballot, especially

               when the ballot is being tabulated by a computer that has a

               software flaw or is infected with malware (see Chapter 5). A ballot

               that is “voter marked” is by definition voter verified.”

24.(1991) Effective performance for voter verification of their ballots is

   comparable with performance in other cognitively similar tasks. This is
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   consistent across many fields of endeavor and reflects the ability of people to

   attend to the original task at hand (e.g., filling out a paper ballot by hand) as

   opposed to detecting errors when the task is to find them (James Reason,

   Human Error, Cambridge University Press, 1991, especially Chapter 6).

            a. While diligent people can be trained to minimized errors in

               cognitive tasks, error detection rates are between 50% and 80%.

            b. There is wide variation between individuals. Experience at the task

               matters only slightly. In tasks similar to ballot verification, a

               reasonable expectation is that base rates can be improved upon by

               only a few percent.

            c. Error reporting and correcting seems to require the intervention of

               a third party, which compromises ballot secrecy.

            d. Environmental factors unfavorable to the task of ballot verification

               have a pronounced negative effect on a person’s innate ability to

               detect errors.

Executed on this date, December 16, 2019.




                                              Richard A. DeMillo
Case 1:17-cv-02989-AT Document 680-1 Filed 12/16/19 Page 57 of 205




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Richard DeMillo                                          1                                       December 16, 2019




                                            Richard A. DeMillo

                                              Curriculum Vita
Present Position
          •    Georgia Institute of Technology, Atlanta GA 30332
                  o Charlotte B. and Roger C. Warren Professor of Computing
                  o Professor of Management,
                  o Executive Director, Center for 21st Century Universities
Education
          •    BA, Mathematics, 1969, College of St. Thomas, St. Paul Minnesota
          •    Ph.D., Information and Computer Science, 1972, Georgia Institute of Technology, Atlanta, Georgia

Professional Experience
                                Charlotte B. and Roger C. Warren Professor of Computing
2015-Present
                                Executive Director, Center for 21st Century Universities
                                Georgia Institute of Technology
                                Atlanta, GA 30332
                                Distinguished Chief Scientist
2013-2014
                                Qatar Computing Research Institute
                                Qatar Foundation
                                Doha, Qatar
                                Professor of Management
2002-Present
                                John P. Imlay Dean of Computing (2002-2009)
(On Leave 2013-
                                Director, Georgia Tech Information Security Center (2002-2004)
2014)
                                Georgia Institute of Technology
                                Atlanta, Georgia 30332
                                Chief Technology Officer
2000-2002
                                Vice President
                                Hewlett-Packard Company
                                3000 Hanover Street
                                Palo Alto, CA 94303
                                General Manager
2000
                                Internet Systems Group
                                Telcordia Technologies (Formerly Bellcore)
                                445 South Street
                                Morristown, NJ 07960
                                Vice President and General Manager
1994-2000
                                Information and Computer Sciences Research
                                Telcordia Technologies (Formerly Bellcore)
                                445 South Street
                                Morristown, NJ 07960
                                Visiting Professor
1994
                                Department of Electronics and Informatics
                                University of Padua
                                Padua, Italy
                                Director
1989-91
                                Computer and Computation Research Division
                                National Science Foundation
                                1800 G Street NW
       Case 1:17-cv-02989-AT Document 680-1 Filed 12/16/19 Page 59 of 205
Richard DeMillo                                           2                                      December 16, 2019


                                Washington, DC
                                Professor of Computer Science and Director
1987-96
                                Software Engineering Research Center
                                Purdue University
                                West Lafayette, Indiana
                                Director
1985-87
                                Software Engineering Research Center
                                Georgia Institute of Technology
                                Atlanta, Georgia
                                Assistant Director for Research
1984-87
                                School of Information and Computer Science
                                Georgia Institute of Technology
                                Atlanta, Georgia
                                Professor of Information and Computer Science
1981-87
                                School of Information and Computer Science
                                Georgia Institute of Technology
                                Atlanta, Georgia
                                Associate Professor of Information and Computer Science
1976-81
                                School of Information and Computer Science
                                Georgia Institute of Technology
                                Atlanta, Georgia
                                Assistant Professor
1972-76
                                Department of Electrical Engineering and Computer Science
                                University of Wisconsin, Milwaukee
                                Milwaukee, Wisconsin
                                Research and Teaching Assistant
1969-72
                                School of Information and Computer Science
                                Georgia Institute of Technology
                                Atlanta, Georgia
                                Research Assistant
1969-71
                                Los Alamos National Laboratory
                                Los Alamos, New Mexico

Research and Consulting Experience
          Rich has been a consultant to many major corporations and other organizations. Detailed descriptions of
          recent consultantships are available upon request:

Board Memberships
          Rich has been a board member and director of many public and private corporations, foundations and
          philanthropic organizations. Detailed descriptions of recent board memberships are available upon request:



Professional Recognition
          ANAK, Outstanding Faculty Award (2106)
          American Publishers Association Best Book Award (Education, 2016)
          Inaugural Fellow of the Lumina Foundation
          Fellow of the Association for Computing Machinery
          Fellow of the American Association for the Advancement of Science
       Case 1:17-cv-02989-AT Document 680-1 Filed 12/16/19 Page 60 of 205
Richard DeMillo                                      3                                      December 16, 2019


Panels and Advisory Positions
       1983:       Secretary of Defense Blue Ribbon Panel (The Eastman Panel) to Define the Software
                   Engineering Institute (SEI)
       1983-1985: IBM Software Tools Advisory Board
       1984:       Congressional Office of Technology Assessment Panel on Research Directions in Software
                   Engineering.
       1987:       National Research Council Committee on Computer Security
       1993-1996: National Research Council committee on Statistical Methods in Software Engineering
       1992-1993: FAA VSCS Independent Fault Analysis Team
       1995:       National Research Council committee on Commercial Software Practices in Defense Software
       1995-2000: Princeton University Computer Science Advisory Committee
       1998-2000: Advisory Board of the College of Computing, Georgia Tech
       2000-3:     Georgia Tech Advisory Board
       2001-2005: Advisory Board of the Johns Hopkins University Computer Sciences Department
       2003-2005: National Research Council Committee on Telecommunications Research
       2004-2005: National Research Council Committee on Network Science and the Army’s Future Needs
       2005        Defense Science Board Committee on Security of Software
       2010-2013   Strategic Advisory Committee (Chair) Qatar Computing Research Institute
       2012        AMA Advisory Board on Medical Education
       2012-2016   World Economic Forum Global Action Council on the Future of Universities
       2012-2015   Pacific Northwest National Laboratories National Security Advisory Council
       2012-2016   Western Governors University Advisory Board
       2013-2016   Singapore Institute of Technology and Design Advisory Board
       2015        IEEE Computer Society, Research Advisory Board
       2019        Michigan Commission on Election Security, Department of State, State of Michigan



   Editorships
       1990-96     Series Editor, Software Science and Systems, Plenum Publishing Company
       1989-96     Editorial Board, ACM Transactions on Software Engineering and Methods
       1988-94     Editorial Board, IEEE Transactions on Software Engineering
       1985-87     Editorial Board, Information and Control
       1982-85     Editorial Board, ACM Transactions on Mathematical Software

Biographical
       •   American Men and Women of Science
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       •   Who’s Who in the World
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Professional Societies
        • Association for Computing Machinery
        • American Mathematical Society
        • Mathematical Association of America
        • Society for Industrial and Applied Mathematics
        • American Association for the Advancement of Science
        • Association for Symbolic Logic
        • IEEE
Rich has served on numerous program committees for professional meetings. In addition, Rich has served as
Chairman or Program Chairman for the following annual conferences
        •   15th International Conference on Software Engineering, 1993
        •   ACM SIGSOFT Annual Symposium, 1989 (Testing, Analysis and Verification)
        •   ACM Computer Science Conference, 1988
        •   ACM Symposium on Theory of Computing, 1984
        •   NSIA Conference on Test and Evaluation, 1983
        •   ACM Symposium on Principles of Programming Languages, 1982
        •   First IEEE Symposium on Security and Privacy, 1981



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Books
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•   R. A. DeMillo, Revolution in Higher Education: How A Small Band of Innovators will Make College Accessible
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•   “New Ecosystems in Higher Education and What They Mean for Accreditation and Assessment, in WASC
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Invited Talks, Keynotes
Rich is a frequent speaker at conferences and events. Details are available upon request

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                                                                                      Exhibit 2

POLITICO

Popular e-poll book's default password is '1234'

By Eric Geller

12/13/2019 12:35 PM EST

Tablets that election officials in 25 states and Washington, D.C., use to check in voters are
configured with one of the world’s worst passwords, according to documents shared with
POLITICO.

The manual for the KnowInk Poll Pad informs election workers that the device’s default
password is “1234,” an exceptionally weak security measure that makes the devices easy
prey for hackers looking to disrupt voting in key precincts or sow chaos en masse.

The Poll Pad’s training guide was included among records provided by the Carroll County,
Ga., election office to the watchdog group American Oversight, which shared the records
with POLITICO.

“I do hope this password is going to change for the election, since it's been out there for the
demos/training and sent thru email,” Cobb County, Ga., elections director Janine Eveler
wrote in an email to fellow county election officials included in the records.

“1234” is one of the world’s most commonly used passwords — it ranked 15th on a list
published in April by the U.K. National Cyber Security Centre.

St. Louis-based KnowInk describes the Poll Pad as “the nation’s leading electronic poll
book.” It consists of an Apple iPad running custom software that stores voter registration
data and lets poll workers look up and check in voters.

“My concern is that this represents the tip of an iceberg,” said Dan Wallach, a computer
science professor and voting security expert at Rice University. “If they got something this
obvious incorrect, what does that say about the rest of their security engineering
practices?”

KnowInk did not respond to requests for comment.

The Cybersecurity and Infrastructure Security Agency, which offers security advice and
assistance to local election officials, did not provide a comment when asked whether it was
concerned about KnowInk’s choice of default password or whether it had communicated
with the company about the issue.
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E-poll books have proliferated as election offices seek to minimize the cost and hassle
associated with paper voter records, but they present serious cybersecurity risks: many
models — including the Poll Pad — can connect directly to the internet, exposing them to
malware, and federal security guidelines do not cover e-poll books.

“Our voting systems are critical infrastructure that needs to be protected with vigilance,”
said Austin Evers, the executive director of American Oversight. “When we see documents
indicating election officials potentially left voting machines open to even the most
unsophisticated bad actors, it should be a wake-up call for everyone.”

Eveler did not respond to emails asking if she had changed her Poll Pads’ passwords, and
the other county officials she emailed either did not respond or declined to answer.

Georgia Secretary of State Brad Raffensperger’s office also did not respond to a request for
comment.

The Poll Pad itself isn’t the only KnowInk product that uses a simple default password. The
product’s management software, which is used to load voter data onto the tablets, uses the
default password “know.”

To view online:
https://subscriber.politicopro.com/cybersecurity/article/2019/12/popular-e-poll-books-
default-password-is-1234-1847513
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                 IN THE UNITED STATES DISTRICT COURT FOR
                    THE NORTHERN DISTRICT OF GEORGIA
                             ATLANTA DIVISION

                                                   )
    DONNA CURLING, et al.                          )
                                                   )
    Plaintiff,                                     )
                                                   )   CIVIL ACTION FILE NO.: l:17-cv-
    vs.                                                2989-AT
                                                   )
    BRAD RAFFENSPERGER, et al.                     )
                                                   )
    Defendant.                                     )
                                                   )
-    -     -    - - - - - - - - --         -   --)

          SUPPLEMENTAL DECLARATION OF RHONDA J. MARTIN

               RHONDA J. MARTIN declares, under penalty ofpetjury, pursuant to

28 U.S.C. § 1746, that the following is true and correct:


l. I have personal knowledge of all facts stated in this declaration and if

         called to testify, I could and would testify competently thereto.

2. I am a Fulton County voter and have a practice of voting in all elections

         for which I am eligible.

3. I am Executive Secretary of the Qatar Computing Research Institute

         Scientific Advisory Committee and a member of the Coalition for Good

         Governance. I am active in the activities involving citizen oversight of

         elections in which Coalition for Good Governance is engaged.

4. On November 5, 2019, I spent a total of approximately 3.5 hours at the

         Shelton Elementary School in Dallas, Georgia; the Watson Government
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   Comp]ex in Dallas, Georgia; and the Cartersville Civic Center in

   Cartersville, Georgia observing (as a member of the public) the pilot use

   of the new Dominion Voting System in municipal elections. On

   December 3, 2019, I spent a total of approximately 2.5 hours at the

   Northside Baptist Church Gym in Valdosta, Georgia, as a poll watcher

   observing the pilot use of the Dominion Voting System in run-off

   elections.

   Pollbook Issues

5. On November 5, 2019, around 1 : 15 pm the poll manager at Shelton

   Elementary School got a call that there was some sort of "state-wide

   problem" with the epollbooks. She was told to have voters complete the

   paper application/oath before having them check in at the PolJPad

   electronic pollbook stations. She hadn't noticed any problems with the

   epollbook check-in process at this precinct but was still required to add

   this step to the check-in process. Later in the afternoon, at the Cartersville

   Civic Center, a poll watcher from the Democratic Party told m e that

   when the lines were long, the poll manager decided to speed things up by

   not having voters sign the epollbooks since that was redtmdant with the

  paper process they had already completed. One of the workers at an

  epollbook station seemed tired of the whole process. When a voter gave
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   her a new driver's license that had a green tint, she looked at Kevin

   Rayburn and said "We' ll see if this works," clearly expecting it not to

   work based on earlier problems that had been experienced. It took some

   time but eventually it processed appropriately.

6. I could not leam the source of the problem that caused the polling places

   to change their procedures mid-day based on communications from the

   Secretary of State's office} but the poll workers expressed confusion and

   frustration with the new procedure. It was clear to me that despite three

   weeks of early voting, PollPad pollbook procedures were still buggy on

   Election Day, underscoring my fears of the impracticality of statewide

   system conversion by the beginning of Presidential Primary Early Voting

   on March 2, 2020.

   Ballot Secrecy

7. In a11 locations, there were ''privacy screens'' around each ballot marking

   device/printer station, but they were ineffective at protecting ballot

   secrecy because the BMD screens are very large, bright, and angled so

   that people in the room (other voters, press, poll watchers, or poll

   workers) can see the displayed contents across the room while the voter

   is voting. I had to make a point of looking away to avoid violating the

   privacy that voters are entitled to.
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8. Also, the machines default to the large font display setting thereby

   requiring voters to scroll to see the entire text of the referendum under

   consideration. To avoid the confusion of scrolling, poll workers at the

   Shelton Elementary School, reset the font size on the BMDs to "normal,,

   each time a voter finished voting.

9. At the Watson Government Complex, after completing check in, voters

   entered a relatively small partitioned room with fifteen bal1ot marking

   device/printer stations and one scanner. Although turnout was light and

   there were generally only two to three voters present at any one time, it

   felt very crowded and was virtually impossible for peop]e not to see other

   people's votes, even with the privacy screens.

10.At the Cartersville Civic Center; one voter commented that curtains were

   needed to protect the privacy of the voters. Others that I talked with later

   were quite uneasy about the loss of ballot secrecy inherent in the machine

   set up. Unfmtunately, the suggestion of privacy curtains is not likely a

   workable solution as it is my understanding that Georgia law and basic

   security practices require that the machines, with theit- vulnerable

   electronics, remain in public and poll worker view at all times during the

   voting process to discourage tampering.
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11.The video of Georgia E lections Director, Chris Harvey demonstrating the

   use of the BMDs found at https://www.fastcompany.com/9044l559/two-

   expe1ts-quit-election~accountability-group-over-ciaims~it-has-been-

   endorsing-untrust:V\1orthv-machlnes, clearly illustrates the ballot secrecy

   issues, and how a voter's choices can be inadvertently highlighted and

   seen by others if the voter exercises her ability to change font size and

   contrast to increase readability (00:30).

12.I find this loss of ballot secrecy very concerning and yet one more factor

   that would cause me to avoid voting on a Dominion BMD. I am very

   uncomfortable with effectively disclosing every chojce I make when

   voting to friends, neighbors, or others in the polling place.

   Voter Verification of Ballot Summary Printouts

13.On November 5, in each of the locations, it was clear that voters did not

   realize the importance of checking their printed ballot summaries for

   correctness prior to inserting them in the scanner. In general, voters

   appeared to be focused on tiying to figure o ut what the next step in the

   process was and where in the polling place they were supposed to go

   next.
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14.Prompting by poll workers did increase the nwnber of people that looked

   at their printed ballot summaries before casting them, although it is

   impossib]e to know whether voters accurately confirmed the contents.

15 .. In the video of Georgia Elections Director, Chris Harvey demonstrating

   the use of the B.MDs found at

   https://www.fastcornpany.com/90441559/two-experts-quit-election-

   accountability-group-over-claims-it-has-been-endorsing-untrustworthv-

   machines, he states that "the voter then is going to be charged with

   reviewing and confirming their ballot choices" (2: 10).

16.In my opinion based on my observations and my personal experience,

   Mr. Harvey and the State are "charging the voter" with a responsibility

   that is an unfair burden on the voter and unrealistic. As a voter, I should

   not be responsible for determining whether the BMD is properly

   functioning in recording my vote on the paper ballot summary before I

   cast my vote, particularly since that vote is encoded in an enc1ypted QR

   code that I cannot interpret.

17.I understand that the readable text on all baJ1ot summary printouts must

   be accurately reviewed by voters (and errors corrected) before the ballot

   summaries can be considered reliable source docwnents for post-election

   audits. This is a burden that would be virtually impossible for me to meet
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  for a long complex ballot, without my bringing a pre-marked ballot

  sample to the polls to reference w hen determining the accuracy of my

  ballot summary printout prior to casting my votes.

18.Based on my observations and my own capabilities, the State's

  expectation that all voters conduct reliable testing of the BMD/printer

  combination' s acctu-acy prior to casting their ballots seems like an

  outlandish and irrational demand. Voters come to the polls to vote and

  that is, and should be, their only concern.



 Executed on this date, December 16, 2019.




                                                Rhonda J. Martin
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          IN THE UNITED STATES DISTRICT COURT FOR
             THE NORTHERN DISTRICT OF GEORGIA
                      ATLANTA DIVISION



                                               )
 DONNA CURLING, et al.                         )
                                               )
 Plaintiff,                                    )
                                               ) CIVIL ACTION FILE NO.:
 vs.                                           ) 1:17-cv-2989-AT
                                               )
 BRAD RAFFENSPERGER, et al.                    )
                                               )
 Defendant.                                    )
                                               )
                                               )


              DECLARATION OF ELIZABETH THROOP

Elizabeth Throop declares, under penalty of perjury, pursuant to 28 U.S.C.

§1746, that the following is true and correct:



   1. My name is Elizabeth Throop

   2. I have personal knowledge of all facts stated in this declaration, and if

       called to testify, I could and would testify competently thereto.

   3. I am a registered voter in DeKalb County. I am a supporter of

       Coalition for Good Governance and an active volunteer in supporting

       its voter education and election security efforts.
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   4. During the November 5, 2019 pilot elections and the related

      December 3, 2019 runoffs, I spent approximately 34 hours observing

      polling places in Paulding, Carroll, and Lowndes counties, including:

      Oct 14 – Watson Govt Center, Dallas, Paulding Co, 5¾ hours

      Oct 14 – Hiram Event Center, Paulding Co., 15 minutes

      Oct 17 – Hiram, Paulding Co., 2½ hours

      Oct 22 – Carrollton Admin Building lower level, Carroll Co., 6½

      hours

      Oct 30 – Powell Park Rec, Carroll Co., 3½ hours

      Nov 5 – Carroll Co. Lakeside Rec Center, 3 hours

      Nov 5 – Carroll Co. Carroll County Admin Bldg, 1½ hours

      Nov 5 – Carroll Co. UWG Food Service, 1½ hours

      Dec 3 – Lowndes Co. Rainwater Conference Center, 2 ½ hours

      Dec 3 – Lowndes Co. Trinity Presbyterian Church, 1 hour

      Dec 3 – Lowndes Co. Valdosta State University, 6 hours



Electronic Pollbooks

5. I am greatly concerned about the reliability of Poll Pad equipment, based

on my observations of problems with their use during early and regular

voting. Poll Pads serve five vital functions, and if they are slow or any
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feature is not working, they can form a “bottleneck” that slows down the

entire voting process. Those functions are

– poll book lookup based on their reading of drivers license or other

methods;

– ballot style determination based on poll book data;

– updating of poll book to reflect that voter has checked in;

– collection of voter signature for signature verification;

– formatting of ballot access cards based on precinct.

6. Based on my observations of Poll Pad performance, I would vote absentee

– even with the extra work, uncertainty of timely delivery, risk of having my

ballot rejected for signature mismatch – rather than risk voting in person.

7. On Election Day, Nov 5, 2019, I observed problems at Lakeside Rec

   Center, Carroll County, in which Poll Pads were unable to format access

   cards between 7:40 am and 10 am. I believe this incident was either

   mischaracterized by the SOS or omitted from incident reports.

   (Executive-Summary-Initial-Findings-Pilots-11-14-19) (Exhibit 1)

8. In that summary of the pilots the Secretary of State says that on Election

  Day November 5, “Some Poll Pads were not able to produce Voter Cards

  to activate the BMDs … The issue was discovered upon the opening of the

  polls and was reported from Bartow, Carroll, Cobb, and Paulding by
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  approximately 7:20 am … By 7:40 am the SOS office directed that

  KnowInk and Dominion do a universal fix quickly by loading that dataset

  through a WiFi connection. That was executed and the Poll Pads then

  began to function properly by approximately 8:20 am.” [p. 4]

9. In fact, I observed Poll Pads at Lakeside Rec in Carroll County being only

  partially functional between 7:40 and 10 am that day. On Election Day, I

  arrived at Lakeside Rec Center at 7:40 am. I observed voters filling out

  paper certificates. There were two Poll Pads, and they were being used to

  look up voters in the data base. But the Poll Pads were not being used to

  collect signatures or format access cards.

10. Instead, Poll Manager Doug Sharp was using his own access card and

  password to give each voter access to a BMD. Sharp explained to me that

  there was a problem with the Poll Pads, and that he feels for counties that

  will use this system for the first time in a high turnout situation.

11. He said “You’ve got to plug in one wire before another and if you get

  any one of them out of sequence it won’t work properly.”

12. He said he hoped that by 9:00 am they could use Poll Pads for

  certificates, i.e. to collect signatures and for ballot-style lookup. Sharp

  said, “The data is there – it just won’t format the card properly.” Later
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  Sharp said that the data was all loaded on the Poll Pads but they lacked an

  access code for poll workers to be able to access it.

13. I watched two poll workers pulling out the card-swipe attachments from

  the Poll Pads and reinserting them. Poll workers were preoccupied with

  this problem and they repeatedly leafed through what appeared to be a

  manual for the Poll Pads. Luckily, voting was extremely slow so people

  were still able to be checked in and vote. It was clear to any observer that

  in a high turnout election, such problems would result in long lines,

  frustrated voters and voters being unable to wait in the polling place for

  resolution.

14. Around 8:30 am a Dominion worker arrived and spoke to Manager

  Sharp. The rep told me that poll workers hadn’t understood that the Poll

  Pads can read the Driver License data, so he explained that to them. He

  told me that the SOS was trying to fix the access card problem from a

  remote location.

  15. At 10 am a woman with a Poll Pad name badge, “Chrissy,” arrived.

  She disconnected each Poll Pad, one at a time, and then carried them back

  behind the information display screen and reprogrammed them. She,

  Manager Doug Sharp, and a poll worker I recognize from the downtown

  election office talked about hotspots. Chrissy and the downtown poll
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  worker left about 10:15. Soon I witnessed, for the first time that day,

  voters signing in on the Poll Pad.

16. Whatever the problem was between 8:20 am (the time the SOS said it

  had been fixed) and 10 am (the time the Poll Pad rep came to fix it), it

  was not successfully fixed at Lakeside Rec before 10 am.

17. While poor Wifi access at the rec center may have been a factor in the

  reset from the central office, it was apparent to me that neither the poll

  manager or the Dominion representative were able to identify this issue

  causing the problem. My general impression is that these devices have too

  many moving parts for non-specialists to rely upon them in a timely,

  high-stress situation like a polling place, particularly without a reliable

  back up paper pollbook to use as a default when problems arise.

18. During early voting on October 30 I observed problems using Poll Pads

  at Powell Park Rec Center in Carroll County between 12:30 and 4:15.

  That polling place had two check in stations with Poll Pads along with

  what looked like conventional computers. Voters were filling out paper

  certificates, and workers were using the conventional computers to look

  up voter data – then using Poll Pads to format access cards.

  19. I had seen this unusual setup in my observations at Carroll County

  Administration Building on October 22. That day, a poll worker
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  explained to me that there was a problem with Poll Pads not being able to

  look up voter addresses correctly. Because early voting involves multiple

  ballot styles per polling place, one worker was looking up the precinct of

  a voter on conventional computer, recording a unique number of their

  paper certificate, and handing the paper off to a second worker. The

  second worker was formatting the voter’s access card using a Poll Pad. I

  was told this was a temporary fix because of a problem with ElectionNet.

20. Voting was extremely light at Powell Park, and some voters were able to

  use this ad-hoc setup successfully. But a man who identified himself as

  “the tech guy” would occasionally have to walk over to the conventional

  computers and type in things in order for the conventional computers to

  function properly. I saw the tech guy and Poll Manager Meeks spend over

  ten minutes looking up one woman. This type of delay in processing

  voters would result in very long lines and discouraged voters in a more

  typical election turnout.

21. Afterwards, the “tech guy” went outside. When he came back, he walked

  around different areas of the room, waving his phone around and holding

  a small cardboard box in his other hand. It seemed like the box might

  have a signal booster in it. Meeks asked the “tech guy” whether the rain

  might be disrupting the Wi-Fi signal. In fact, there was extremely heavy
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  rain that afternoon. The tech guy left the cardboard box near the check-in

  stations.

  22. This problem at Powell Park helped me form my general impression

  that Poll Pads have too many moving parts, including internet

  connectivity, for non-specialists to rely upon in a timely, high-stress

  situation like a polling place.

23. Even if Wifi were a secure method of handling data, the signals seem to

  come and go based on many variables, from weather, to competing

  traffic, to room configuration – so they don’t seem like a reliable or

  secure part of a voting system.

  24. I didn’t see anyone being unable to vote due to the lack of reliability

  of Poll Pads, during either early voting or Election Day. In all cases,

  polling places were very heavily staffed and equipped in relation to the

  number of voters. But my impression was that either of the two separate

  problems I saw with these devices (inability to look up voters on Poll

  Pads during early voting and inability to format access cards during

  Election Day) could have significantly slowed down voter lines in a high-

  turnout election.

25. I understand that counties allow voters the convenience of voting at any

  polling place that’s open during early voting. I understand that such a
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  setup could, theoretically, make it possible for someone to vote twice

  unless these polling locations shared voter status with each other via

  telecommunication. I worry that this convenience comes at a cost:

  connecting voting equipment to the internet via an unreliable and insecure

  Wifi network.

26. What I don’t understand is why Poll Pads are connected to the internet

  via Wifi or other means during Election Day. On that day, voters are

  voting in their home precincts and the voter database is “dumb” –

  meaning it is isolated from any updates or revisions such as new

  registrations or changes of address. Poll workers can track who has or

  hasn’t voted in their precinct. They can share this data between other

  workstations in their polling place via a LAN, or even assign voters to a

  Poll Pad station based on first letter of last name, as it was always done

  with paper poll books. I feel strongly that this should be rigorously

  reviewed by the State’s security experts.

  27. In a September 17th news report, Tess Hammock, spokeswoman for

  the secretary of state’s office, stated about Poll Pads, “They’re small

  standalone electronic devices” … “They’re not connected to the Internet

  and are password-protected. So unless you have that password, you

  couldn’t get into them.”
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  28. Yet on it was just reported by POLITICO, American Oversight, and

  Georgia Public Broadcasting that Georgia used the PollPad password of

  “1234.”

  (https://twitter.com/stphnfwlr/status/1205629351850631168?s=20 ),

  which seems to belie the Secretary’s claims about polling place security.

  29. Based on my observations on the polling places it is my strong

  opinion that the risks of pollbook failure, malfunction, “bugs,” and

  insufficient poll worker training mandate the need for a back-up default

  paper pollbook that can be used as the official reference if the Poll Pad

  information is not available. Except at Lakeside Rec on Election day, I

  saw poll workers relying on alternate electronic records when Poll Pads

  malfunctioned. At Lakeside Rec on Election Day, they may have been

  using paper records during the Poll Pad malfunction. I asked a WCU poll

  worker on December 3 if she had a paper printout of the poll book, and

  she said it was at the polling place but locked away. This over-reliance on

  electronic records seems to create an unacceptable risk for 2020 high

  turnout elections

Voter Verification of Ballots

30. Paper printouts from BMDs have type that is so small and crowded that

  it presents legibility issues. I was able to obtain a sample and determined
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   that the type is slightly over 10 points, with just 9.6 points between lines

   of type. This is about 80% of normal space between lines.

31. It would be difficult burden for myself as a voter to try to recall all the

   ballot content of a November, or even a primary, ballot and to accurately

   check whether my vote had been correctly recorded on a BMD. It would

   be especially hard because I wouldn’t be able to compare the document to

   an original. In the case of BMDs, the original touchscreen goes blank

   when the printout emerges. The cramped arrangement of the type would

   make this even more challenging.

32. A member of the SAFE Commission remarked, “If we provide the voter

   with a paper ballot of what they’ve done and they don't take the time to

   look at that and verify, there's really nothing we can do. That’s the voter’s

   responsibility.”(SAFE Commission transcript 12.12_.18_.pdf)

   (Page 188) (Exhibit 2) I think ballot verification is more than a matter of

   being responsible, and I think it’s an unreasonable burden to ask voters to

   verify something that is hard to recall from text that is hard to read.

33. I spoke to one voter who told me he had been told to check his ballot,

   which he did – but that he only saw a big QR code on it. Eventually he

   noticed “fine print” below the code and managed to read what it said.

   Another voter and she said she just saw a “thing” on it and gestured the
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  shape of a square about the size of the QR code. When I told her there

  was, in fact, type printed below the QR and she seemed surprised. Three

  other people assured me they had looked at their printouts without

  understanding that there was anything more on them than QR codes,

  which they referred to as a “scan box,” “icon,” and a “barcode,” while

  each made gestures with their hands. One of the three suddenly lowered

  her voice when she told me she has difficulty seeing, even with glasses.

  Apparently none of these voters realized there was type on the printout.

Ballot Secrecy


34. While type on printouts is small and hard to read, type and graphic

  elements on BMDs are often large – compromising privacy. When a voter

  makes a choice, an area the entire width of the screen turns dark, then

  turns white. If a voter presses the second candidate in a race, the second

  band is highlighted. It’s not necessary for a curious person to read the

  type on the screen if they know the order of the candidates, based on

  whether the first, second, or third band is highlighted. (Composite image

  showing before, during, and after depressing a choice on a Dominion ICX

  touchscreen. From video shot by Joy Wasson 10/10/2019 at Fulton

  County’s demonstration of election equipment at 279 Logan St., SE

  Atlanta 30312) (Exhibit 3)
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35. On October 22 I visited the Carrollton County Admin Building to

  observe voting. The poll manager, Carolyn Driver, told me I could not be

  in the voting room because I would be in the way of voters, and because I

  could see the voters’ choices on screen. I pointed out that a poll worker

  was in stationed voting room and could see the screens and choices just as

  well as I could. Driver affirmed I couldn’t look at what poll worker could

  look at on the BMD screens. I stayed, but stood outside of the room

  containing the Ballot Marking Devices, which inhibited my rights to

  observe the conduct of the election.

36. Carrollton County Supervisor Rigby explained to me that the scanner

  holds a digital image of each ballot, and showed me the memory cards in

  the scanner where the scans are stored. Apparently this scanning of each

  paper printout is Dominion’s “Auditmark” feature, and it adds a time

  stamp to each image. I understand this to mean that at a slow polling

  place, it would be easy even for a non-technically-sophisticated election

  worker to associate a timestamp with a voter’s check-in time and be able

  to deduce whose ballot printout they were viewing in the Auditmark

  database.
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37. At Carrollton Admin, one voter explicitly expressed a privacy concern.

  She said she thought the BMDs should be rotated around to face the back

  wall, because she didn’t like the poll watchers seeing her voting choices.

38. During the runoff at Rainwater Conference Center, I observed a man and

  woman, presumably a couple, check in and vote on BMDs that were side

  by side, divided by a privacy screen. The man finished ahead of the

  woman, then took a single step backward and to his side and looked at her

  touchscreen. Just then, a poll worker called to him to come deposit his

  printout in the scanner. While this man’s actions may have been entirely

  innocent, it dramatized to me how a voter such as the woman might fear

  for her vote secrecy.

39. Some privacy issues seemed to arise from poor polling place layout. For

  instance at Lakeside Rec the BMDs were positioned near a window that

  faces an interior hallway, allowing a person in the hallway to view or

  photograph BMD activity. (Exhibit 3) In contrast, on Election Day

  Carrollton Admin moved into a different room and situated BMD stations

  perpendicular to where poll workers were sitting. While this arrangement

  helped maintain voter privacy, it would have made it difficult for waiting

  voters to see when a BMD were free for their use.
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Executed on this date, December 15, 2019.




Elizabeth Throop
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                                              Executive Summary

Initial Findings: Pilot Counties Municipal Elections 2019

                      New Georgia Statewide Voting System
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Overview

The intent of conducting pilots in municipal elections is to place the new
equipment into real election conditions to evaluate the equipment, the processes
and importantly the people interacting with the new verifiable paper trail voting
system.

As the office of Secretary of State has been working with the new system, we have
seen that it isn’t simply changing one type of mechanism, a Direct Recording
Electronic (DRE) voting, machine for another machine, the Ballot Marking Device
(BMD). The new paper ballot voting system fundamentally changes the way that
the state of Georgia has conducted voting for nearly two decades.

With that in mind, the implementation team understood that piloting the new
system in real world conditions, with the introduction of poll workers, polling
places, and most importantly voters, would be vital to bring potential issues to the
forefront.

With that in mind, we picked nine counties to do the initial pilots:
Bacon, Bartow, Carroll, Catoosa, Decatur, Evans, Lowndes, Paulding, and
Treutlen. All elections officials were brought in for three days of training to our
Center For Elections with Dominion and SOS Staff. Bacon, Evans, and Treutlen
ended up having no municipal elections, so the remaining six counties conducted
their November elections on the new system. Cobb County volunteered to conduct
a pilot election with the new system, except using hand-marked paper ballots
instead of ballot marking devices. That pilot still included the Poll Pad, Polling
Place Scanner, and new election management system. The Secretary of State’s
office is extremely grateful to the counties who volunteered to be the first to test
this new system. Their work and lessons learned is irreplaceably valuable as the
State continues this implementation.




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Initial Findings

There were 27,482 votes cast in the Municipal (and County) elections in the six pilot counties.
That means there were 27,482 interactions by voters with the new voting machines that were
completed successfully.

Here are the breakouts of ballots cast:

County                    Votes Cast               Registered              Percent Turnout
Bartow                    1,989                    13,708                  14.5%
Carroll                   3,455                    25,527                  13.5%
Catoosa                   4,614                    47,840                  9.6%
Decatur                   1,047                    6,974                   15.0%
Lowndes                   9,495                    71,017                  13.4%
Paulding                  6,882                    107,021                 6.4%

Here are the breakouts of the deployment of equipment:

County              Advanced                                Election Day
                    BMD                   Polling Place     BMD                Polling Place
                                          Scanner                              Scanner
Bartow              27                    4                 180                26
Carroll             12                    3                 20                 12
Catoosa             14                    2                 48                 11
Decatur             25                    2                 169                10
Lowndes             10                    1                 22                 2
Paulding            21                    5                 28                 5

Totals              109                   17                467                66


So overall in service there were 576 BMDs and 83 Polling Place Scanners deployed.

As you will see in the subsequent appendices there were 45 total “incidents” reported. Some of
those were not problems, they were reports of the system functioning properly, but it being new,
and wanting to be thorough, the poll workers called them into the technicians from Dominion.

By that measure, we had 45 incidents out of 27,482 votes or an incident rate of 0.164%.
There were 4 touchscreens out of 576 (0.69%) and 1 scanner out of 83 (1.2%) were taken
from service out of an abundance of caution. Further, nearly all issues were caused by
human error or interaction which can be mitigated through training or identified through
testing.




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APPENDIX A
Multiple County

PollPad
Each County, with the exception of Catoosa, had an issue upon opening of polls with some
PollPads. Some PollPads were not able to produce Voter Cards to activate the BMDs. The
process would start and the voter could be identified as being in the right place. However, the
screen would ask the voter to pick a party. Obviously, as a municipal or county election, the
elections are non-partisan, so the work-flow would hit a dead end. The issue was discovered
upon the opening of the polls and was reported from Bartow, Carroll, Cobb, and Paulding by
approximately 7:20am. SOS office requested that Dominion contact their technicians on site in
the remaining counties and discovered the issue was in Decatur and Lowndes as well.

The Center For Elections identified the issue was there was an additional field within the dataset
erroneously. The issue could be remedied be reloading the final dataset with the field removed.
By 7:40am the SOS office directed that KnowInk and Dominion do a universal fix quickly by
loading that dataset through a WiFi connection. That was executed and the PollPads then began
to function properly by approximately 8:20am.

Below are the collected reports:

                                   Equipmen                                       Resolution
 Time           Location           t              Issue          Resolved         Notes
Time            County             Equipmen      Issue           Resolved         Resolution
                                   t                                              notes
                Bartow             PollPads      At least one
                                                 working at
                                                 each
                                                 location
724             Carroll            PollPads      Bonner-         Resolved
                                                 pollpads
                                                 not able to
                                                 create
                                                 cards, also
                                                 not working
                                                 at other
                                                 county
                                                 admin.
                                                 Greg
                                                 contacted
                                                 KnowInk
                                                 person
802             Carroll            PollPads      pollpads to     Resolved
                                                 syncing-
                                                 unable to
                                                 process
                                                 voters


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              Decatur     PollPads     Some
                                       working,
                                       some did not
733           Lowndes     PollPads     Gabe           Resolved
                                       reported
                                       the
                                       pollpads
                                       are not
                                       working,
                                       called
                                       Rokey, it is
                                       the same
                                       issue they
                                       saw in the
                                       warehouse
800           Lowndes     PollPads     Lowndes-       Resolved
                                       Gabe
                                       reported
                                       that they
                                       are not able
                                       to process
                                       voters
                                       through the
                                       pollpad,
                                       said we can
                                       turn on Wi-
                                       Fi
807           Lowndes     PollPads     per Gabe,      Resolved
                                       one tech
                                       going
                                       around to
                                       update
                                       pollpads
                                       does not
                                       work
717           Paulding    PollPads     Pollpads       Resolved
                                       not working
                                       at Diane
                                       Wright-
                                       unable to
                                       scan unable
                                       to look up
                                       manually,
                                       they have a
                                       line and
                                       people are
                                       leaving.
                                       Left
                                       message
                                       for Rokey

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APPENDIX B
Bartow County

Time          County       Equipment    Issue           Resolved   Resolution
                                                                   Notes
620           Bartow       Touchscree   Touchscreen     Resolved
                           n            staying in
                                        landscape
                                        mode
945           Bartow       PPS          Scanner was     Resolved
                                        needing to
                                        have some
                                        ballots, not
                                        all, inserted
                                        multiple
                                        times to
                                        read ballot
                                        AAFAJJJ0050,
                                        scanner is
                                        reading
                                        ballots
1043          Bartow       Touchscree   Cartersville    Resolved   picked up
                           n            West-                      an incident
                                        Touchscreen                report,
                                        rebooted                   pollworker
                                        while voter                was able to
                                        was at the                 reactivate
                                        touchscreen                machine,
                                        , voter was                voter was
                                        able to vote               able to
                                        normally                   reuse card
                                        once                       without
                                        machine                    issue, no
                                        rebooted                   further
                                        and                        issues
                                        pollworker                 reported on
                                        got machine                this


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                                        back to                   machine.
                                        voting
                                        screen
1500          Bartow       Touchscree   Cartersville   Resolved
                           n            West-
                                        Machine
                                        rebooted,
                                        stuck at the
                                        boot loader
                                        screen,
                                        power
                                        cycled
                                        machine,
                                        operating
                                        normally at
                                        this time
1735          Bartow       Touchscree   Catersville
                           n            West-
                                        machine
                                        rebooted
                                        stuck at
                                        boot loader
                                        screen,
                                        cycled
                                        power on
                                        machine.
                                        2nd time
                                        this
                                        happened
                                        on this
                                        machine
1820          Bartow       Touchscree   Cartersville   Resolved
                           n            -East
                                        machine
                                        froze,
                                        rebooted
                                        battery and
                                        machine
                                        returned to
                                        normal
                                        operation
                                        SN:1907020
                                        644
                           PollPads                               pollpad
                                                                  check in -
                                                                  trouble
                                                                  reading
                                                                  drivers
                                                                  licenses.
                                                                  Strong

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                                                                  florecent
                                                                  light above
                                                                  PP. Did
                                                                  partial
                                                                  manual
                                                                  check in
                           PPS                                    After use, it
                                                                  is helpful to
                                                                  submit
                                                                  ballot face
                                                                  down (fold
                                                                  down)
1850          Bartow       Touchscree   Cartersville   Resolved
                           n            East
                                        touchscreen
                                        down,
                                        rebooted
                                        and stuck
                                        on a black
                                        screen.




APPENDIX C
Carroll County
Time          County       Equipment    Issue          Resolved   Resolution
                                                                  Notes
845           Carroll      PPS          precinct       Resolved
                                        scanner
                                        jammed,
                                        cleared
                                        jam, ICP
                                        would not
                                        accept
                                        ballots,
                                        scanner
                                        replaced,
                                        voting
                                        normal
1246          Carroll      Touchscree   Machine        Resolved
                           n            rebooted,
                                        stuck at the
                                        boot loader

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                                        screen,
                                        power
                                        cycled
                                        machine,
                                        operating
                                        normally at
                                        this time
1320          Carroll      Touchscree   Bonner-        Resolved   tech
                           n            swapping                  swapping
                                        out 2                     out
                                        touchscree                machines
                                        n because
                                        they have
                                        rebooted
                                        multiple
                                        times
1545          Carroll      Touchscree   machine        Resolved   county
                           n            battery                   admin
                                        symbol                    location
                                        dissapeared
                                        from
                                        machine,
                                        machine
                                        still
                                        functioning
                                        normal.
                                        Tech
                                        keeping
                                        watch on
                                        machine for
                                        any
                                        changes
1545          Carroll      Touchscree   voter stuck    Resolved   bonner-
                           n            drivers                   rover
                                        license into              onsite,
                                        machine,                  same
                                        machine                   location has
                                        went to a                 had an
                                        black                     issue on 4
                                        screen,                   of 6 total
                                        rebooting                 machines,
                                        machine,                  2 machines
                                        black                     rebooted
                                        screen has                and where
                                        happened                  replaced
                                        multiple                  and then 1
                                        times on                  of the
                                        this                      replacemen
                                        machine.                  t machines
                                                                  rebooted as

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                                                                  well.bonner
                                                                  down to 3
                                                                  touchscree
                                                                  n,
                                                                  tabernacle
                                                                  church had
                                                                  machine
                                                                  rebooted
                                                                  also
1545          Carroll      Touchscree   rebooted       Resolved   university
                           n            machine                   of west GA-
                                        but it will               machine
                                        not power                 replaced,
                                        back on.                  machine
                                        Recommen                  rebooted
                                        ded to                    normally
                                        remove                    but they
                                        power,                    are
                                        remove                    replacing
                                        battery, let              the
                                        machine sit               machine
                                        for 2
                                        minutes,
                                        replug
                                        battery,
                                        once
                                        machine is
                                        at the start
                                        screen plug
                                        in power
                                        and resume
                                        normal
                                        operation




APPENDIX D
Catoosa County
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Time           County      Equipment    Issue          Resolved   Resolution
745            Catoosa     Touchscree   lakeview                  Log files
                           n            printer jam,              will be
                                        printed                   collected
                                        ballot                    Thurs/Fri
                                        information               and sent to
                                        on one                    Dominion
                                        page and                  engineering
                                        barcode on
                                        second
                                        page, ballot
                                        being
                                        spoiled and
                                        voter
                                        remaking
                                        ballot
1010           Catoosa     Touchscree   power not      Resolved
                           n            attached
                                        correctly-
                                        reattached
                                        power
                                        correctly
                                        and
                                        touchscree
                                        n is working
                                        normally
1040           Catoosa     Touchscree   Ringgold       Resolved   number
                           n            Freedom                   mismatch
                                        Center-                   on
                                        voter went                touchscree
                                        to                        n compared
                                        touchscree                to scanner
                                        n, before                 and voter
                                        printing                  registration
                                        ballot the                numbers.
                                        screen                    Tonya is
                                        went blank,               aware of
                                        Voter was                 the
                                        able to use               situation.
                                        same voter                Machine
                                        card and                  escalated
                                        cast a                    to
                                        ballot                    Engineering
                                        successfully              and we will
                                        without re-               need to pull
                                        creating                  the log files
                                        voter                     from
                                        access                    machine.
                                        card, tech

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                                        mentioned
                                        touchscree
                                        n number
                                        increased
                                        by 2 ballot
                                        printed,
                                        scanner
                                        and voter
                                        count
                                        numbers
                                        match.
1100           Catoosa     Touchscree   Fort          Resolved
                           n            Oglethorpe
                                        City:
                                        machine
                                        keeps going
                                        black, tech
                                        going
                                        onsite to
                                        check the
                                        power
                                        connections
                                        . Taking
                                        machine
                                        out of
                                        service and
                                        will use
                                        remaining
                                        machines
                                        at that
                                        location
1327           Catoosa     Touchscree   West Side     Resolved   recycled
                           n            location:                power to
                                        pollworker               the
                                        added                    touchscree
                                        paper to                 n and
                                        the printer              printer and
                                        and they                 everything
                                        received a               worked
                                        message on               normal,
                                        the screen               suspect
                                        about the                they hit the
                                        change                   prompt to
                                                                 not use the
                                                                 USB device
                                                                 and did not
                                                                 reboot the
                                                                 touchscree
                                                                 n and the
                                                                 printer both

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                                                                  causing the
                                                                  issue.
1340           Catoosa     Touchscree   West side      Resolved   recycled
                           n            location:                 power to
                                        pollworker                the
                                        smart card                touchscree
                                        are not                   n and
                                        reading in                printer and
                                        the tech is               everything
                                        creating a                worked
                                        new                       normal,
                                        pollworker                suspect
                                        card.                     they hit the
                                        Having this               prompt to
                                        issue on 2                not use the
                                        of 4                      USB device
                                        machines,                 and did not
                                        tech taking               reboot the
                                        pollworker                touchscree
                                        card to site              n and the
                                                                  printer both
                                                                  causing the
                                                                  issue.
1850           Catoosa     Touchscree   Oglethorpe     Resolved
                           n            touchscree
                                        n rebooted
                                        and went to
                                        a black
                                        screen




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APPENDIX E
Decatur County

Time           County      Equipment    Issue        Resolved    Resolution
                                                                 Notes
630            Decatur     Electrical
                                                                 power
                                                                 issues at
                                                                 the
                                                                 coliseum,
                                                                 finding live
                                                                 outlets for
                                                                 use

2020           Decatur     CSD                                   Question
                                                                 about CSD
                                                                 procedure
                                                                 to verify he
                                                                 was doing it
                                                                 correctly




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APPENDIX F
Lowndes County

Time           County      Equipment     Issue         Resolved   Resolution
                                                                  Notes
     825        Lowndes     Touchscree   precinct 6
                                n        touchscree
                                         n not
                                         showing
                                         charging,
                                         asked to
                                         verify unit
                                         is plugged
                                         in, UPS is
                                         showing
                                         correctly
                                         and the
                                         power is
                                         plugged in
                                         on the
                                         touchscree
                                         n
     1355       Lowndes     Touchscree   USB change    Resolved
                                n        message on
                                         1 machine,
                                         checking to
                                         make sure
                                         the site is
                                         checking
                                         the check
                                         box to use
                                         the USB
                                         device and

15
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                                        hitting
                                        always on
                                        the
                                        message.
     1745      Lowndes     Touchscree   Precinct 4-
                               n        touchscree
                                        n frozen,
                                        tech went
                                        onsite and
                                        power
                                        cycled the
                                        machine,
                                        pulled the
                                        battery
                                        then
                                        replugged
                                        the battery
                                        and
                                        machine
                                        returned to
                                        normal
                                        operation
     1820      Lowndes     Touchscree   Naylor- 3
                               n        machines
                                        at one end
                                        of the
                                        building
                                        and when
                                        the voter
                                        prints it
                                        causes the
                                        other 2
                                        touchscree
                                        ns to show
                                        a usb
                                        change
                                        message.
                                        the same
                                        thing
                                        happens in
                                        the same
                                        building but
                                        at a
                                        different
                                        outlet in
                                        the
                                        building,
                                        same thing
                                        where a
                                        voter prints

16
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                                       on 1
                                       touchscree
                                       n and the
                                       other 2
                                       show the
                                       USB change
                                       message
     2045      Lowndes     Reporting                            questions
                                                                about
                                                                Results
                                                                Tally
                                                                Reporting
                                                                and getting
                                                                results
                                                                loaded
                                                                correctly.
                                                                Scanner
                                                                cards were
                                                                created for
                                                                only 1
                                                                scanner so
                                                                everything
                                                                scanned on
                                                                second
                                                                scananer
                                                                weren't
                                                                recognized
     2110      Lowndes        PPS                               tech
                                                                created one
                                                                set of cards
                                                                for multiple
                                                                scanners
                                                                creating an
                                                                issue where
                                                                the county
                                                                can not
                                                                load the
                                                                cards this
                                                                happened
                                                                at multiple
                                                                polling
                                                                locations.
                                                                The plan is
                                                                to create
                                                                CSD
                                                                scanners
                                                                and run the
                                                                ballots
                                                                tonight
                                                                through the

17
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                                                                CSD to get
                                                                results




APPENDIX G
Paulding County

Time          County      Equipment    Issue         Resolved   Resolution
                                                                Notes
640           Paulding    Touchscree   PW card not
                          n            working on
                                       all
                                       machines,
                                       borrowed
                                       PW card
                                       from
                                       another
                                       precinct to

18
       Case 1:17-cv-02989-AT Document 680-1 Filed 12/16/19 Page 116 of 205




                                        get all
                                        machines
                                        up and
                                        running
700            Paulding    PPS          time not       Resolved
                                        changed-
                                        Church at
                                        the Ridge
1410           Paulding    Accessible   Poplar         Resolved
                           session      Springs
                                        Batist
                                        Chruch,
                                        headset
                                        unable to
                                        hear audio,
                                        pollworker
                                        created the
                                        card for the
                                        accessible
                                        voter
                                        incorrectly
1505           Paulding    Touchscree   Watson         Resolved
                           n            Precinct-
                                        touchscree
                                        n needed to
                                        be reboot,
                                        it wasn’t
                                        reading
                                        smart cards
                                        and when it
                                        came back
                                        on had
                                        message
                                        that the
                                        reader was
                                        detached,
                                        rebooted
                                        machine
                                        again and
                                        normal
                                        operation
                                        continued
1945           Paulding    CSD                                    when
                                                                  scanning
                                                                  results not
                                                                  all results
                                                                  were
                                                                  loading into
                                                                  Results
                                                                  Tally

19
      Case 1:17-cv-02989-AT Document 680-1 Filed 12/16/19 Page 117 of 205




                                                                  Reporting
                                                                  module,
                                                                  ended up
                                                                  re-scanning
                                                                  the 81
                                                                  ballots and
                                                                  they
                                                                  transferred
                                                                  into module
                                                                  normally




APPENDIX H
Next Steps

     - As of Friday, November 8, Dominion has obtained log records from any
       equipment with reported issues.
     - Log files being examined by Dominion engineering
20
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     - For Cobb hand-marked pilot, anecdotal accounts of voters given incorrect
       ballots. Need to compare reporting at precinct level to voter check-ins.
     - County Debrief to GA SOS Office, Dominion, and KnowInk scheduled.
     - Prepare for runoffs in Valdosta Mayor race, Smyrna Mayor race, and
       Smyrna Ward 2 with information obtained from first pilot.




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                                                                      E
                                                                      X
                                                                      H
                                                                       I
                                                                      B
                                                                       I
                                                                      T



                                                                      2
 Excerpt of SAFE
       Case       Commission Transcript
             1:17-cv-02989-AT Document12.12.18 ( https://sos.ga.gov/admin/uploads/
                                        680-1 Filed  12/16/19 Page 120 of 205
                                                    safecommissiontranscript12.12_.18_.pdf )


                                                                                        Page 186
1            your point.

2                  JUDGE MCCOY:      Absolutely.      And I don’t know whether

3            everybody in my county just trusts me or -- but nobody

4            shows up to these public things and then you hear these

5            stories about the distrust and, you know, that makes you

6            wonder if -- if -- if there's so much distrust, why are

7            the people -- the voters not showing up to observe what

8            we’re doing pre-election and postelection?

9                  REPRESENTATIVE FLEMING:          Okay.     Madam Secretary?

10                 SECRETARY CRITTENDEN:          I had a question, Dr. Lee.

11           Under -- I know there’s been a lot of discussion about

12           ballot-marking devices, but I just want to clarify:                           With a

13           ballot-marking device, there are systems that still produce

14           a piece of paper; correct?

15                 DR. LEE:     Yes.

16                 SECRETARY CRITTENDEN:          And then the voter can look at

17           the piece of paper and see if it accurately reflects how

18           they voted --

19                 AUDIENCE MEMBERS:        No.

20                 SECRETARY CRITTENDEN:          -- and then that would be

21           auditable.     No?

22                 DR. LEE:     So --

23                 SECRETARY CRITTENDEN:          Because you said there are no

24           papers --

25                 DR. LEE:     No, so -- so, I mean, I think you’re
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                                                                    Page 187
1         correct.    So I think if the ballot-marking devices print --

2         prints out a paper ballot.      So -- so, in order for that to

3         be auditable, it depends on several conditions; right?

4              One is that it has to clearly print out every single

5         vote as the voter has -- has cast; right?        And then we also

6         have to rely on the fact that the voter -- the voter also

7         has to verify every single vote on the paper ballot.

8              And so, to me, one of the major discomforts that I had

9         with this kind of solution is that there’s no proof,

10        there’s no sort of a study that suggests that the majority

11        of the voters would do that.

12             So that’s the major concern, is that -- the point is

13        that if the voter believes their printout does not really

14        accurately reflect the vote, what’s the point of auditing?

15         You could be auditing the wrong -- kind of wrong votes.

16             Because, you know, if the printout has been wrong, has

17        not been verified by voters, your audit doesn’t mean

18        anything.    So that’s my main concern.     I mean, so that’s

19        the major -- I mean, as -- as I said in my report, that’s

20        the major difference, is between paper hand-marked ballot

21        versus printout ballot.

22             Because, you know, a hand-marked ballot -- I mean, as

23        -- as -- as those of us who have taken a standardized test,

24        you -- you mark and you -- you verify and then you pass

25        basically, because you actually -- the -- the act of hand
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                                                                    Page 188
1         forcing yourself to hand-mark forces you to verify, Hey,

2         that's me, my vote.

3              So -- so that’s really the subtle difference, but it’s

4         very critical.    So my point is that, when you audit, you

5         want to audit based on data that’s already accurate.

6         Otherwise, you’ll -- your auditing result will not be

7         accurate.

8              SECRETARY CRITTENDEN:      Okay.   Thank you.

9              REPRESENTATIVE FLEMING:      Judge?

10             JUDGE MCCOY:     If we provide the voter with a paper

11        ballot of what they’ve done and they don't take the time to

12        look at that and verify, there's really nothing we can do.

13         That’s the voter’s responsibility.        If we provide them

14        with -- with a receipt or with paper as to what they've

15        done and, if they don't want to take the time to do that

16        and just drop it in the box, we -- we can’t help that.

17             AUDIENCE MEMBERS:     No, no, no.

18             REPRESENTATIVE FLEMING:      All right.    Hold -- hold on.

19         Stop.   Now, you’ve been pretty good so far, but I do -- I

20        want to stress to you this is not the last meeting that

21        we’ll have; there will be other chances for public input,

22        but I do not want to end up having to ask someone to leave

23        this room.

24             So I’m going to ask you -- once again, this discussion

25        that’s taking place now is among the members on the panel,
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                                                                    Page 189
1         and I'm going to ask you to be respectful toward their

2         discussion just like they listened to you when you had your

3         chance to talk and they didn’t interrupt you.         Okay?

4              Nobody made catcalls, nobody hollered no on this panel

5         when you were having the discussion that you had with us,

6         so I want you -- to ask to have the same respect up here.

7         Okay?   Thank you very much.     John?

8              MR. MONDS:    I want to make a comment on the lack of

9         confidence and -- versus distrust or -- the being a

10        difference.    For example, just as a layperson, you know,

11        I’ve never really had confidence in the system that we have

12        right now.

13             And -- but I do -- I do trust my election officials,

14        you know, locally, and I think they do a wonderful job.

15        But there's just something about not having that -- that --

16        that paper, you know, trail after I vote that just makes me

17        question, you know, whether my vote is recorded accurately.

18             And -- and I think, from a lot of what we've heard,

19        there's a lot of people, you know, with that sentiment that

20        -- they're not necessarily saying that there's something

21        wrong, that it’s not being done, but it's just not really

22        feeling confident in knowing.

23             So I think, from what I have definitely learned, we do

24        need a new system.     I -- I think we can concur on that, you

25        know.   And -- and, what it entails definitely some type of
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                                                                    Page 190
1         hand-marked paper ballot, and we spoke in a previous

2         meeting about being able to accommodate those who are

3         disabled and making sure, whatever the system is, has to --

4         to be able to accommodate everyone.

5              So, you know, what that entails, I guess we have to,

6         you know, get in -- in the details of that, but a new

7         system, hand-marked paper ballots -- and -- and then

8         the audit process.     It was very interesting, with the

9         discussion that was had earlier about, you know, how do you

10        go about and what level of audit do you include.

11             So, you know, there’s definitely more, I guess,

12        information that I would need, you know, to try to find out

13        -- we know that, you know, a large number of states are

14        doing this type of audit, and then there’s some new things

15        out there that states are trying and, you know, we just

16        have to -- you know, personally, I have to look at that a

17        little bit closer to say, Hey, you know, what -- what’s

18        going to be best for Georgia?

19             REPRESENTATIVE FLEMING:      The -- the other -- one of

20        the questions that I -- I mentioned to you probably goes

21        without saying that is needed, and that’s voter-education

22        training and whatnot.     I would envision that I certainly

23        would make the argument to my colleagues in the legislature

24        that there be a budget just like there was last time for

25        whatever system that we go to for training.
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       2:47
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                IN THE UNITED STATES DISTRICT COURT FOR
                   THE NORTHERN DISTRICT OF GEORGIA
                            ATLANTA DIVISION

                                               )
DONNA CURLING, et al.                          )
                                               )
Plaintiff,                                     )
                                               ) CIVIL ACTION FILE NO.:
vs.                                            ) 1:17-cv-2989-AT
                                               )
BRAD RAFFENSPERGER, et al.                     )
                                               )
Defendant.                                     )
                                               )
                                               )



                    DECLARATION OF AILEEN NAKAMURA

AILEEN NAKAMURA declares, under penalty of perjury, pursuant to 28 U.S.C.

§1746, that the following is true and correct:

      1. My name is Aileen Nakamura.

      2. I have personal knowledge of all facts stated in this declaration, and if called

         to testify, I could and would testify competently thereto.

      3. I am a registered voter residing in Sandy Springs in Fulton County. I am a

         member of Coalition for Good Governance and an active volunteer in

         supporting its voter education and election security efforts.

      4. I managed Coalition for Good Governance’s volunteer efforts for citizen

         oversight of elections during the November 5 and December 3, 2019

         elections, organizing authorized poll watchers and poll observers (members
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   of the public) to observe and document the conduct of those elections in

   various polling places in the pilot counties of Bartow, Carroll, Catoosa,

   Cobb, Lowndes, and Paulding counties. Approximately 30 observers visited

   over 50 polling places (some locations were visited multiple times) for

   observation for a total of approximately 185 total hours. These significant

   and diverse observations permitted the Coalition Plaintiffs to better

   understand the challenges of the upcoming system transition. Observations

   of a few other volunteers were also submitted to the Court as declarations.

5. During the November 5, 2019 pilot county elections and the related

   December 3, 2019 municipal runoffs, I spent approximately 18 hours

   observing at 7 polling places during early voting and on Election Day, and

   another 7 hours serving as a Poll Watcher for a mayoral candidate during the

   municipal runoffs at 2 polling places, all of which were pilot county polling

   places for either the Dominion BMD System or the hand-marked paper

   ballot system. The dates and times that I observed were:

   1) 10/14/19: Hiram Events Place, Paulding County, 8:10am – 11:30am.
   2) 10/24/19: Cobb County Elections Office, Cobb County, 8:30 – 11:30am.
   3) 10/28/19: Emerson City Hall, Bartow County, 7:55am – 10:30am.
   4) 10/28/19: Cartersville Civic Center, Bartow County, 11:20am – 2:40pm.
   5) 11/5/19: White Oak Park, Dallas, Paulding County, 10:30am – 12:30am
   6) 11/5/19: Church at the Ridge, Hiram, Paulding County, 1pm – 2:40pm
   7) 11/5/19: George Ford Center, Powder Springs, Cobb, 3pm – 3:30pm
   8) 11/5/19: Ron Anderson Center, Powder Springs, Cobb, 3:45pm – 4pm
   9) 11/5/19: Smyrna Community Center, Cobb County, 4:30pm – 5:30pm
   10) 12/3/19: Smyrna Community Center, Cobb County, 8:30am – 1pm
   11) 12/3/19: Cobb County Fire Station #3, Cobb County, 2:40pm – 5:40pm
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6. As a result of my observations, I am greatly concerned about several issues

   having to do with the new Dominion Voting System. They include:

   Violation of Right to Ballot Secrecy

7. The oversized BMD screen (approx. 22 inches high x 14 inches wide, or

   about a 25 inch screen) sits upright as a voter touches the screen to select

   their choices. The type font is also oversized so voters can easily read the

   words, and candidate’s name or “Yes” or “No” answers (for referendums)

   are on their own separate line for the voter to tap and choose.

8. When a voter taps a line, the entire width of the line lights up, making it very

   easy for someone standing at an angle behind the voter, even if they are 20-

   30 feet away, to observe which line the voter selected.

9. I saw this happen multiple times at many precincts, and it was clear to me

   that poll workers, who often had to “hover” behind voters because the new

   voting system is not intuitive and many needed assistance with the machines

   or printers, could see voters’ choices, and even other voters waiting in line or

   observers like myself could view voters’ screens quite easily.

10. While in Dallas in Paulding County, I observed one elderly woman enter

   the polling place walking very slowly with a cane. She was offered a chair

   so she could sit while voting, but the fact that she was seated made her

   selections on the BMD visible to almost everyone in the polling place. This
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   made me extremely uncomfortable and concerned about other voters with

   disabilities or mobility issues.

11. While observing in Cartersville in Bartow County, one voter, who had

   already voted and was sitting next to me while watching and waiting on her

   husband, quietly exclaimed to no one in particular, “Why is the screen so big

   and upright? On the old machines you couldn’t see others’ choices!”

12. After seeing these BMDs in multiple locations, I am concerned that there

   was no configuration of polling place or equipment I observed to provide a

   private way for voters to vote on the machines while also allowing for poll

   workers and the public to observe voting. It is also my understanding that

   any changes in BMD screen cradles or frames or privacy screen protectors

   would require EAC certification as components of the voting system, so will

   not provide a near-term solution.

13. Since I live in an area where there is much partisan animosity, (in 2008, my

   mailbox was bashed in when I put up a candidate sign in my yard,) and

   because I am familiar with the way voting machines would be set up in my

   precinct, this lack of privacy would keep me from voting in person if my

   only choice is to vote on a BMD.

14. I attended the November 14th meeting of the Fulton Board of Registrations

   and Elections, and took a ‘mock-up’ which I made of the actual size of the
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   BMD screen to show and tell the Board members what I had observed, and

   that no solutions had been proposed yet. One Board member approached me

   after the meeting and told me, “Your mock-up freaked me out – I could read

   EVERYTHING.” (She was about 30 ft. away from where I spoke and

   demonstrated.)

   KnowInk PollPad and WiFi Problems

15. On the first day of early voting, at The Events Place in Hiram, Paulding

   County, I was immediately concerned when I heard a building maintenance

   person ask the poll workers if the WiFi was working well, and if they were

   on the “Secure Network.” “Yes,” said the poll workers, “We have the

   password.”

16. Since the Secretary of State’s office is famous for telling all of the poll

   workers and the public that our voting system is not connected to the

   internet, I asked if the pollbooks used WiFi. The answer was, “Yes, but it’s

   secure WiFi.” Since I have a degree in computer science, I am aware that

   there is no such thing as a totally secure network and that this poses a

   significant security threat. A ‘password’ does not make a network “secure.”

17. When the first two voters arrived at the Hiram location, it almost caused

   chaos when one of the two laptops they were using in addition to the

   PollPads, could not print out the ‘certificates’ for voters. After some phone
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   calls and moving from one laptop to another and back, it was discovered that

   the “printer needs to be on the ElectionNet system in order for it to print

   out.”

18. On Election Day, I drove out to Paulding County again when I heard that

   one polling place was having problems with their PollPads. By the time I

   arrived at the White Oak Park location around 10:30, I was told the issue had

   been resolved when someone brought them a WiFi router. Celeste, the poll

   manager, told me that they “had not been made aware that they needed WiFi

   in order for the PollPads to work.”

19. I told Celeste that I was under the impression that the PollPads only needed

   Bluetooth, and her explanation was that WiFi was needed in order for

   Bluetooth to work. Although I didn’t think WiFi was needed for Bluetooth, I

   did not want to question her so I asked her how voters had been handled

   while the PollPads were inoperable. She said that they could have used

   provisional ballots, but the voters hadn’t wanted to stick around to fill them

   out and then have to cure them at the elections office, so all of them said

   they would “come back later.” There was apparently no paper pollbook back

   up or appropriate voter registration record to work around this malfunction.

20. One problem I could not stop thinking about is, if WiFi is really necessary

   for the check-in procedures to work, how will this be handled in some of the
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   rural communities, where there is no guarantee of WiFi availability?

   Especially when many poll managers seem to not have been trained on these

   requirements?

21. Later on Election Day, while observing at the Church at the Ridge in Hiram,

   Paulding County, the poll manager received a text from “the office,” that

   there were “state-level problems for the check-in system and they want

   every polling place to do manual check-ins.” There was much discussion

   between the poll manager and poll workers about what a “pain” it would be

   to have voters fill out the manual paper certificates first, and they didn’t see

   why they had to since they were not experiencing any problems with the

   PollPads at this location. The poll manager then sent a text back to “the

   office” to see if the paper check-ins were necessary since there were no

   issues with their PollPads. About 10 minutes later, since she received no

   response, this polling place did not start using the paper certificates.

22. I did not know what the “state-level problems for the check-in system”

   were, but felt very uncomfortable that directions had been sent out via text,

   and that when a polling place asked for clarification, none was given. I had

   been hearing from other observers that there were some PollPad issues at

   various locations, and this exchange (or lack of) showed me how hard it is

   for the Secretary of State’s office and Elections Directors to anticipate and
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   prepare for all types of problems, and how easily instructions can be

   miscommunicated, misinterpreted, missed entirely, or even ignored – which

   poses a huge problem especially on Election Day when there are so many

   precincts open for just 12 hours.

23. Also on Election Day, my last stop was the Smyrna Community Center in

   Cobb County, where hand-marked paper ballots were being utilized with

   KnowInk PollPad check-in and Dominion scanners. There, I quickly noticed

   that 4 PollPads were not enough. By 4:30pm, the line grew from about 20

   people in line to about 50 people outside the gym which was the polling

   place, and while the actual time it took for people to mark their paper ballot

   and scan it only took about 30 seconds, the check-in process took 1.5 to 3

   minutes on average, and was a huge bottleneck.

24. Later, I was shocked to find out that the number of PollPads ordered for the

   entire state only allows for an average of 1 to 2 PollPads per precinct on

   Election Day. However, at all of the precincts I have observed at, there were

   anywhere from 2 to 5 PollPads, perhaps creating an illusion that there will

   be more than enough check-in equipment available in 2020.

25. Based on my personal observations and discussions with poll workers, I am

   very concerned about the State’s ability to process voters with the new

   pollbook system at a reasonable pace during the high turnout 2020 elections.
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   I believe that a contingency plan should be put in place quickly to anticipate

   major start-up problems in March.

   Ballot Scanner Problems

26. On the first day of expanded early voting (first day the Civic Center polling

   place was open) in Cartersville, Bartow County, I witnessed a ballot scanner

   stop working after scanning just 7 printed ballot summaries. The poll

   workers went straight to work assuming it was a paper jam, and opened the

   top of the scanner as some were trained to do. However, when the voter’s

   printed summary was removed from the scanner, they could see that the

   paper was still in great condition (and therefore they could all read what was

   printed, violating secrecy of the ballot,) and it had not ‘jammed.’

27. It was clear the poll workers did not know what to do at this point, and after

   a few phone calls to the Elections Supervisor, they asked the two voters who

   were waiting on the scanner (and one voter’s wife who had already finished

   the process) if they could wait for a while. Joe Kirk, the Elections

   Supervisor, came and they removed the top of the scanner again. This time,

   Mr. Kirk asked one of the poll workers to cancel the ‘ballot’ that was in the

   scanner and have the voter re-do his vote and print another summary. When

   a poll worker took the voter’s printout to the check-in table, his wife, who

   was sitting next to me, exclaimed, “So much for ballot secrecy!”
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28. After much commotion and almost 40 minutes of waiting, the two voters

   were asked to place their paper summaries into the “Emergency Slot” of the

   scanner. I could not help but wonder what would have happened if this

   polling place had had the amount of turnout they experienced in 2018 – one

   of the poll workers had told me earlier that during the gubernatorial election,

   the line was “crazy” – it went out the door and was snaked around the

   hallways and doubled around inside the large auditorium.

29. When Mr. Kirk left saying he would return “with instructions,” one of the

   poll workers, Sylvia, who is usually a poll manager at another precinct, said

   that she would have to have two scanners at her precinct in case something

   like this happened in March 2020. She said to her co-workers, “Voters don’t

   feel confident if their vote is just put in the emergency slot and not counted.”

30. Mr. Kirk later returned with 3 technicians, all presumably from Dominion.

   The scanner was finally fixed and a voter was able to have their printout

   scanned. It had taken 1 hr. 50 min. for the problem to be fixed, but only

   because the technicians knew what to do and they happened to be in the

   vicinity. My immediate thought was that very few precincts are going to

   have the technical know-how or the availability of Dominion technicians so

   close by in 2020 – how will debugging issues like this be solved then?
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31. During the Dec. 5th mayoral run-off in Smyrna, I also observed a scanner

   which was “finicky.” I had heard from many other observers that on Election

   Day, the scanners at their precincts would reject printouts if they were not

   placed into the scanner a certain way, for instance, “face up, bottom first.”

32. The scanner at the Cobb County Fire Station #3 seemed to have this type of

   problem, where voters’ printouts would be spit out and they would have to

   re-insert their printouts until the scanner accepted the ballot. While this

   seems like a minor problem, I did notice that every time this happened it

   would create a bottleneck at the scanner, even though the actual voting time

   using hand-marked paper ballots was remarkably faster than when using

   BMDs.

   Voters Not Verifying their Printouts

33. During all of my time spent at BMD polling places, perhaps my most

   shocking observation was that the vast majority of voters did not even look

   at their ballot printout once it was produced. At the White Oak Park location,

   of the voters I carefully observed, only 3 out of 31 voters even glanced at

   their printouts – only 1 appeared to carefully read what was on it.

34. All of the other voters seemed to assume that the printer would print out

   whatever they had chosen – I saw parents give their printouts directly from

   the printer to their children to carry; elderly people just hold their printout
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   while looking to see what station they needed to go next; people who were

   more interested in making sure they retrieved their SmartCard from the

   BMD and so did not think to look at the printout; and others who seemed

   frustrated with the BMD experience and wanted to figure out how to be

   done, never once looking at the printout but heading to the exit.

35. Another issue with the printout is that even for people who DID look at

   them, the type size on the paper is so small that many would have not been

   able to read it without reading glasses, or missed it entirely.

36. At the Cartersville Civic Center location, there was a table with a

   magnifying glass on it, and one poll worker explained that they provided the

   table because, “The print is too tiny.” However, perhaps because of the

   issues they had with the scanner, none of the poll workers reminded people

   to look at their printout or to use the magnifying glass if they needed it.

37. Even at locations where the poll worker standing by the scanner

   remembered to ask, “Did you check your ballot?,” I observed people just

   glancing at their printout (and not clearly reading it,) or otherwise nodding

   as in “Yes,” even if they had not looked at their ballot.

38. These municipal elections had very simple short ballots generally with less

   than two races. Given that voters did not routinely verify a simple ballot

   printout, it seems very unlikely that voters will attempt to memorize and
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   verify the accuracy of a long general election ballot printout that may have

   dozens of candidates and races. Without virtually all voters accurately

   confirming the machine marked printed ballot summaries, the ballot cards

   are unreliable source documents for tallying or auditing.

39. I am a politically active person and generally have personally met almost all

   the candidates I intend to vote for offices of state, county or municipal

   government. I study the ballots and the candidates and have a higher level of

   interest and awareness of the ballot choices and a higher level of formal

   education than most voters. Yet I would be intimidated to attempt to try to

   rely on my memory in the stress of a crowded polling place, probably with

   many people waiting in line, to verify that my ballot summary text with

   numerous races was accurately printed by the machine.

40. I feel strongly that it should not be my burden or duty as a voter to

   determine whether the machine is operating properly as part of the act of

   voting. If voter verification of the machine’s accuracy of the ballot summary

   printout is a necessary element of assuring a valid election in Georgia, I do

   not believe that I nor most voters can live up to that expectation.

   Inadequate Poll Worker Training

41. From my poll observations and conversations with poll workers, I feel that

   training was insufficient overall. On the first day of early voting, in Hiram,
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   Paulding County, one poll worker told me that they had “only received the

   equipment about a week ago so we’ve been scrambling,” and I watched as

   the poll manager, along with a poll worker, was trained on how to use the

   PollPad by another poll worker.

42. The same thing happened in Bartow County at the Cartersville Civic Center

   on the first day of expanded early voting – one of the poll workers told me,

   “This is my first time working on PollPads and I’m still being trained on it.”

43. Another poll manager whom I spoke to on Election Day at the George Ford

   Center in Powder Springs in Cobb County, (where they used hand-marked

   paper ballots so the majority of the training they received was solely on the

   PollPads and Ballot Scanners,) said the 8 hours of training they received was

   “definitely not enough,” when there were 60 people being trained and only 1

   or 2 machines for all of them. “In fact,” he said, he had chosen to “take

   another hour of one-on-one training” so he could get some hands-on time

   with the equipment, and he still felt that wasn’t enough.

   Scaling and Implementing in Every Precinct in March 2020

44. Based on my observations of the very small municipal elections in Paulding

   and Bartow counties that I witnessed, I am truly concerned about the ability

   of the entire state of Georgia being able to implement the Dominion Voting

   System in its entirety by March 2020.
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      45. Despite the Secretary of States’ assurances that the pilot program went

           “very well,” during the third week of early voting, Joe Kirk, Election

           Supervisor of Bartow County told me that he had “hoped that there would be

           more voters, but there really hasn’t been enough to really see them

           interacting with the new machines to tell how it was going.”

      46. Indeed, all of the municipal races in the BMD pilot counties were so small

           or uncontested, that the actual number of people who voted using the BMDs,

           in the six pilot counties, from my calculations, is less than 1% of the number

           of people (2.5 million) estimated to vote in March 2020, and less than 0.5%

           of the number of people (based on the Secretary of State’s office estimate of

           5.3 million1) estimated to vote in the 2020 General Election.

      47. In other words, I believe the “pilot program” did not use a large enough

           sample to be truly called a “pilot” – to try to scale how elections will go

           based on a test sample of less than 1% of the estimated turnout, especially

           when there were so many failures and problems, seems irresponsible at best.

      48. In addition, I believe many of the problems that were encountered in the

           pilot counties were due to voters and poll workers using brand new

           equipment which had not been adequately tested for the PollPads, BMDs,

           and Ballot Scanners.

1
    https://www.nytimes.com/aponline/2019/12/11/us/ap-us-georgia-election-2020.html
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    49. The PollPad and Scanner problems I observed could likely have been

        prevented had there been a more extensive and thorough testing and

        debugging program for each piece of equipment. The Secretary of State’s

        website touts that “Raffensperger’s office has already taken delivery, tested

        and accepted more than 10,000 of the new touchscreens and half of the new

        scanners ordered2,” but there is no information as to what type of testing

        occurs, and the testing is not open to the public.

    50. With about 80,000 new pieces of equipment (PollPads, BMDs, Printers,

        Scanners, and Back-up Batteries,) I have serious concerns that if the testing

        is anything similar to what was done before the pilot programs, there will be

        a completely unacceptable number of equipment failures in 2020 if one

        extrapolates on the number of failures observed in the pilot precincts to the

        number of precincts that will be used in 2020.

    51. Given that there are potentially 80,000 pieces of equipment that can fail,

        and given that only a miniscule number of them have now actually been

        used in an election, my biggest concern is that there will be so many failures

        that poll workers are not trained to fix during the 2020 elections that

        technicians will not be able to keep up. The problem is exacerbated by



2
 https://sos.ga.gov/index.php/elections/new_voting_system_performs_well_in_pilot_counties_deliveries_on_schedu
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   having no serious contingency default plans for any of the vulnerable

   functions.

52. In addition to my personal observations, I have kept abreast of the news

   stories about the purchase and implementation process such as the “Election

   Day Round Up News Articles” (Exhibit 1) which focused on early reports of

   the Election Day problems with pollbooks. Other such news reports I helped

   gather explaining the various start-up problems encountered have been

   previously filed ( Doc. 675-2). The information in the news reports is

   consistent with my experiences as a poll observer. The sheer number of

   problems encountered in such a small and overstaffed pilot election project

   does not bode well for a secure or smooth March primary, in my opinion.

   This information makes me nervous about what voting method my family

   should choose next year to have the best chance of our votes being

   accurately counted.

53. There is considerable public information on the equipment delivery slippage

   which is contained in Exhibit 2 prepared by another organization. I have

   been reviewing these news reports during this decision and attempted

   transition and personally believe that the goals for March implementation

   are too aggressive to avoid major disenfranchisement. This information is

   consistent with discussions I had with pollworkers in my polling place
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   observations, and is another basis for my concern about whether my votes

   will be received and counted in a valid manner.

54. In summary, the best reason I have heard on why Georgia should not use

   the new Dominion Voting System for the huge 2020 elections is this: “It’s

   like Walmart installing a brand-new register system on Black Friday in all

   stores simultaneously.”




   Executed on this date, December 16th, 2019.




                                                      Aileen Nakamura
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DOMINION ELECTION DAY NOV. 2019 ROUNDUP
   1.   MAJOR HEADLINES
   2.   QUOTES
   3.   GEORGIA BULLETS
   4.   PENNSYLVANIA BULLETS
   5.   OHIO BULLETS


MAJOR HEADLINES

Georgia SOS
Georgia Secretary of State Press Office: “New Voting System Performs Well in Pilot Counties,
Deliveries on Schedule”



Georgia
AJC: “Problem with New Election Equipment Delays Voting in Georgia Counties”

Valdosta Daily Times: “Be Open Regarding Voting Machine Snafus”

Georgia Recorder: “Georgia’s New Voting Machines Buggy in Tuesday’s Election Debut”

Cherokee Tribune: “Paulding Overcomes Machine Glitches in Elections of Hiram and Dallas Mayors
and Council Members”

WRBL Columbus: “Georgia’s New Voting Machines Experience Some Bumps During Test Runs”

West Georgia Neighbor: “Glitches Do Not Slow Bartow Voters from Approving Earlier Alcohol Sales
and Keeping Familiar Names in Office”


AP: Georgia Tests New Voting System Before Ambitious 2020 Switch

GBP: Georgia Completes Pilot of New Paper Ballot-Based Voting Machines




Georgia HMPB
Cherokee Tribune: “Paper-Ballot Pilot, New Machines a Success in Cobb”

11Alive: “It Enhances The Voter’s Trust’: In Election Day Experiment, Four Cobb County Cities Are
Using Paper Ballots”
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Pennsylvania
Standard Speaker: “Glitch in New Voting System in Carbon County Impacts Results”

York Daily Record: “York County Struggles With New Voting Machines, Results Remain Incomplete”


York Daily Record: "Tuesday's Voting Woes Expose Danger That Pennsylvania is Not Ready
for 2020 Election

Ohio
Dayton Daily News: “New Voting Equipment Leads to Problems in Greene County”

Dayton Daily News: “Election Results Slow, Then Change in Greene County”

Daily Record: “Wayne Co. Polling Stations Face ‘Growing Pains’ with New Machines”




Indiana
South Bend Tribune: New Voting Machines Cause Some Snags, Delays in St. Joseph County Elections




National
Bloomberg: “Expensive, Glitchy Voting Machines Expose 2020 Hacking Risks”


Salon: How the 2019 Election Could Be a Preview of Voting Issues We Might Face in 2020




QUOTES

Georgia Secretary of State

“Georgia’s new, secure paper-ballot system..has performed well” --GA Secretary of State Brad
Raffensperger (Georgia Secretary of State, 11/08/2019)
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“The implementation of the new voting system is going like clockwork. The system is running
as designed” --GA Secretary of State Brad Raffensperger (Georgia Secretary of State, 11/08/2019)

"The rollout to the rest of the state for the March 24 presidential preference primary will go just
as smoothly.” --GA Secretary of State Brad Raffensperger (AJC, 11/04/2019)

“What we want is for everyone to have 100% confidence that we got it right," he said. "We
believe it's a great system, and we've been getting great comments everywhere we go."--GA
Secretary of State Brad Raffensperger (The Citizens, 11/07/2019)


Georgia County Election Officials

“Some of the machines just literally went black and rebooted during the day...“It was different
precincts, different machines, different hours.” --Greg Rigby, Carroll County Board of Elections and
Voter Registration Supervisor. (Georgia Recorder, 11/07/2019)

"My hair was red before today. Now it's gray."--Carol Heard, Decatur County Chief Elections Officer
(AJC, 11/05/2019)

“It was a statewide issue and they are working to make sure this does not happen in the future”-
- Deidre Holden, Paulding County Elections Supervisor on KnowInk Poll Pad problems (Cherokee
Tribune, 11/07/2019)

 ...Deb Cox said some electronic poll books malfunctioned in all 10 of the county's precincts
when they opened for local elections Tuesday morning. She said backup paper registration lists
were used and voters experienced minimal delays.Cox said a judge ordered Lowndes County polls to
say open an extra 45 minutes.”--Deb Cox, Lowndes County Elections Supervisor (WRBL Columbus
GA, 11/06/2019)

Kirk said the Dominion Voting System's Poll Pad used to access voters' information at check-in
and create voter access cards malfunctioned at a few precincts Tuesday, Nov. 5. However,
backup Poll Pads were used and kept voting running smoothly, Kirk said.”--Joseph Kirk, Bartow County
Elections Director (Cherokee Tribune, 11/06/2019)



Non-Georgia Election Officials

"I'm so confused," -- Doug Hoke, York County (PA) Vice President Commissioner Doug Hoke after he
asked whether the full results had come in (York Dispatch, 11/06/2019)

"We don't know if we can trust (the system) next year”-- Jerry Dotter, Carbon County (PA) Election
Board Member on Dominion System (Standard Speaker, 11/09/2019)
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"I need to know where those votes are. That shakes me," he said. "Where are the extra votes in
this race? We need a complete hand-count audit."-- William O’Gurek, Carbon County (PA)
Commissioner (Standard Speaker, 11/09/2019)

“A glitch was also found on the [Dominion] ICX voting machines with the audio visual device
installed. The issue was unexpected even for the machines’ vendor” Julie Leathers, Wayne
County (OH) Election Board Director (Daily Record, 11/08/2019)

"We were supposed to have two machines that would allow us to tabulate last night. While two
tested and worked perfectly prior to election day, election night unfortunately one of them just
didn't work and it was too late to get any more equipment” --Llyn McCoy, Greene County (OH)
Elections Board Director on Dominion system (Dayton Daily News, 11/07/2019)

“We talked with the vendor and there was some sort of glitch in the software”--Catherine Fanello,
St Joseph County (IN) Election Board Chair on KnowInk IPads (South Bend Tribune, 11/07/2019)




GEORGIA

All Six Pilot Counties Experienced Issues With New Voting Machines In Municipal Elections:
“Election officials in Bartow, Carroll, Catoosa, Decatur, Lowndes and Paulding counties reported
technical issues with new equipment, either with electronic entry points or with the new ballot-marking
machines themselves.” (Georgia Recorder, 11/07/2019)

5 of 6 Pilot Counties Experienced Problems w/ Check-In Poll Pads: “Voters in five counties
experienced problems with new check-in devices, called “poll pads,” caused by a programming error
that prevented them from using electronic ballot-marking machines.” (Georgia Recorder, 11/07/2019)

3 of 6 Pilot Counties Were Forced to Pull Ballot Marking Devices Offline After They Shut Down
Unexpectedly: “In three counties, some ballot-marking machines were pulled offline when they shut
down and rebooted themselves.” (Georgia Recorder, 11/07/2019)

New Voting Machine Problems Caused Some Voters to Leave Precinct Without Voting and Led
to 45 minute Delays: “Only a handful of people left precincts without voting or returning later to vote as
precincts were kept open an extra hour, officials said.” “Voters in five counties were delayed by up to 45
minutes from checking in to precincts and creating access cards by buggy poll pads, which must
function to cast votes on the new ballot-marking machines.” (Georgia Recorder, 11/07/2019)

Some KnowInk Poll Pads Failed to Connect to Bluetooth, Causing Delays: “Voters in five counties
were delayed by up to 45 minutes from checking in to precincts and creating access cards by buggy
poll pads, which must function to cast votes on the new ballot-marking machines.” Election supervisors
in those counties said some poll pads failed to connect via Bluetooth.” (Georgia Recorder, 11/07/2019)
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Incorrect Ballot Coding & Software Programming Led to Voter Confusion: “Some voters got
confused when the machine asked them to select a party affiliation in the nonpartisan local elections.
And some problems are chalked up to programming errors.” (Georgia Recorder, 11/07/2019)

Officials in Bartow, Catoosa, and Carroll Counties Said Machines “Literally Went Black” at
“Different Precincts, Different Machines, and Different Hours” Throughout Election Day:
“Meanwhile, some precincts in Bartow, Catoosa and Carroll counties saw ballot-marking machines
suddenly shut down and reboot during voting hours, officials in those counties said. “Some of the
machines just literally went black and rebooted during the day,” said Greg Rigby, supervisor for the
Carroll County Board of Elections and Voter Registration. “It was different precincts, different machines,
different hours.” (Georgia Recorder, 11/07/2019)

Machines in Carroll County Failed to Read Voter Access Cards Preventing Voters From Making
Selections: “...Greg Rigby, supervisor for the Carroll County Board of Elections and Voter Registration.
“It was different precincts, different machines, different hours.“A few machines also stopped reading the
access cards, which kept voters from making selections on the machine’s screen that displays the
ballot, Rigby said.” (Georgia Recorder, 11/07/2019)

Dominion & KnowInk Have Not Responded to Requests For Comment & SOS Has Yet To Re-
examine Voting Machines After Constituent Petition: “Dominion and KnowInk did not respond to
emails and phone calls Wednesday asking for an explanation for the equipment malfunction.” “In
August, Raffensperger agreed to reexamine the ballot machines after about 1,500 people petitioned
him to do that. That review has not happened yet.” (Georgia Recorder, 11/07/2019)

Salon Called the Issues In Georgia Nov Elections “Eyebrow Raising Incidents” “There were also
some eyebrow-raising incidents on Election Day as new voting systems were deployed — including as
test runs for wider use in 2020’s presidential primaries...Two incidents — one in Georgia and another in
Pennsylvania — stand out on the new voting equipment front. Both are examples where
underperformance, owing to outsourcing technical tasks to private contractors, impeded the voting
process and undermined public confidence, according to local news reports..” (Salon, 11/07/2019)

“In Georgia, six counties were testing a new voting system to be deployed statewide in 2020’s March
primaries...In other words, these counties are using a one-computer system and software to check in
voters, who, in turn, will then move to another computer system that will bring up their correct local
ballot. These systems, which local officials said were synced during their early voting period, somehow
didn’t coordinate on Tuesday. Poll hours were extended to accommodate voters who were forced to
wait.” (Salon, 11/07/2019)

“In Georgia, those issues were at the front door, where voters could not get a correct local ballot. And in
Pennsylvania, the programming of new touch screen–based systems apparently undercounted votes to
such a degree that local officials said that hand recounts would be necessary. All of these red flags are
warnings for what could blow up in 2020, should the presidential election come down to a handful of
narrow victory margins in swing counties…” (Salon, 11/07/2019)

“Rigby [Greg Rigby Carroll County BOE supervisor] said he had to swap out "three or four" of the new
voting machines that malfunctioned in Carroll County. He said one that wouldn't accept cards to load
voters' ballots, and another shut down and rebooted as a voter was using it.” (AP, 11/05/2019)
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“Raffensperger told The Associated Press he was getting positive feedback from voters. He said any
problems were "small issues, and that's really why you do pilots — to work out any kinks or bugs that
you might have to get ready for the big day of the presidential primary." (AP, 11/05/2019)


“The question met with chuckles and suggestions that the day’s last voters could take the machines
home with them as souvenirs. Then one offered an even more popular idea: They’d take the displays
outside and demolish them with baseball bats in the style of the 1999 film “Office Space.” Seventeen
years worth of familiarity has bred plenty of contempt for Georgia’s voting system.” (Savannah Morning
News, 11/07/2019)

“More than one in 10 votes cast in early voting for this month’s municipal elections were cast on
Georgia’s new, secure paper-ballot system which has performed well, according to Secretary of State
Brad Raffensperger who noted that deliveries are on schedule for statewide rollout in the March 24
Presidential Preference Primary.” (Georgia Secretary of State, 11/08/2019)

“The implementation of the new voting system is going like clockwork. The system is running as
designed,” Raffensperger said. “We are learning some things from our experience during the pilot. The
biggest lesson we’ve learned is how much people like the security and ease of using the new system.”
(Georgia Secretary of State, 11/08/2019)

"Voters and poll workers are enthusiastic about how easy it is to use and how well it
works,"Raffensperger said. "The rollout to the rest of the state for the March 24 presidential preference
primary will go just as smoothly.” (AJC, 11/04/2019)


Raffensperger told commissioners that demonstrations of the new voting system, which produces a
paper ballot, have drawn positive feedback throughout the state. He offered to speak to local groups in
the run up to the 2020 elections so that voters are prepared for the new system."What we want is for
everyone to have 100% confidence that we got it right," he said. "We believe it's a great system, and
we've been getting great comments everywhere we go." (The Citizens, 11/07/2019)

“Lowndes County election supervisor Deb Cox said some electronic poll books malfunctioned in all 10
of the county's precincts when they opened for local elections Tuesday morning. She said backup
paper registration lists were used and voters experienced minimal delays.Cox said a judge ordered
Lowndes County polls to say open an extra 45 minutes.” (WRBL Columbus GA, 11/06/2019)


“A glitch with Georgia's new voter check-in computers caused delays in most of the six counties testing
it, causing some precincts to stay open late to accommodate voters who left without casting their
ballots.” (AJC, 11/05/2019)

“Poll workers weren't able to create voter access cards on new voting check-in computers
manufactured by KnowInk. Those cards activate touchscreen voting machines so that they display the
ballot associated with the jurisdictions where voters are registered...The same issue also occurred in
Bartow, Carroll, Paulding and Lowndes counties. Catoosa County had no problems.” (AJC, 11/05/2019)
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“In Decatur County, near the Florida border, some voters waited 45 minutes for the problem to be fixed.
Decatur election officials decided to keep precincts open an hour later, until 8 p.m. "Let's get these
kinks resolved now before March 24," said Carol Heard, the chief elections officer for Decatur County.
"My hair was red before today. Now it's gray." (AJC, 11/05/2019)

“However, the system's electronic Poll Pad — used to verify voters' identities and other information —
malfunctioned in Paulding and most other counties Nov. 5 when it pulled up the data but failed to
encode the cards needed to access the voting machines.” (Cherokee Tribune, 11/07/2019)

“Elections Supervisor Deidre Holden said her staff used the Dominion system's ballot activation option
to allow voters to cast ballots "and also paper ballots when we realized there was an issue." (Cherokee
Tribune, 11/07/2019)

“The paper ballots are used for verifying and auditing results, according to the Georgia Secretary of
State's office. Holden said she and her workers "had very few issues with the Dominion System" other
than the Poll Pad problems.“It was a statewide issue and they are working to make sure this does not
happen in the future,” Holden said. ” (Cherokee Tribune, 11/07/2019)

“It went pretty smooth,” said Janine Eveler, director of the Cobb County Board of Elections and
Registration. “We had a couple of scanners that had some slowness, or they didn’t receive the ballots
in a certain direction, and so once we figured out that if we just flipped the ballot over, they were
working. So it’s just getting used to the equipment.” (Cherokee Tribune, 11/07/2019)

“Some counties using the new machines, including Decatur and Lowndes at the Georgia-Florida
border, reported issues with sign-in during Tuesday’s elections. The issue, Eveler said, was that poll
workers were being prompted during the sign-in process to choose a Republican or Democrat ballot to
encode on cards that would display a ballot on the screen for a voter. This November’s municipal
elections were nonpartisan. “So the poll workers couldn’t proceed to encode the card because they
couldn’t get past that,” Eveler said.” (Cherokee Tribune, 11/07/2019)

“The same issue appeared in Cobb as well, but technicians were already in the field and stopped by
each polling location to remedy the situation, she said. Since very few voters were using the new voting
machines in Cobb, the error didn’t slow voting.” (Cherokee Tribune, 11/07/2019)

“(There was) only one incident that I heard of directly, where a disabled voter wanted to use a ballot-
marking device (and) was not able to,” Eveler said, adding that the voter’s husband was able to help
her cast a ballot. “But we prefer that the voter have the independence to vote however they want.”

“Cobb elections officials are expected to meet with the state, voting machine vendors and officials from
the other six counties that piloted the new machines in coming weeks to analyze the successes and
shortfalls of the new voting system, and there will be lots to hammer out, Eveler said.” (Cherokee
Tribune, 11/07/2019)

“A few glitches did not stop Bartow's elections office from conducting elections for four cities without
delays using the state's new voting machines. Elections Director Joseph Kirk said the Dominion Voting
System's Poll Pad used to access voters' information at check-in and create voter access cards
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malfunctioned at a few precincts Tuesday, Nov. 5. However, backup Poll Pads were used and kept
voting running smoothly, Kirk said.” (Cherokee Tribune, 11/06/2019)

“The Secretary of State’s office needs to be completely open and transparent about everything that
went wrong with the state’s new paper ballot machines during the Tuesday trial run. The state must
also be just as open and transparent about what is being done to fix the snafus.” (Valdosta Daily Times,
Editorial, 11/09/2019)

“In at least one county — Lowndes — the elections office had to rely on the bar-coded paper ballots
because of something that did not work correctly. Was this all human error? Then tell the public. Was
this a problem with the software? Then tell the public. Was it a hardware problem? Then tell the public.”
(Valdosta Daily Times, Editorial, 11/09/2019)

“The people of Georgia paid more than $100 million for this new voting system and the people of
Georgia have every right to know everything that went wrong and what is being done about it.In
addition to the issues in Lowndes, there were other problems at polling places in Carroll, Paulding and
Bartow counties.“ (Valdosta Daily Times, Editorial, 11/09/2019)

“Apparently it was necessary to call in KnowInk technicians because of software programming issues
with the Poll Pads used to check voters in at the precincts. This Dominion Voting System is supposed
to be the latest, greatest and was ostensibly researched and fully vetted before this live launch on
Election Day.” (Valdosta Daily Times, Editorial, 11/09/2019)

“The $107 million Dominion Voting System did not function properly despite the fact that
representatives from the Secretary of State’s office said in media interviews the launch was smooth and
successful.” (Valdosta Daily Times, Editorial, 11/09/2019)

“Secretary of State Brad Raffensperger should not try to pass off the problems that occurred Tuesday
evening as being minor and insignificant. Government should never try to “spin” the facts or re-frame
the public conversation to make things look better for political reasons. What happened, happened. And
it must be fixed.” (Valdosta Daily Times, Editorial, 11/09/2019)

Cybersecurity experts are baffled by local election officials choosing the computerized voting machines.
“It’s a mystery to me,” said Rich DeMillo, a Georgia Tech computer science professor and former
Hewlett-Packard chief technology officer. “Does someone have 8 x 10 glossies? No one has been able
to figure out the behavior of elections officials. It’s like they all drink the same Kool-Aid.” (Bloomberg,
11/08/2019)

“DALLAS, Ga. (AP) — Voters and election supervisors testing Georgia’s new voting machines gave
favorable reviews Tuesday, despite some opening glitches reported by five of six pilot counties, as the
state rushes to meet a court-ordered deadline to retire its outdated, paperless system before any votes
are cast in 2020.” (AP, 11/05/2019)

“Cobb County volunteered to be a guinea pig for paper."I think it enhances the voter’s trust," Cobb
County Director of Elections Janine Eveler told 11Alive's Christie Ethridge. "It does for me as an
election official - being able to, if necessary, hand count what those paper ballots said or if we need a
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recount or an audit. Whereas the previous system, it was recorded on a memory device and there was
nothing else we could do to prove the results were accurate." (11Alive, 11/05/2019)

"So as an election official I’m grateful we’ll have that paper record," Eveler added.The four cities testing
out paper ballots are Austell, Kennesaw, Powder Springs and Smyrna.The paper ballot experiment is
actually two-fold: Most voters will do it the way you're thinking, by grabbing a pen and bubbling in their
ballot like how you took a test in school.” (11Alive, 11/05/2019)

“Cobb County elections director Janine Eveler said things were smooth there, too, but there were some
logistical things to consider when running a purely paper ballot election, like how to get ballots to the
polling places. To send out all of the ballots that were printed for each polling place is too heavy for a
poll manager to lift,” she said. “So we had to kind of decide, well, we're going to send out a certain
number now and then we'll have more ready to go take it to them if they need it.” (Georgia Public
Broadcasting, 11/06/2019)

“Eveler said there were mostly positive reviews from voters, and added that voters had some creative
ways to incorrectly fill in their choices.“Sometimes they make an X, or a check … something we’ve
seen is where they mark a line through everyone they don’t want and circle the name they do want,”
she said.” (Georgia Public Broadcasting, 11/06/2019)



PENNSYLVANIA

“A shortage of ballot-counting scanners caused long lines, incorrect paper ballot sizes resulted in some
ballots getting torn, and many voters didn't know how to use the new machines, officials have
said…Numerous candidates held off Tuesday night and Wednesday on commenting about their
apparent victories because of the widespread chaos.” (York Dispatch, 11/06/2019)

"I'm so confused," said York County Vice President Commissioner Doug Hoke on Wednesday morning
after he asked whether the full results had come in...Confusion was worsened when a glitch in the
county's system left it outputting that zero precincts were reporting, even though more than 100,000
ballots had been counted...However, state and federal funding has covered roughly 60% of the $1.4 million
price tag to purchase machines from Dominion Voting Systems, said York County Solicitor Michèlle
Pokrifka.” (York Dispatch, 11/06/2019)



“The Republican Party appointed the two candidates for the party’s nomination after two candidates
had died while in office, leaving vacancies on the ballot, he said. The county reprinted the ballots for
those two townships, and then had to bring in the company it purchased the new voting equipment
from, Dominion Voting Systems, to reprogram the database program so that it would pick up those
candidates, [William O’Gurek, Carbon County Commissioner] said. Adding those two candidates,
however, changed the dynamics of the program and the numbers weren’t being picked up, he said.
Everything alphabetically after Lower Towamensing weren’t being properly tabulated in the
spreadsheet, O’Gurek said.” (Standard Speaker, 11/08/2019)
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“Dominion was confident that numbers printed off the scanners were accurate and the problem was
with the tallying program, he said.” (Standard Speaker, 11/08/2019)

The election board met in executive session Thursday morning with representatives from Dominion, the
county solicitor and administrator, and representatives of the Department of State, O’Gurek said.
Dominion was asked to come to the commissioners’ meeting, which started 20 minutes late due to an
earlier meeting, to explain what happened, but they refused, he said.” (Standard Speaker, 11/08/2019)

“Dominion then re-programed the tallying system to pick up those candidates. The addition of those
candidates changed the dynamic of the program and the numbers were then not properly tabulated in
the spreadsheet for communities alphabetically after Lower Towamensing Twp. County commissioner
candidate Bob Jacobs raised concerns at Thursday's commissioners' meeting and again Friday at the
election board meeting about the disparity in the numbers. On Tuesday night, the election office sent
out an email showing all precincts reporting with 14,070 votes in the commissioners' race and
Wednesday morning another email came with a total vote of more than 24,000 -- a 10,000 vote
difference, he said.” (Standard Speaker, 11/09/2019)

“People also questioned why the county is relying on advice from Dominion, when their equipment and
system didn't deliver. "We have to rely on their technical ability," solicitor Dan Miscavige said...Board
member Jerry Dotter believed they needed the hand count, and the high-speed scan to test Dominion's
system both ways. "We don't know if we can trust (the system) next year," Dotter said.” (Standard
Speaker, 11/09/2019)

“Linda Christman of Towamensing Twp. said she talked to voters all day Tuesday outside a polling
place. "The voters don't have confidence in this process," she said. "Voter confidence has to be
restored." (Standard Speaker, 11/09/2019)

“Before the board voted, [William O’Gurek, Carbon County Commissioner] shared an irregularity that
was pointed out to him in the clerk of courts race that he said shook his confidence. The total number of
votes minus the undervotes and overvotes should be the number of votes cast for the candidates, he
said. That number should be 14,828 in this race, but the number that they have is 14,470 -- a difference
of 358 votes, O'Gurek said. "I need to know where those votes are. That shakes me," he said. "Where
are the extra votes in this race? We need a complete hand-count audit." (Standard Speaker,
11/09/2019)

“The county received the results from the polls on Tuesday night in a timely fashion, Suchanic said. But
it ran into trouble with posting those results online because of a program problem with reading the
cards. "So it did take us several hours to work with Dominion (the voting machine vendor) to figure out
what the problem was, and we eventually were able to report the majority of our precincts on election
night," she said.” (York Daily Record, 11/08/2019)

“We’re talking with (voting machine vendor) Dominion for their professional counseling and holding
them to account for the delay in getting results initially tallied,” he said. The county is also searching for
solutions internally. “We could also look to do more educational outreach to help people understand the
new voting system,” Walters said.” (York Daily Record, 11/08/2019)
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“Voters are confused about the process, think they should get a paper receipt, and have no idea about
completing the little bubbles,” Lunko said. “Even telling people, we’ve spoiled numerous ballots already,
from people overvoting.” (York Daily Record, 11/05/2019)

“Each polling site has one scanner. In addition to creating bottlenecks at numerous sites around the
county, some weren’t working properly. Voters were told to put completed ballots in a slot at the back of
the scanners at the YMCA and Spry Church polling spots. They were told the ballots would be scanned
and counted later.” (York Daily Record, 11/05/2019)

“At one polling place in Fairview Township, hundreds of people filled out ballots but left before scanning
them, unable to stay longer or tired of waiting for voters ahead of them to scan their ballots.” (PA Post,
11/06/2019)

Dominion Scanners Could Not Read 2nd Ballot Page, Caused Delay, Scanner Failure:“At the
Newberry Township building, the scanner tallied the second sheet, but wouldn’t take the first sheet.
They were collected in a separate slot to be counted later. The scanner went down at Shrewsbury
Township during the second hour of voting and ballots were collected to be tallied later in the day...The
paper ballot and scanning method was picked because it was considered more cost-effective than
other options, Suchanic added. The two-page ballot also slowed down the process. Suchanic said. The
ballot referendum required a second page.” (York Daily Record, 11/05/2019)

“We just didn’t realize it would be as challenging and time consuming to scan the ballots,” President
Commissioner Susan Byrnes said Tuesday night. Byrnes added the new voting system cost the county
$1.5 million.” (York Daily Record, 11/05/2019)

“She said that even though there were reports of problems in York and Northampton counties, “there is
no problem with the paper ballots that they cast.” And she said that underscores the need to switch to
new machines that require a paper ballot.” (PA Post, 11/06/2019)

“The commissioners simply did not provide for enough scanners,” he said. “They better get more
machines next year or they’re going to have a disaster.” Piccola said one poll in Fairview Township had
an hour wait just to scan ballots. But it’s more than just needing more machines, he said. They probably
will need more poll workers, too, to answer questions about the ballots and the scanner.” (York Daily
Record, 11/05/2019)

Some polling places experienced delays. Ron Smith, who was elected county commissioner Tuesday,
said he worked at one polling location where people had about a 15 or 20 minute wait at different points
in the day. At other polling locations, the wait was longer. Commissioner Byrnes described wait times of
about 45 minutes or an hour at some spots. The county said it one optical scanning machine for each
of its polling locations wasn’t enough. (PA Post, 11/06/2019)



OHIO
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“New voting equipment in Greene County led to a delay in reporting results Tuesday night and is
forcing the elections board to amend the results today for races in Fairborn, according to Llyn McCoy,
Greene County elections board director.” (Dayton Daily News, 11/06/2019)

“McCoy said there were 53 votes that didn't get included in the final, unofficial results for Fairborn
races...This was the first election for Greene County to use new voting equipment provided by
Dominion Voting Systems. McCoy said there was a problem with one of the machines that's used to
read the USB drives on which all the county's votes are stored. That delayed results from being
reported and led to one of the USB drives from the Tri-County polling location in Fairborn not being
included in Tuesday night's totals. “ (Dayton Daily News, 11/06/2019)


McCoy said Wednesday morning her staff figured out why they were getting error messages. "There
were old files on the flash drives. As a security precaution, it won't let you upload those drives," she
said. The elections board met in an emergency session Wednesday afternoon to approve the
"Amended Unofficial Final Election Results Report," which included 53 votes that were not tabulated
Tuesday night. (Dayton Daily News, 11/07/2019)

Updates came slowly and the final, unofficial results were not reported until approximately 11:30 p.m.,
more than an hour after vote tallies were finalized in other counties..."We were supposed to have two
machines that would allow us to tabulate last night. While two tested and worked perfectly prior to
election day, election night unfortunately one of them just didn't work and it was too late to get any
more equipment," McCoy said [Llyn McCoy, Greene County elections board director]. (Dayton Daily
News, 11/07/2019)

The elections board deployed 327 new Dominion ICX voting machines and a new version of its
electronic poll book software to polling stations across the county Tuesday. The morning proved a “little
chaotic” when poll workers set up the new machines for the first time, board Director Julie Leathers
said. (Daily Record, 11/08/2019)

“We did train our workers on the new equipment, however, it is very difficult to simulate and anticipate
every scenario that could occur on Election Day,” she said. “All in all, I feel that our roll-out went
extremely well.” Most polling locations had trouble encoding voter access cards through the electronic
poll book. (Daily Record, 11/08/2019)

“A simple fix was discovered and disseminated to polling locations as soon as possible. In the
meantime, poll workers provided paper ballots to voters,” Leathers said. (Daily Record, 11/08/2019)

“A glitch was also found on the ICX voting machines with the audio visual device installed. The issue
was unexpected even for the machines’ vendor, according to [Election Board Director Julie] Leathers.
The issue affected only one machine per polling location. Each location had two to 11 additional
machines that experienced no issues.” (Daily Record, 11/08/2019)

Indiana

“At about 20% of the 80-plus polling locations in the county, technical issues with PollPads, provided by
vendor KnowInk, caused delays for voters. The pads are used to scan voter’s ID cards when they
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check in. The pads aren't part of the new equipment this year, and have been used in previous
elections.” (South Bend Tribune, 11/07/2019)

“We talked with the vendor and there was some sort of glitch in the software” for the iPads, said
Catherine Fanello, chair of the board. The board dispatched about 15 technicians to polling sites to help
poll workers. Jake Teshka, the 5th District incumbent on South Bend’s city council, said he saw roughly
50 people walk away from the voting poll at Marshall Traditional School early Tuesday morning as he
was greeting them.” (South Bend Tribune, 11/07/2019)
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   BREAKING
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            NEWS
   No Peach Drop in Atlanta this New Year's Eve, mayor says
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  The Latest: 2nd Georgia county reports voter check-in glitch
  Updated: Nov 5, 2019 - 2:29 PM




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ATLANTA (AP) - The Latest on Georgia's test of new voting machines during local elections in six counties (all times local):

  2:30 p.m.

  A second Georgia county is keeping polls open late because of a glitch with new equipment used to check voters' registration.

                                                                      Content Continues Below




https://www.wsbtv.com/news/georgia/the-latest-glitch-delays-voting-in-georgia-test-county/1005294095                                                       1/4
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  Lowndes County election supervisor Deb Cox said some electronic poll books malfunctioned in all 10 of the county's precincts when they opened for local
  elections Tuesday morning. She said backup paper registration lists were used and voters experienced minimal delays.

  Cox said a judge ordered Lowndes County polls to say open an extra 45 minutes.

  Decatur County had similar problems Tuesday morning and polls there will also close later.

  Six Georgia counties are testing new voting machines Tuesday that combine touchscreens with paper ballots. Officials plan to roll out the new system statewide
  during the March presidential primaries.

  ___

  Noon

  An election official says a software glitch delayed voting for about 45 minutes in a Georgia county that is testing the state's new voting machines.

  Decatur County elections supervisor Carol Heard said electronic poll books used to check voters' registration and load their ballots onto a keycard malfunctioned
  at all three precincts after they opened at 7 a.m. Tuesday.

  Heard said about a dozen voters altogether were waiting. A judge ordered polling places in Decatur County to stay open an extra hour Tuesday night.

  Heard said: "I'm glad this was brought up now and not next year," when higher turnout is expected for the 2020 presidential elections.

  Six Georgia counties are testing new voting machines Tuesday that combine touchscreens with paper ballots. Officials plan to rollout the new system statewide
  during the March presidential primaries.

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  12:30 a.m.

  New voting machines that combine touchscreens with paper ballots are getting a limited test run in Georgia. It's part of an effort to meet a court-ordered deadline
  to retire the old touchscreen only system before any votes are cast in 2020.

  Voters in six counties are casting ballots on the new machines Tuesday in elections for mayor and other local offices. Georgia's remaining 153 counties won't use
  the new system until the state's presidential primaries in March.

  Elections in Georgia are being closely watched after problems from two-hour waits at the poll to allegations of voter suppression in 2018 led to lawsuits and
  changes to state law. A federal judge in August ruled Georgia's paperless voting system in use since 2002 was "seriously flawed" and must be retired by Jan. 1.

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    1.   GEORGIA IMPLEMENTATION SKEPTICISM
    2.   DELIVERY TO GA COUNTIES TIMELINE SLIPPAGE
    3.   DELIVERY TO GA FACILITY TIMELINE SLIPPAGE
    4.   NUMBER OF PILOT COUNTIES CHANGED FROM 12 TO 10 TO 9 TO 6

All Response Documents Located at https://sos.ga.gov/securevoting/ > Award Information > Dominion Response to Request
for Proposal

GEORGIA IMPLEMENTATION SKEPTICISM

Dominion Plans to Deploy 200 Fewer Implementation Staff than 2002 “The major differences and
the reason the number of staff personnel is reduced from approximately 550 to 350 is due to the fact
the state has a statewide management infrastructure in place and the counties are used to a statewide
touch screen type voter experience. In 2002, the State had a multitude of different voting systems in
place including hand marked paper ballots, punch card systems, early optical scan systems, lever
machines and direct-recording electronics (DRE’s). Everyone from the state to the counties had to be
trained on a new way of voting and managing the process.” (Dominion Response Document 12-1 PM)

Colorado SOS on Georgia’s Implementation Timeline: “It Blows My Mind” “What Georgia is trying
to do basically blows my mind,” said Dwight Shellman, an election official at the Colorado secretary of
state’s office. His state adopted a Dominion system in 2016.“We had 2 1/2 years to do it, and it was
challenging,” Shellman said. “I can’t imagine implementing the number of counties Georgia has in,
what, two months? Three months?” (AJC, 11/01/2019)


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challenging,” Shellman said. “I can’t imagine implementing the number of counties Georgia has in,
what, two months? Three months?” (AJC, 11/01/2019)


Fulton SOS Said Timeline is “Somewhat Crunched” and would require “Long Hours to Make it
Happen “Voting machines likely won’t arrive until after this fall’s local elections and potential runoffs, he
said. “The timeline is somewhat crunched, but we’ll get it done,” Barron said. “We may have to put in
some long hours to make it happen.” (AJC, 11/01/2019)


Dominion Warned SOS Original March 31st Timeline Was Not Fast Enough for March Elections.
“If the intent is to use the new system statewide for the March PPP election, we must mitigate the risk
of an unsuccessful experience by delivering and training ahead of the published schedule. If delivery
dates per the statement “Completion of Phase 2 – Part 2 will be completed prior to the end of the first
quarter of 2020 (March 31, 2020)” represents the GASOS intent, the March PPP will not be ready for a
statewide roll out and use of the new system in March 2020. The SAFE Commission made it clear a
statewide usage of the new system will be ready to use in the March PPP election. Dominion is
committed to make that a reality by adopting an aggressive Implementation Plan and Training
schedule.” (Dominion Response Document 12-5)
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DELIVERY TO GA COUNTIES TIMELINE SLIPPAGE

Dominion Says Goal is for Machines to Be Delivered by December 31, 2019, “If Not Earlier” “The
Dominion delivery schedule will follow the quantities as defined in Attachment O. Phase 2 – Part 1, but
will be able to deliver ahead of schedule if permitted by the GASOS. Completion of Phase 2 – Part 2
will be scheduled for completion by December 31, 2019, if not earlier. This will allow us to remain
ahead of the schedule described in the RFP thus avoiding undue pressure on the State or the Counties
as we prepare in January to conduct training across the State.” (Dominion Response Document 12-1,
page 5)


Dominion’s Goal Was To Have Machines Delivered By December 2019. “The master delivery schedule
addresses the Pilot County needs first so training content may be tailored to the situation and training
classes conducted in August and September. Poll worker training will be conducted in October or
perhaps sooner as the Counties adjust to the changeover. Delivery of the Pilot County equipment will
be scheduled to correspond to the decommissioning program and readiness of the counties to receive
new product. The delivery schedules for the remaining counties will align with the State’s
decommissioning plans and schedules following the November Election. By delivering and accepting
the EMS software and equipment including central scanning equipment in August, we will then focus
on the high-volume Acceptance Testing for the BMD’s beginning in October, or late September if the
GASOS staff schedules permit. The plan accelerates in November once the General Election is finalized
and the decommissioning program kicks off. The pace will continue right up until the end of the year
with the goal to have all counties delivered by the end of December 2019. If for any reason there are
schedule delays, we will have sufficient inventory of voting system and poll book products in the
warehouse Acceptance Tested to ensure every county has system components from which to train.”
(Dominion Response Document, Supplemental Technical Response, page 42-43)


Dominion Says Machines Should Ideally be Delivered by End of 2019 and “No Later” than January 15,
2020 “The Dominion plan is to deliver fully by the end of 2019 or no later than January 15, 2020 so the
State, the counties, and the poll workers all have adequate time to install, train and establish the
support model for the statewide election in March.” (Dominion Response Document 12-6, page 1)

On Oct 10, SOS Said "All Counties Should Have All Equipment by January 15th At the
Latest." “Question: Is there a “final” date when we can expect to have all our equipment and he said
tech would be available middle of February, but we start mailing ballots on Feb. 4, Doesn’t L&A have to
be done at least on some of the equipment before mailing ballots? Answer: All counties should have all
equipment by January 15th at the latest. We will be working with Dominion to provide technicians for
the PPP which will begin at the end of January.” (Transcript: Q&A From Region Calls on October 10,
2019)

SOS Says Voting Machines Will Be Delivered to Counties by “Mid-January” “A federal judge ordered a
pilot of hand-marked paper ballots as part of a larger lawsuit challenging the use of electronic voting
machines. Judge Amy Totenberg said the state must stop using its current outdated direct-recording
electronic machines after 2019. Hand-marked paper ballots would be the system put in place if the
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BMDs are not ready in time. But Raffensperger says the rollout of new machines are ahead of schedule
and should be ready by mid-January.” (GBP, 11/06/2019)


SOS Says Machines Will Be Delivered by “End of January” “Gabe Sterling, the secretary of state’s chief
operating officer, said that the pilot results were what he hoped for – largely successful while
identifying areas that need attention before the statewide rollout. “Overall, we feel like we are in a
good position to make sure that these kinds of issues don't happen,” chief operating officer Gabe
Sterling said to reporters Thursday. “When you have an election with millions of people voting at one
time, things are going to happen.”Sterling also said all of the new equipment will be delivered to the
state by the end of January and that the procurement and testing process is running ahead of
schedule.”(GPB, 11/15/2019)


SOS Says Machines Will Be Delivered by “Late January " “Sterling said he’s confident that the state’s
voting system will be ready for the presidential primary, and all equipment is scheduled for delivery by
late January.“We feel like we are in a good position to make sure that these kinds of issues don’t
happen,” Sterling said. “Now we’re going to have the ability to deal with them and shine a light on
those problems.” (AJC, 11/18/2019)


SOS Says Machines Will Be Delivered by “Early February” "Raffensperger and his staff say they’re
ahead of schedule getting new machines to local election officials. Six counties used the new
equipment for a test run during elections for mayors, city councils and school boards last month. A few
dozen more are scheduling deliveries. Gabriel Sterling, project manager for the secretary of state’s
office, said all 159 counties should have their voting machines by early February — roughly a month
before advance voting starts. (AP, 12/11/2019)


DELIVERY TO GA FACILITY TIMELINE SLIPPAGE

Dominion Initially Expected to Deploy Machines to GA Facility in July 2019
“Receipt of Products for Pilot Election: July 2019
• Acceptance Testing of Voting System, Software and Poll Pads by GASOS
• Hash Validation Testing
• Distribution to begin of all voting system products to the respective Pilot counties
• In House Depot Repair as needed” (Dominion Contract, pulled down)

Dominion Then Planned Machine Deployment to GA Facility to Begin in August
 “Dominion will establish a warehouse operation close to the new GASOS offices. The Dominion facility
will open in early July right after contract award and signing is complete. We will receive the first
shipment of voting system products and components in late July for acceptance testing and deployment
to the twelve Pilot Counties starting in August...The training and installation of the new system for the
12 pilot counties will begin in August on dates agreeable to the counties selected for the November
pilot. GASOS staff will receive initial training as the counties and poll workers are trained. The training
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curriculum and suggested time frames are provided in detail in the appropriate sections of the Dominion
clarification responses.” (Dominion Response Document 12-4)

Dominion Said ~20% of Machines Would Arrive Each Month Beginning in August & Ending in
“Mid December.” “Approximately 20% of the new system products and components will begin arriving
each month starting in August and continue through mid-December 2019. Acceptance testing will
begin immediately upon receipt of product and deployment schedules developed for delivery of Phase
2 – Part 1 and Phase 2 – Part 2.” (Dominion Response Document MS 12-5)


       Oct 17th, SOS Says ~6000 Machines Delivered to GA Facility
       “Election supervisors in the pilot counties received training first. Most of their colleagues in other
       parts of the state are being training in coming weeks, except for those busy conducting
       municipal elections in non-pilot counties. Their training begins after the Nov. 5 election
       day...“The election so far is running very smoothly,” Rigby said. “Poll workers are not having any
       trouble adapting to the new system.”...Already, more than 6,000 touch-screen voting machines
       have been delivered.” ( Oct 17th SOS Press Release, 10/17/2019)

       Nov-1st, SOS Says ~10,000 Machines Delivered to GA Facility “Dominion later adjusted its
       schedule to meet the state’s deadlines. The company has delivered more than 10,000 voting
       machines so far, and implementation is on schedule, according to the secretary of state’s office.
       Dominion must install voting machines, printers and ballot scanners, then test them and train
       poll workers, all before Election Day.” (AJC, 11/01/2019)


NUMBER OF PILOT COUNTIES CHANGED FROM 12 TO 10 TO 9 TO 6

SOS Lists 12 Pilot Counties to Receive Equipment in Initial RFP. Bacon, Bartow, Carroll, Catoosa,
Charlton, Decatur, Evans, Fulton, Gwinnett, Lowndes, Paulding, Treutlen. (Dominion “Full RFP”, Page
82-87)

Dominion Lists 12 Pilot Counties To Receive Equipment in Phase 1: Bacon, Bartow, Carroll,
Catoosa, Charlton, Decatur, Evans, Fulton, Gwinnett, Lowndes, Paulding, Treutlen. Please see
Dominion Response Document 12-3 PM, page 10 for chart of Implementation Timeline. (Dominion
Response Document 12-3)

Dominion Said Training & Installation for 12 Pilot Counties Would Begin in August. “The training
and installation of the new system for the 12 pilot counties will begin in August on dates agreeable to
the counties selected for the November pilot. GASOS staff will receive initial training as the counties
and poll workers are trained. The training curriculum and suggested time frames are provided in detail
in the appropriate sections of the Dominion clarification responses.” (Dominion Response Document
12-4)

April 2019, SOS Told Federal Court Approved Vendor Must Be Able to Initiate 10 County Pilot By
August 2019. “In an April 11, 2019 filing with the Court, the State Defendants further represented that
“potential vendors must be able to initiate a ten-county pilot by August 2019.” (Curling v Raffensperger,
page 144)
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April 2019, SOS Told Federal Court Pilot Program Would Have “At Least 10 Counties” But
Possibly More “Counsel also discussed at the April 19 conference with the Court the new statute’s
provision for the State to conduct “a pilot program for at least ten counties – but it could have more – to
test – for testing purposes of the machines,” so that actual elections will be run this year in 2019 on
ballot-marking devices. (Id. at 8.)” (Curling v Raffensperger, page 143)

July 2019 SOS Gives Federal Court “Preliminary” List of 10 Pilot Counties: Bacon, Bartow,
Carroll, Catoosa, Charlton, Decatur, Evans , Lowndes, Paulding, and Treutlen. “And although the
State told the Court in April 2019 that Fulton and Gwinnett Counties would be participating in the pilot
program, only after the July hearing concluded did the State advise the Court that the pilot counties for
the new voting system have not yet been definitively selected...A “preliminary list” of counties to pilot
the new voting system includes: Bacon, Bartow, Carroll, Catoosa, Charlton, Decatur, Evans , Lowndes,
Paulding, and Treutlen.” (Curling v Raffensperger, page 144)

Fulton County Declined To Participate in Pilot & Gwinnett County Had No Scheduled Elections
“But as Richard Barron, the Director of the Fulton County Elections Office, testified in the 2019 hearing,
Fulton County backed out of the pilot program based on perceived operational challenges. (Tr. Vol. II,
Doc. 571 at 218.) And Gwinnett is no longer an ideal candidate for the pilot rollout because it has no
scheduled elections in November 2019.” (Curling v Raffensperger, page 143)

SOS Executive Summary Says They Initially Picked Nine Counties “With that in mind, the
implementation team understood that piloting the new system in real world conditions, with the
introduction of poll workers, polling places, and most importantly voters, would be vital to bring potential
issues to the forefront. With that in mind, we picked nine counties to do the initial pilots: Bacon, Bartow,
Carroll, Catoosa, Decatur, Evans, Lowndes, Paulding, and Treutlen. All elections officials were brought
in for three days of training to our Center For Elections with Dominion and SOS Staff. Bacon, Evans,
and Treutlen ended up having no municipal elections, so the remaining six counties conducted their
November elections on the new system.” (SOS Executive Summary Initial Findings Report, 11/14/2019)

Final Contract: Pilot Will Only Include 6 Counties But Exact Counties “To Be Determined” Later
“Pilot Election” means the pilot election to be administered on November 5, 2019 in up to 6 Counties
(exact Counties to be determined by mutual agreement), including the coding of election database (and
additional training needed in connection therewith), training of personnel including poll-workers of the
Counties hosting the Pilot Election, logic and accuracy testing at each of the participating State Sites,
election day support at the participating State Sites, and post-Pilot Election auditing and validation of
results.” (Dominion Master Solution Purchase Agreement, page 69)

SOS Announces 6 Pilot Counties: Bartow, Carroll, Catoosa, Decatur, Lowndes & Paulding
“Georgia’s new voting machines will be tested in local elections in six counties this November before
they’re rolled out statewide for the presidential primary in March. The first areas to use the state’s
voting system are Bartow and Paulding counties in metro Atlanta, Decatur and Lowndes counties near
the Florida border, Carroll County near Alabama and Catoosa County near Tennessee, according to
the Georgia secretary of state’s office.” (AJC, 9/10/2019)
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On Sept 25, the SOS Told Counties the Number of Voting Units They Would Receive Was “In
The RFP” “How soon will we know how many voting units we will receive? Answer: That number is in
the RFP.” (Q&A from September 25, 2019, Callsy with Counties by Regions)


Fulton County Elections Director Said County Was Anxious To Receive Voting Machines So
That Poll Worker Training & Equipment Testing Could Begin. “Now that Georgia has selected
Dominion, many areas across Georgia, such as Fulton County, are anxious to receive their new voting
machines, Fulton Elections Director Richard Barron said.Poll worker training and equipment testing
can’t be done until then. In addition, the State Election Board hasn’t yet approved rules and procedures
for how to conduct elections with the new voting machines.Voting machines likely won’t arrive until after
this fall’s local elections and potential runoffs, he said.“The timeline is somewhat crunched, but we’ll get
it done,” Barron said. “We may have to put in some long hours to make it happen.” (AJC, 11/01/2019)
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             IN THE UNITED STATES DISTRICT COURT FOR
                THE NORTHERN DISTRICT OF GEORGIA
                         ATLANTA DIVISION


 DONNA CURLING, et al.
Plaintiff,
                                                  CIVIL ACTION FILE NO.:
vs.                                               1: 17-cv-2989-AT
BRIAN P. KEMP, et al.
Defendant.




         SUPPLEMENTAL DECLARATION OF JEANNE DUFORT

JEANNE DUFORT declares, under penalty ofpetjury, pursuant to 28 U.S. C.

§ 17 46, that the following is true and conect:

   1. My name is Jeanne Dufort.

   2. This declaration supplements my declarations of June 17 2019 and

      September 10, 2018 and I stand by all of the content of those declarations.


   3. I have personal knowledge of al1 facts stated in this declaration and if called

      to testify, I could and would testify competently thereto.

   4. I am a registered voter in Morgan County. I am a member of Coalition for

      Good Governance and an active volunteer in supporting its voter education

      and election security efforts.
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5. During the December 3~ 2019 Valdosta municipal runoffs, I spent

   approximately 7 hours observing Precinct 5, Rainwater Conference Center,

   in Lowndes County.

6. Based on my personal observations of voting on December 3, I am greatly

   concerned about the violation of ballot secrecy caused by the new Dominion

   ballot marking devices. The screens, measuring approximately 13.5 inches

   by 23 inches, are very large and bright, and stand nearly vertical. When the

   voter makes a selection, a wide band lights up across the screen. As a result,

   the voter's selection may be seen from a distance of 25-30 feet away. In the

   precinct I observed, the voting stations were lined up around the peril'neter of

   the room with voters facing the outer walls. A poll worker stationed at the

   scanner had a clear view of the B1'v1D screens on several at of the most

   utilized BMD stations - she stood at least 25 feet away and yet could see

   choices as voters made their choices. I stood by her, and I was able to see

   voter choices. Poll watchers from both Democrat and Republican Parties

   also stood at a similar spot and told me that they could read the voter

   choices.

7. I observed poll workers stationed by the ballot scanner reminding voters to

   check their ballot before scanning, and most voters appeared to attempt to

   comply with the instruction. There were only two races on the Valdosta
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   ballot, making it relatively easy for the voter to verify the two choices

   indicated in text.

8. In watching the verification exercise, I considered how difficult, if not

   impossible, it would be for me to verify a typically long general election

   ballot card with my own votes. I believe that most voters would also find it

   impossible to accurately recall the entire ballot contents, their votes, and

   detect missing races or errors.

9. After polls closed, along with CoaJition for Good Governance members

   Rhonda Martin and Marilyn Marks, I went to the central election office, and

   discussed my polling place observations with Deb Cox, Lowndes County

   Election Director. She indicated that she had already found it necessary in

   the pilot to deploy fewer Ballot Marking Devices than allotted in some

   precincts, and less than the number of DREs historically deployed, because

   of the larger footprint of the B1vID station setup. We discussed the fact that

   the number of pieces of bulky equipment (BMD screens, printers, back up

   batteries, and scanners) in the new BMD system created space constraint

   problems yet unsolved.

10. We expressed our concerns to Ms. Cox about such a reduction in voting

   machines and the potential impact on voting lines and voter wait times with

   a reduction of the number of machines. It was clear that Ms. Cox was
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   concerned about the problem and working diligently on alternative layouts

   and machine allocation issues. I left the discussion with the impression that

   based on current precinct configurations and polling place locations,

   Lowndes County will not be able to meet the statutory ratio of l machine for

   every 250 registered voters. This is one of the many alarming BMD system

   implementation problems facing 2020 elections in my view.

11. As we discussed the ballot secrecy issue with Ms. Cox, she was already

   well aware of the problem and made the point that trying to create more

   space between the units to reduce the amount of improper visual access

   would further reduce the number of Ballot Marking Devices in a polling

   place.

12.The lack of privacy of the ballot displayed on the BMD would definitely

   discourage me from voting in person i f ! have to vote on a HMD. I value my

   private voter choices and do not wish to have others know how I vote on all

   races, although l 'm willing to disclose many of my votes. I described my

   feelings about the secrecy of my ballot in my previous declaration of June

   17, 2019.

13.Additionally, I do not wish to vote on aBMD because my official votes to

   be counted are embedded in a QR code that I cannot read. This system

   effectively forces me to cast votes that l cannot read and I have little
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   confidence that the vote I would be casting is the vote I intend. I feel that I

   should not be forced to cast such votes if I wish to vote in person.

14.My preference is to vote in person on Election Day with my friends and

   neighbors in the social experience of Election Day precinct votjng,

   benefitted by the opportunity to obtain the latest news on candidates and

   issues before I vote. However, I try to make a practice of not voting on

   unauditable touchscreen units, such as the .DREs or the current BMDs,

   which requires a mail in ballot. Further I will try to avoid voting on a BMD

   that creates a QR code as my official vote that [ must cast without knowing

   the choices embedded in my official vote.

15. One of the additional reasons that l would not choose to vote on a BMD is

   that voters are expected to verify the text printout that follows the QR code

   official votes. The purpose of such verification is to attempt to provide a

   basis for a potential audit of the outcome.

16. Chris Harvey, Georgia's Election Director, states on a demonstration video

   ( i ·::"~:,·   !..llt".i.b;..150\-~: .~5c.   oi,;.   (2:10)) that the voter will be "charged

   with" confirming the accuracy of the machine markings on the ballot

   summary card before casting their ballot card.

17.However, the voter verification exercise is quite difficult on a long complex

   general election ballot. It requires the voter to either bring a marked sample
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   ballot to the polJs to rev iew after the ballot card is printed to help recall the

   full content of the ballot, or to memorize the content of the ballot.

18. I cannot reasonably memorize the ballot contents to verify my marked

   ballot, and don't want the stress of attempting to do so in a crowded polling

   place. I believe that very few voters would bring a marked sample ballot for

   verification or memorize the ballot content, and would also feel a great deal

   of stress being told that they are expected to remember and verify complex

   ballot contents.

19.I attended the November 21, 2019 meeting of Morgan County Board of

   Election and shared my concen1s about ballot secrecy. Prior to public

   comments, Jennifer Doran, the election director, had reported on the Pilot

   Elections, and pointed out in particular the concerns about ballot secrecy

   with the new BMDs. (page 5 of Exhibit 1) She described attempts to

   improve the situation, with no resolution as of the meeting. Transcript of the

   meeting attached as Exhibit 1 is a true and accurate record of a portion of the

   meeting.

20. Jennifer Doran infonned the BOER about pilot election problems, including

   Ballot Marking Devices randomly cycling off and on. ballots jamming in

   scanners, and poll pads not coding BMD access cards. She reported that

   many of the problems required the help of the Dominion technician to
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   resolve. From questions posed by BOER members some of who have been

   poll managers and understand the logistics of running elections, my

   impression is they have serious concen1s about the consequences if Morgan

   County experiences similar equipment malfunctions. They are concerned

   with how many backup machines wi11 be available, and the potential

   inconvenience to voters with just one Dominion technician supporting the

   entire county.

21 .Jennifer Doran also informed the BOER of the need to increase staffing at

   polling places saying ' there are extra steps the voter is going to have to

   take, which is going to require more po11 workers which we had already

   talked about - that we are going to need an e tra poll worker or two in each'

   (Exhibit 1, pg. 5




   Executed on this date, December    •It', 2019.



                                        _J
                                           Jeanne Dufort
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Morgan County BoE Meeting Nov 21 2019

MAN 1           O      Next item on the agenda is the monthly budget review. Jennifer?

JENNIFER DORAN ~ · · O You got a copy of the budget as a last line. We're still on
budget or under budget. It helped that we didn't have a November election so we're right
now just preparing for next year. And then, of course, you see a big chunk of money that
just came out, 'cause we're about to go to conference, um, two weeks. Two board
members and Sue and I are going.

MAN 2 .J': J :     Does the county have enough tables to provide for the two voting places
and still have enough tables right now? That's the two fire stations.

JENNIFER       o·               Yes.

MAN 2 ')               Will they provide those to us or--we don't have to buy these.

JENNIFER                       1Yes they do.
WOMAN1        (!: ,             What do we have to have repaired?

JENNIFER                   ,    I'm sorry?

WOMAN 1 ·o          .1..        Repaired. Fifty-two point twenty-two [unintelligible] repairs and
maintenence.

JENNIFER                        We haven't expended anything.

WOMAN1                         Oh 1 okay. That's [unintelligible].

JENNIFER :.                     Yes.

MAN 1 . ', J   r All right. So the other questions or discussion about the budget? If not,
we're gonna move on to the staff reports. Jennifer?

JENNIFER · "             So you know we've got elections coming up in 2020. We had one
candidate to file a declaration of intent to accept contributions. That doesn't necessarily
mean they qualified to be on the ballot, but they have filed--started the ethics. Kenny
Stewart for sheriff, just to let you know he's now candidate on the ethics side... And then ...
Old equipment pickup. I have packed up everything and just waiting for the state to come
and pick it all up--with the old equipment. I have not gotten a call yet, so I don't know when
that's going to be. I'm gonna do a polling place inspection then we'll start talking about the
new equipment. So the new equipment does have a lot of electrical components to it. And
so the head of the maintenance [unintelligible] went to all the polling places to make sure
that all the polling places were adequate to handle the electrical load. There's going to be
a couple of places where we have to set up the equipment slightly different, but it works
with the flow. But all of the polling places can handle--1 sent y'all an e-mail saying that
we're sending them out just in case we had to change polling places. But he said that
they're all good. And the state is also going to be sending out inspectors to every polling
place in this state. They'll be checking for electrlcal , ADA compliance, and security. Again,
I haven't gotten a phone call about that, but we are waiting. So it's a contractor with the




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state will be coming out. They'll prepare reports and then send us the reports, letting us
know their assessments for all those. Any questions about---.

MAN 1 0             • So they're going to send you a list of basically wl1at they're looking for?

JENNIFER 11 , .       l No, they're just gonna come out and do it. The assessments. But
what they're doing is making sure that the electrical supply is adequate and that is ADA
compliant. And then there's enough security because obviously we don't drop off the
equipment the right before it starts to pick it right up. So they just want to make sure that
the buildings are secure.

MAN 1 .              So if there's any places that aren't under, county control , like churches
and stuff like that, do we have an adequate backup plan [unintelligible]

JENNIFER · ·. · .. . .. Well, that's there are only three that are not county-owned buildings.
Buckhead Baptist. Centennial, [unintelligible] Memorial. Buckhead Baptist is half a mile
from Buckhead fire station. If those polling places are not adequate, we do have a backup
that are county-owned buildings we have the Buckhead fire station. In Centennial, the
Rutledge Fire Station, which is a little under two miles away. And then we have
[unintelligible] Memorial is only wo tenths of a mile from the Boswick fire station. So if we
had to move them, there are places that are under our control that we could move into.
However, of course, you know, there's a 60-day requirement that we have to do it before
an election. So it have to be done early in January. So hopefully they will get us a report
quickly so that we have time to take care of that, because we do have to advertise it to the
public. And, you know. there's a bunch of tight timeline.

MAN1          I "     Yeah , it's two consecutive weeks, right?

JENNIFER              Yeah. I'm hoping it's sooner rather than later that we're going to get
that inspection done.

MAN 2 .· ·            Jennifer, this machine requires how many plugs?

JENNIFER               ~ , So What happens is we have the UPS, which is an Uninterruptable
Power Source. It's, you know, a big box. The smaller ones allow us to plug two BMDs,
which are the tablets, and wo printers in them . So they had bigger UPSes that they now
say that we're probably-- the smaller countiesies are going to get the smaller UPSes which
are lighter [unintelligible] can hold more.

MAN 2           .. The voting machine requires one? The screen? It requires a plug?
Electrical source?

JENNIFER .            No. So what it is, is it plugs into the UPS box. So it plugs in two
tablets, wo screens and two printers. So four pieces get plugged into one. So that's one
outlet.

MAN 2                 How many are we gonna have at Bethany?

JENNIFER                  Four. So we would have wo of those UPSes. And two of them will
fit on a circuit.

MAN 2     J           Now, Alan says Bethany has enough receptacles?



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JENNIFER ·)              Well, it's not so much the receptacles. It's making sure that the
circuit is clear. And at Bethany and Clacks Chapel, we're gonna have to unplug the ice
maker, which I think generally anyway, because it's so loud that.. . That's just one of the
accomodations we're gonna have to make is that we're just going to unplug that thing,
which is something we do anyway.

MAN 2       • '" I guess the question is, I'm not an electrical genius like all these other
people in the world, but I know a lot of stuff in that little thing right there it's going to blow
something.

JENNIFER                 Right. So I can plug in two of the UPSes in one. But I've got to make
sure there's nothing else on that circuit. So there's .. . I guess there's a fuse .... I'm not an
electrical expert either, but I know that like when you blow something you pop one thing.
So basically nothing else could be plugged in it. And in those two instances, the ice maker
is on the same circuit. So that's something we'll have to unplug. So you don't blow it

MAN 3 .                , [Unintelligible] the circuits need to be dedicated. Only to the--

JENNIFER                    Correct. Just to the UPS.

WOMAN 1 .                   Maybe it's a good thing we're getting the smaller ones because
[unintelligible]

JENNIFER                    Well, they're smaller and they draw less, but then you need more.

WOMAN 1                     You need more but number 1 they cost a lot less--

JENNIFER                Yes. Well, there are also a lot lighter. The big ones are almost 90
pounds. The smaller ones are 50 pounds, which are still fairly heavy. But they're supposed
to be on wheels with a handle. But Alan- I gave him all the specifications before he went
out and so he knew exactly what we have, or what we will be getting, and what we are
requiring. Of course, then that state's coming back, doing the same thing.

MAN 3                   Someone have to sign off on that?

JENNIFER               So what--they do it-- they said I can go with them are they go on
their own. Since three of them are private, though--1'11 go to those just so I'm not turning
over keys to churches. But they w111 prepare a report and then send it when it's done.

MAN 2            • Well, I'll make a suggestion somebody go with them. No offense
intended to the state or anybody. This is Morgan County. I wanna make sure we're right. l
wanna ask the right questions. If I only see one receptacle I want that guy to tell me I can
plug in eight machines, it ain't gonna blow. I just.. I don't think we have ... We have two
places. Clacks Chapel and Bethany Springfield that are old old old fire stations. That
means their electrical stuff is old. Again, I'm not an electrical genius, but I know I can't plug
too many things in something beforefor something blows. And that I [unintelligible]. I think
somebody needs to go and I think we need to tell the state~-1 won't say I don't trust them ,
but I would like to be with them or you.

MAN 1              .    Well, how about Alan? I mean, since he's-




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MAN2                 Or Alan.

JENNIFER               Alan would be a good person because first of all, he has access to
the circuit breakers and whatever else electrical they may need.

WOMAN 1 } · '        Jennifer, I think I would prefer that the state sign off on that rather
than one of us and more than county.

JENNIFER            I    They're not...They are signing off on it We are not going to sign off
on anything. What they're going to do is prepare a report saying "this place is adequate,
it's not adequate, or this is what you need to do" and then we will have to act based on
those reports. I don't think it's us deciding if something-- I did the preliminary before I knew
that the state was going to do it. I just said that we sort of had a heads up if it was going to
be okay.

MAN 3 ·         _ Jennifer, do you have a copy of the technical specifications from the
vendor of the machines?

JENNIFER .                 I do have for the UPS requirements, the amp circuit? I do have that
information.

MAN3                 Can you send that out?

JENNIFER             • •   I will.

MAN 3 •J           ., Is the vendor making the specification that these units be on circuits by
themselves?

JENNIFER ..                Yes.

JENNIFER . ~ ,:            Did they say why?

JENNIFER ·             It's just because there's so much-- I mean, when you're talking
about four pieces of equipment into one power supply, that's a lot of--just the ampage.

MAN 3         -      Okay.

MAN1      '          Right. Are there any other questions or discussion regarding the staff
report.

JENNIFER                   Oh, I'm not finished.

MAN 1         _,     Oh, I'm sorry. Go ahead.

JENNIFER                That's just part two. So now we are going to talk about the new
equipment. I'm going to sort of do an overview of what we have learned from the state
about the thing. There are some good and bad. So if you'll let me finish all of it, then we'll
go through all that. First of all, once the old equipment is gone, the new equipment will be
coming in. Yesterday, we were told that we could volunteer to be one that early ones. So
I've already sent an e-mail saying we be glad to take them as quickly as you can give them
to us. So, you know, there were six counties that did elections on all the new equipment.
There were some kinks that we'll go over in just a minute. They--the election directors did



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say that overall the voters liked them . It was sort of a ... intuitive process of checking in,
working on the ballot. Going to the scanner. There are extra steps. So that's one thing
we're gonna have to make sure that voter flow is--- make sure that we focus on that. And
they did say that there are some issues they're working on , but they're improving. But
overall, it went well. That is the secretary of state.

JENNIFER . ; · · . They did say that we'll need to make sure we address voter flow
because, basically, the voter is going to check-in , BMD, get your printer, review your ballot,
and then scan it and then leave. So there are extra steps that the voter is going to have to
take, which is going to require more poll workers, which we had already talked about-that
we are going to need an extra poll worker or two in each ... We need to make sure that we
set up barriers so that "enclosed space" is actually defined. And I've already looked at the
retractable barriers that you see at, like Chick-fil-A that you can just pick up and ... like a
[bill? bell? belt?] between them. The state attorneys are working on the new SEB rules
now. They do have a meeting in December where-I don't know what the timeline is, but I
know that after they draft them, they have to accept them and then wait 30 days before
adoption. So they're not going to be adopting them in December, but they-- I'm assuming
they can look over.

MAN 3     i:       Jennifer? Sorry to interrupt, but SEB means ... ?

JENNIFER and MAN 3         'L 1      State Elections Boards.

JENNIFER : c·           ] Yes. So they had some preliminary rules, obviously, for the pilot
counties to follow. And they're refining them and writing them as we speak. And then you
will notice in your packet, two pages back in front. This is an article from the AJC. I thought
it was a really good sort of summary of some of the issues that came up in the pilots. One
of the things that's not listed here. And let [unintelligible). The screenings are massively
big. They're bright. And voters and the public have complained that you can see it from far
away. I went back there to see if we could lean them back-- You know, the current units
are almost flying back like this. So they're not set up like the new ones are. The new one
has the arm and I went back as far as I could go, and it's still very visible. If you're standing
beside the person the blue privacy screens are adequate here. But if you're walking beside
somebody, you can see the full screen of the person. So Dominion has privacy screens
that you can purchase to put on there. I don't know if you've ever seen it. People have
them on their phones. So if you're looking at the phone at an angle or from far away, you
can't see it-- you have to be right in front of it. They do make those for themm. They're
almost 80 dollars per screen. So I have ordered one. And we're going to-- should be
getting our second demo set soon. And I'd like to set up one with the screen and one
without. First off, before we make a big expenditure to see if they are worth the money and
if they are going to do the job. So hopefully that'll come in soon. And then we can see the
difference with the screen and without because that is a concern with people.

JENNIFER .          - So then technical issues, which are highlighted in this article, is the
BM Os, which are the ballot marking devices, several of them kept rebooting on their own
after they were already in service. Like, a voter would be standing there, pressing a button
and they would just cycle off. They would just turn off. And sometimes they would reboot
on their own. Sometimes a technician would have to go in and do stuff. There were some
errors that would pop up. And so, you know, that's a big concern is--you know, the
machine just is taken out of service until it's back on. Some ballots jammed in the scanner.
They have a few reports of that. Sometimes--- we have been told that ballots can be
Inserted face up, face down, forwards or backwards. So there's basically four ways you



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can get a ballot in. Sometimes the ballots kept coming back out, so they had to reposition
them. The poll pads were not coding the cards. There was some kind of data issue where
they were requiring a party to be put in-- like during our primaries, we have to put a
Republican, Democrat or a nonpartisan. And of course with a municipal election, there is
no party. but they wouldn't let you advance forward and they corrected that on site. But It
took an hour to an hour and a haff to get them back on line. One of the things, if that's to
happen, poll pads--we can bypass the poll pads and actually manually activate the BMDs-
a pollworker can with a pollworker card--which , those also failed in some places. But
Dominion said that they've received the logs from the equipment and they're reviewing
them for the issues. So hopefully in the next few months keep kinks worked out.

JENNIFER                   Anybody have any questions? That's a lot of information.

MAN 3 . .          I · Back to the poll pads.

JENNIFER                   Yes.

MAN 3                  Is their function to activate the ballot marking device?

JENNIFER       1
                   J
                   •
                       1 Well, there's two--Yes. Two purposes. One, to actually give a voter

credit for voting. To check them in and saying, "Avery Jackson's here. And he's voting."
That also is to activate the voter card--what used to be a yellow card. Now it's a white
card-- which you insert into the BMD.

MAN3 .                 It was the poll pad that caused the machine to to automatically reboot.

JENNIFER                   No. Those were j ust separate issues. Yes.

MAN 3 --   ~           Is there a fix for the problematic reboot the vendor has implemented
yet?

JENNIFER                  Well, not yet They are still reviewing. They collected all the logs
that come from the machines to see what the problems were. The Secretary of State
released an executive summary which listed all the issues that were reported from the pilot
county. I didn't print it out because it's like 20 pages, but I summarized it. Some of
rebooted on their own without any extra tinkering. However, it's a slow reboot It's not like
you just turn the TV off and turn it back on. But then some of thenm , when they did reboot
them, they had to--There were errors that the tech had to work on and do something with
them.

MAN2                   We're gonna have how many scanners at each?

JENNIFER                   We're scheduled to have one scanner.

MAN2                   How many scanners are we getting?

JENNIFER               We are getting 10. We'll have one in early voting. Seven precincts
and then we'll have the two left as extras.

MAN2                   We have [several? separate?] Polling places?

JENNIFER                   Yes.



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MAN2                     [Unintelligible] how they solve the problem they replaced the scanner.

JENNIFER                Yes. That is ... They did that was BMD and scanners, where they
just took that one out service and put new ones. That is a fairly limited option for us
because we'll have two. So if three break down, we can't just replace them. Unless we
purchase more.
                ...
MAN3                     Jennifer. You also mentioned ballot jamming.

JENNIFER                     Yes, the ballots, as they were being scanned in--

MAN3      ('             After the voter has voted?

JENNIFER ,,                  Yes. So it's been printed--

MAN3                     --And printed out.

JENNIFER                     Yes.

MAN3                     Then it's inserted into the reader. Am I correct?

JENNIFER '                   Yes.

MAN3      I .
                         Is that where the damage occurred?

JENNIFER                     It is.

MAN3                     Do we know why? Why it jammed?

JENNIFER ·            They have not said. That was just- - when they listed it, they just
said that's what happened.

MAN 2                 • · I think there were six counties that were guinea pigs, correct?

JENNIFER                     Yes.

MAN 2                    How many scanners broke down?       Did they say? Was it just one?

JENNIFER              There were multiple ones that-- I think they took-- let me test my
memory. There were multiple that had problems and then there were one that was taken
out of service completely.

MAN2            • 1      So only one had to be taken out.

JENNIFER                     From my memory yes.

MAN2                     So I could reboot the scanner. So the poll manager, pollworker--.

JENNIFER                     Yes.

MAN2                     --Handled almost 99 percent of the problems.



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JENNIFER              Well, they did have a Dominion technician there that was
supporting, which we will also have. Dominion's planning on having a technician in every
county in March. So there'll be there'll be an actual Dominion person here to help us
troubleshoot.

MAN 2         .... ,   These six counties. There was one in each county, or one at each
precinct?

JENNIFER                    I don't know, but for March, we're going to have one in each county.

MAN 2              Yeah , if I was [unintelligible] at the poll place in-- yeah, I could fix all the
problems, too. But if you're over in Bostwick and I need you at Bethany Springfield, there's
a lot of people going to have to wait a heck of a long time. [Murmuring] Okay, thank you.

JENNIFER (, .           I think I covered everything that was in the ... Check-in computers,
rebootlng, scanning. The power... One of them was just an error where they did not find
[live?] power in that precinct. They just didn't plug them in the day before, I guess. Find an
outlet that worked .

MAN 3                  So in summary, we have kind of a wide range of issues.

JENNIFER ·-                 Yes.

MAN 3           ·• Some going from what could be termed as minor to some fairly major
ones, I would say. Right? Is that a fair assessment?

JENNIFER             · Yes. We were told that, you know, that we always send in hand-
marked paper ballots for provisionals. Every precinct has them every election. They get a
small supply because we don't have a lot of provisionals. But we were told that, you know,
if the poll pad breaks down, we can manually activate the BMD--a poll worker can do that.
So there's not-- it doesn't completely stop you from that. But he said that we need to make
sure that we do have enough hand-marked paper ballots so that if this doesn't work and
this doesn't work, that we don't stop the election on election day, that we then mark--start
working on [hand-marked] paper ballots.

WOMAN1                 :.   Cobb County has [hand-marked] paper ballots, didn't they?

JENNIFER                    They did.

WOMAN1                      What kind of issues did they have with them?

JENNIFER                 Initially, I think some of the pol l workers were givfng out wrong
ballots styles, but the Cobb County director seemed to be pleasantly surprised at how well
the election went. She had concerns about how many ballots--The law says we have to
have a sufficient number [equal?] to the number of voters. Which is sort of a, you know-- if
you have 50,000 voters, you have to have 50,000 ballots.

WOMAN1                 •    And I think I read that they had one for each other.

JENNIFER              Yes. So she had expressed concern about the number of ballots,
but the actual procedure, except for a couple of minor poll worker errors where they were



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giving wrong ones, was a successful pilot. And they did use-- my understanding is they
use the poll pad for check ln, because I told you that it has two purposes, checking in and
activating the cards. And then they use the Dominion scanner. But I don't know if they had
any issues. Those were not in [unintelligible].

MAN 1 'C.               And the state's going to set up an audit anyway afterwards. That right?

JENNIFER            •1 Yes. Bartow County did an audit. The published report says it went
well. But I don't have any other details on that.

MAN 3             Jennifer do you have contact to ... Talk to to see what's the timeline on
addressing different issues with the machines?

JENNIFER                Well, the report is that they are they have the logs and they're
working on it. So, no, I don't have a concrete answer. But we are--we do get weekly
updates. So as soon as 1 know whatever I know [unintelligible].

MAN 3 ·            •    So no estimated time to complete?

JENNIFER                     No. Hopefully by March 23rd.

MAN 3     1   11        When will you be-- you're going to order this $80 barrier here?

JENNIFER           -i    r   I have.

MAN 3 .                 You already ordered that?

JENNIFER                     Yes.

MAN3                    When is it due to arrive?

JENNIFER .      . - , I don't know. I just ordered it yesterday afternoon. 1had been
working on trying to make the thing to tilt back more or to make the privacy screens taller.
Privacy screens taller is not going to help at all. And they don't tilt back enough to ensure
privacy.

MAN 3 _ ·               If these are purchased by lot can they come at a cheaper price, or...

JENNIFER              That's as far as I've gotten because I did the math on it. If we
ordered one for every BMD that's coming in, it's going to be about $5500. If we do just
enough that-- of what we deploy it's going to be $4500 because we don't use every BMD
that we have. Obviously gonna need something for [unintelligible].

WOMAN 1 ·           · Every BMD needs it though Jennifer? Because if one goes down,
we have to replace it--.

JENNIFER .             Yeah , well we could also just move the screen from [unintelligible].
But instead it's been $4000-$6000. We'll spend eighty dollars to make sure that it's going
to do what is supposed to do.

WOMAN 1                   Do they- like I had one for my phone and it was a sticky back just
like that, right. Exactly. So if you move it often enough, you lose that.



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                              Yeah.

WOMAN1                        Okay.

JENNIFER                      But hopefully we won1t have them be taken out of service.

WOMAN 1 ,0            1 _     Okay.

JENNIFER              But once we do get it and we get the second one think it would be a
good idea that the board and the public come in and-- you know, you do have to look at it
head on so that someone standing beside you doesn't see what you're doing or somebody
walking behind you . But I think that would be good, you know-- get public and board
feedback before we spend that kind of money.

WOMAN 1        .i ·    l.    I Worse comes to worse, we could lay the screens flat, right?
JENNIFER ··                 _ Well, I mean, you could kick-do the kick stand and land completely
flat, but--.

MAN 3 ,                We have approximately 60 screens? 62?

JENNIFER               We're gonna get 72. We deploy about 60 of them . Any other
questions about that [unintelligible]?

MAN3                   [Unintelligible]. information. Appreciate it

JENNIFER '              · Okay. So the Secretary of State has a voter education coordinator
for each region. Someone to help us do the demos, has some materials. She just started
setting stuff up. I spoke with her the other day. And we have you know, we've done the
demo before our meeting. I'm going to do a demo tonight at the Democratic Party meeting.
But I think that in January, once we get at least one more machine, we should have an
after hours demo. Like a set, like 6 to 8 p.m, or whatever. So they come in and the
coordinator can come in and help do an education for it. And so the earlier I can set
something up--guarantee that she is free. But I'd like to do just that we have all or most of
our equipment in and have it set up in here after work hours, because, you know, if we do
it during the day, we may not get a lot of people that are able to come in. That or we have
a hundred people at lunch hour. But it's set up after hours, just a two hour demo or a voter
education. And then if we do that, I'd like to advertise, you know, spend some money, put
it in the paper and social media, and do outreach to local clubs to let everybody know
about it so we can get more people in here. I think more people are more comfortable with
it. The less confusion, there is on election day. If that suits y'all, I'll just set something up in
January. At some point

JENNIFER · .            All right. And then so the-- in odd number years, the secretary of
state does a maintenance list of the [unintelligible] maintenance. No activity, two general
elections. If you've been inactive and then you do not vote in two general elections, which
would be 2016, in 2018, we-- the law changed with HB 316. Notice has to be sent out
saying if you do not [unintelligible] do something, then you'll be removed from the voter
roles. The Secretary of State--since it's new, that notice, we're used to just remove on
without any notice--The Secretary of State sent them out and [unintelligible) There's a
whole thing in here, just kind of an overview of the law, of how-- Why we're doing that. The



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notices were mailed out on November 6. So the clock ends on December 16th at the end
of the 16th. If the voter has not done something where they either re-register, update their
address or send something to us in writing , that they are still at that address or different
address, then they will be removed .

MAN3 :·        .r.     The contact have to be in writi ng?

JENNIFER             , It does have to be in writing. I mean, it can be online. Like, you can
do that on line voter registration. But we do need a signature because... It's just like-- you're
basically re-registering at the correct address. The confirmation--the notice that the
Secretary of State sent out--you can send that back in confirming that you live at that
address or updating your address.

MAN3 .                But are they allowed to call in to the office?

JENNIFER                   No, we need ,it in writing. Or they can go renew their driver's license
or--.

WOMAN 2                   Make contact.

JENNIFER :               Yes, some kind of contact, that's not just phone. And we do have
253 voters on that list. And if you're interested, the breakdown is [unintelligible] where
they changed it and they never got back with us. They went inactive. We have 52 of those.
There's "no contact," which means they went inactive because they had not made any
contact with our office, which means renewing your driver's license, [unintelligible], no
voting , no signing petitions. No, nothing like that. We had 152 of those. And then some of
them-- we had 49 that went inactive because of returning to mail. So that totaled 253.

MAN 3     n          , You said 49 returned mail?

JENNIFER                49 return mail. 152 no contact and 52 [unintelligible]. We have had a
lot returned to us, but nobody has updated-- Nobody has filled that out and returned it to
US.


MAN3                  [Unintelligible]

JENNIFER                Well, I mean, if it's been returned , that means they had not received
the notifications. Most likely because they have moved from that address. We've had a
small handful that had a forwarding address on there. And so we forwarded that notice to
new address. But, you know, if you've filled out the change of address and it's been so
long, the post office doesn't forward it. They just return it back to us. Which means either
they don't live there and it's been so long that they can't afford it. Sometimes people do not
put P.O. boxes. They just put their address, but they don't have a mail receptacle. You
know, that's pretty common out in the country. Everybody has a P.O. box. But if you don't
put the P.O. box, we send it to the inj uries that you gave us. You live at 123 Main Street
but don't have a mailbox, it's gonna get sent back to us and you're going to go inactive,
even though you're still at 123 Main Street, but because you don't have a mailbox it comes
back to us. There was a report of some voters on the list, not in Morgan County, who had
voted in 2018, so they were not supposed to be on that list. And the Secretary of State
fixed that. Actually went through all the names. And nobody has voted in at least five
years, if ever. Some hadn't voted since 1992 or 96. But the latest was 2014.




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MAN3              - • So, Jennifer, the initial notices went out November 6.

JENNIFER          i '       Correct.

MAN3                    And December 16th is the--.

JENNIFER                    Is-- the clock ends.

MAN 3                   What happens after December 16th, just to be clear?

JENNIFER                 If they have not seht something in, made contact with us. they will
be removed . They'll be canceled. If you'll look, I printed out it says "overview" gives the
date of 11/6 [unintelligible] then 12/16. [Unintelligible]

·   •      · The last one is that I have received   a letter from the Republican Party.
          ; Dana's term is up at the end of the year and she's been reappointed for another
four-year term. I had previously received a letter from the Democratic Party, Avery, his
term is also up and he's going to be doing another four year term . Sent the stuff to the
secretary of state. And they're preparing the paperwork so by January, by our first
meeting, y'all can be sworn in for your new term by Judge [Mary? Merrick?]. And that is the
end of my staff report,

MAN 11                  Alright. There's no further questions or discussion?




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                IN THE UNITED STATES DISTRICT COURT FOR
                    THE NORTHERN DISTRICT OF GEORGIA
                            ATLANTA DIVISION


DONNA CURLING, et al.
Plaintiff,
                                                     CIVIL ACTION FILE NO.:
vs.                                                  1:l 7-cv-2989-AT
BRIAN P. KEMP, et al.
Defendant.




                       DECLARATION OF FLOYD E. ROSE

FLOYD E. ROSE declares, under penalty of perjury, pursuant to 28 U.S.C.

§ 1746 that the following is true and correct:


      1. My name is Floyd E. Rose.

      2. I have personal knowledge of all facts stated in this declaration, and if called

         to testify, I could and would testify competently thereto.

      3. I am a registered voter residing at 611 Pineview Drive, Unit B-1, Valdosta,

         Georgia 31602 in Lowndes County.

      4. I along with my wife, Estella Rose, moved from 4001 Foxborough Blvd.,

         Valdosta, Georgia to my present address in May, 2018.

      5. To the best of my knowledge, my wife and l changed our Driver's Licenses

         to reflect our new address in July, 2018.
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6. I voted in person at the Lowndes County Board of Elections (Early Voting

   1ocation), in the November 2018 election with no problem. l      r' -e.5~~\ e..l.......   r-r-y
  o~\v~'S    L. ~~ o:::\ ~-==t- ~ ,'""Y"\{._.                                                   lj

7. I voted in person at the Lowndes County Board of Elections (Early Voting

   location) in the November 5, 2019 Valdosta election with no problem.I. ~~-S.(--"t-ec~
("'«\\ \).'\ '<(;LS   ~ C..U"'\S"c_.   cd:- ~ ~ --("\~ .
8. I attempted to vote at the Lowndes County Board of Elections (Early Voting

   location) in the December 3rd runoff and I was told that the pollbook records

   did not match my current address on my Driver~s License. I voted a

   provisional ballot but it was rejected, although I am an eligible elector and

   live in the city of Valdosta.

9. My wife, Estella Rose, also lives at 611 Pineview Dr., Unit B-1 , Valdosta,

   Georgia, 31602.

10. My wife was permitted to cast a ballot on Nov. 5 th and on Dec. 3
                                                                        rd
                                                                             •   with no

   problem, although my provisional ballot was rejected.

11.The pollworkers did not refer to a paper pollbook that should have been

   avrulable with the correct voter address records documented.

12. I attended the December 3 rd Provisional Vote count at the Lowndes County

   Board of Elections to question why my vote was rejected and to object to the

   loss of my vote, but was given no satisfactory answers.

13. I am very upset about being disenfranchised by what appears to be errors in

   the electronic pollbooks.
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14.I am fearful that such errors will be repeated in the 2020 elections and my

   vote will be wrongly rejected again.




   Executed on this date, December 16~ 2019.


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                                          Floyd E. Rose
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              IN THE UNITED STATES DISTRICT COURT FOR
                 THE NORTHERN DISTRICT OF GEORGIA
                          ATLANTA DIVISION



                                                 )
 DO      A CURLING, et al.                       )
                                                 )
 Plaintiff,                                      )
                                                 )   CIVJL ACTION FILE NO.:
 vs.                                             ) 1: l 7-cv-2989-A T
                                                 )
 BRAD RAFFENSPERGER, et al.                      )
                                                 )
 Defendant                                       )
                                                 )
-------------- )



                   DECLARATlO         OF ELISA GOLDKLA G


ELISA GOLDKLANG declares, under penalty of perjury, pur uant to 28 U.. C.

§ 1746, that the following i true and correct:


   1. My name i Elisa Goldklang.

   2. I have personal knowledge of all fact stated in this declaration, and if called

       to testify, I could and would testify competently thereto.
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3. I attended the November 12, 2019 meeting of the Cobb County Board of

   Elections, where Cobb County Election Director Janine Eveler reported to

   the Board and public on the hand marked ballot pilot election.

4. Attached is a transcript of the portion of the meeting in which that discussion

   was held. [Exhibit I]

5. The video recording of the meeting is available at

   bttps://youtu.be/rL 4rihgbbc

6. The attached transcript is an accurate record of the discussion of the

   referenced pmtion of the meeting.

7. As an active Georgia voter, I was very pleased to hear Ms. Eveler's report of

   bow well the pilot hand marked paper ballot election went.

8. I was a poll observer myself and personally observed the success of the hand

   marked paper ballot operation and the voters' apparent satisfaction w ith

   voting on hand marked paper ballots.

9. I hope that the Cobb County Board of Elections will be pennitted to use

   hand marked paper ballots in 2020. l would like to vote at my neighborhood

   voting place in person, but J am not comfortable voting on a BMD. On the

   Georgia BMDs, I cannot read the vote I would cast because the vote is

  encoded in a QR code that I have no way to decipher. I feel very w1easy

  casting a vote that I cannot read on a system that T know is unauditable.
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1O.Also I do not feel comfortable attempting to verify the accuracy of the

   BMD ballot printout of the text interpretation of my choices on a long

  complex general election ballot. Requiring a vot r to attempt to remember

  all the details of a complex electronic ballot in order to test the machine

  marking accuracy i a challenging burden that should not be my

  responsibility a a voter.


  Ex cuted on thi date December 161h, 2019.



     CA0b
     Elisa Goldklang
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PORTION OF THE NOVEMBER 12, 2019 MEETING OF THE COBB COUNTY GA

BOARD OF ELECTIONS



[Note: Janine Eveler is the Cobb County Elections Director.]



Janine Eveler

A little bit about the hand-marked paper ballot pilot. We

learned some things. We, you know, have not ourselves ever

conducted one. So, you know, ["mostly" or "most of these"] folks

saw me in front of the [Georgia] Legislature telling them it

would be really difficult and there were these issues and there

are some things that were difficult about it. But there were

also some things that we--I think we're a little surprised at

and pleased about. When there was an issue with the poll pad

encoding cards--which has been in the news and several folks

have already mentioned it--and technicians had to reprogram the

encoding part of the poll pad so it was able then to encode a

[ballot or valid] card. We didn't have a problem because our

ballots were already printed. So that was a relief on our part--

whereas the other pilot counties were really scrambling to get

their poll pads reprogrammed and able to encode cards, we just

continued with the processes that we were already starting with,

which is handing out the paper ballot.




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I'm aware of only one case--and there may be more but this was

one that I was made aware of--where a couple came in and the

wife was visually impaired and wanted to use the Ballot Marking

Device and we were not able to encode her card at that time. So

we did issue her a paper ballot and her husband was there to

assist her. Which--you know, she was able to vote and an

assisted ballot is fine, except that we would rather that she

had the independence to use the audio ballot. We had-- there

were a couple other things that I was going to talk about as far

as-- We have a late delivery of the Uninterruptible Power

Supplies, which were the units that the vendor was providing to

all the counties in case the printers failed. If there was a

power outage and we didn't have power, we couldn't print any

ballots. So the vendor was supplying a UPS unit for every two

Ballot Marking Devices. Well, getting those was coming in at the

last minute. We were delivering them to the polls on Monday

before the election, but really that didn't concern us as much

as we did other counties because if we can't print a ballot, we

still have ballots already printed. So again, there were some

pros and cons. Some of the things that were difficult about it

was getting all the ballots to the polling place. Because with

the handling of live ballots, as folks have mentioned, the chain

of custody is very important and the Georgia code does say you

have to have a ballot printed for every active registered voter




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and in these 16 precincts there were 73,000--72,000 somewhat--

registered voters.



So we had to print enough ballots to account for absentee mail

and early voting and the polls. And we took that 73,000 and we

split it across those different types, because we knew we had

way more ballots than we even needed. And then what ended up

happening is, we looked at a case--that we already had, because

we didn't want to buy anything--that was on wheels that we could

provide to the poll workers with their pre-printed ballots, and

they can wheel it to the polls. Well, it was too heavy to lift

with the number of ballots that would have been allocated to the

polls. So we re-thought that and we decided we would send them--

also have cases that we already had, but they were smaller cases

that we would put 600 ballots in each case. And we gave them

three cases at the biggest polls. And then that still wasn't all

the ballots that we were supposed to provide to every registered

voter. So we kept some behind. And we got a plan in place that

if they ran out, after a certain--they would get to a certain

point in their supply, they would contact us and we would get

those back out. And we had a chain of custody for them, ready to

transport those. So we kind of had some planning, you know,

rethinking because it was just logistically too many ballots, to

send out with poll workers to have them lift the cases. But it




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worked out fine. They didn't need any secondary transport of any

ballots. every poll had enough ballots in the first allocation

that we gave them.



And then just to talk about a little bit how many were cast on

each of the two different types-- [Ballot Marking Device vs

Hand-Marked Paper Ballots] We were concerned at one point motor

planning that, you know, people might choose to vote on the BMD

when we were basically set up--



Man

Could you explain [unintelligible] BMD [unintelligible]?



Janine Eveler

Ballot Marking Device. Yes, thank you. We were basically

planning our numbers of ballots and supplies, with the thought

that the Ballot Marking Device would be only for those who had

disabilities and needed, you know, visual enhancements or an

audio ballots. So we put most of our resources into the hand-

marked ballots. But we were concerned that what if more people

wanted to use the Ballot Marking Device and there was a line

because we only had one at each of the polling places. As it

turned out, it wasn't--That didn't happen at all. We had a total

of 41 ballots that were cast on the Ballot Marking Device




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between the Election Day polls and the Advanced Voting

locations. So it truly ended up being just for those who had,

you know, some kind of a disability that they couldn't mark a

hand-marked ballot.



Woman

Janine, what was that number again?



Janine Eveler

41.



Woman

41? Okay.



Janine Eveler

And then 11,599 were on the hand-marked paper ballots. So it

truly was a, you know, a real pilot of that system, and the

Ballot Marking Device was there just as a failsafe for disabled

voters. And of those 11,599 that marked a hand-marked paper

ballot, we had 55 that required spoiling, and that was a lot

smaller number than what I expected. In, you know, some of the

discussions about this process before we actually, you know,

embarked on it, there was a lot of talk about hand-marked

ballots were marked improperly a lot of times and they weren't




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scan. What we found happened is yes, people did mark them

irregularly with a checkmark or an X, or in some other way [than

filling in the bubble]. But when they came--when the scanner

rejected that, as "I don't understand this, this is an irregular

mark," voters were able to correct that in a lot of times and

just completely fill out the bubble, even if the little tail of

the checkmark was still outside the lines, and it was able to

read the filled-in bubble just fine. So there was some

correction. I've taken to heart some of what people have talked

about as far as privacy. We'll kind of talk about that a little

bit more. We do want to assist voters that are having a ballot

come back out so that they know how to fix it or how to

interpret the message that comes out. But we do want the voter

to have a private ballot.



And a couple people have talked about the issue where the

ballot--we had actually put on our scanner, we put a sticker on

there that, you know, was just something that we came up with. I

don't know if anybody else did. We said "insert face down,"

because that was...we did recognize that if there is an

assisting, or there was some education of the voters that needed

to take place, that we didn't want the ballot to be out there.

So we were--in most cases, voters read that and put it face

down. But we did experience a couple of scanners that, after a




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period of time they were not reading it quickly facedown. It had

to be inserted in reinserted several times before we read it.

And it does read four different ways. It reads it, you know,

top, face-down, face-up and then bottom first face-up and face-

down. So they were trying to secondary way to see if it would go

through that way and they flipped it face up. And it was reading

it when they did that. So, you know, we're going to talk more

with the vendors and with the state about some of those issues.

Again, as I said, this is a pilot, so we're going to take back

all the good and the bad. And we're supposed to be meeting with

the vendors in the state on Friday to go over some of the what

went right, what went wrong, and hopefully improve the process

for March coming up. Well, we're gonna do it again in December.




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